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            ANDERSON EXHIBIT 5
                                TO

               OPPOSITION TO EXCLUDE TESTIMONY
                OF EXPERT MARK G. DUGGAN PH.D.
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                              Depo-Hughes-James-05-05-09
00001
  1              UNITED STATES DISTRICT COURT
  2                DISTRICT OF MASSACHUSETTS
  3
  4   IN RE: PHARMACEUTICAL         )
  5   INDUSTRY AVERAGE WHOLESALE    ) MDL No. 1456
  6   PRICE LITIGATION              )
  7   _____________________________) Master File
  8                                 ) No. 01-CV-12257-PBS
  9   THIS DOCUMENT RELATES TO:     )
 10   _____________________________) Subcategory
 11                                 ) No. 06-CV-11337-PBS
 12   United States of America,     )
 13   ex rel. Ven-A-Care of the     )
 14   Florida Keys, Inc., v.        )
 15   Abbott Laboratories, Inc.,    )
 16   CIVIL ACTION NO. 06-11337-PBS)     VOLUME I
 17
 18             Videotaped Deposition of JAMES W.
 19   HUGHES, Ph.D., at 77 West Wacker Drive, 35th
 20   Floor, Chicago, Illinois, commencing at the hour
 21   of 9:13 a.m. on Tuesday, May 5, 2009.
 22
00002
  1   APPEARANCES:
  2
  3   ON BEHALF OF THE UNITED STATES OF AMERICA:
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 15        HAND ARENDALL, LLC
 16        BY: MS. WINDY COCKRELL BITZER
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                             Depo-Hughes-James-05-05-09
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  6
  7   REPORTED BY:
  8        DONNA M. KAZAITIS, CSR, RPR, CLR, CRR
  9        Illinois CSR No. 084-003145
 10
 11
 12
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 14
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00005
  1                    I N D E X
  2   WITNESS: JAMES W. HUGHES                        PAGE
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  7                   E X H I B I T S
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 16                       James W. Hughes, Ph.D        100
 17   Exhibit Hughes 008 Expert Report of
 18                       James Hughes                 161
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00006
  1             THE VIDEOGRAPHER: This is Stephan Hoog
  2   representing Henderson Legal Services. I am the
  3   operator of this camera.
  4             This is the videotaped deposition of
  5   James Hughes as being taken pursuant to the
  6   Federal Rules of Civil Procedure.
  7             We are on the record on May 5, 2009.
  8   The time is 9:13 a.m. as indicated on the video
  9   screen. We are at 77 West Wacker, Chicago,
 10   Illinois.
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 11             This case is captioned In Re:
 12   Pharmaceutical Industry AWP, Case No.
 13   01-12257-PBS.
 14             Will the attorneys please identify
 15   themselves for the video record.
 16             MR. LAVINE: Mark Lavine representing
 17   the United States.
 18             MR. BREEN: Jim Breen. I represent the
 19   relator Ven-a-Care of the Florida Keys.
 20             MR. BERLIN: Eric Berlin, Jones Day,
 21   representing Abbott Laboratories. With me today
 22   is Carol Geisler.
00007
  1             THE VIDEOGRAPHER: The Court Reporter
  2   today is Donna Kazaitis, also with Henderson.
  3             Can you swear in the witness.
  4             (Witness sworn.)
  5             MR. LAVINE: Is there anybody on the
  6   phone?
  7             MS. BITZER: Yes. This is Windy Bitzer
  8   with Hand Arendall in Mobile, Alabama.
  9             MR. BERLIN: Who do you represent?
 10             MS. BITZER: We represent the State of
 11   Alabama.
 12             You just identified Mr. Hughes, Dr.
 13   Hughes, as an expert in our case last Friday.
 14             We're just listening in today. We will
 15   not be asking any questions.
 16                   EXAMINATION
 17   BY MR. LAVINE:
 18         Q.  Could you just state your name for the
 19   record, please.
 20         A.  James Hughes.
 21         Q.  Do you normally prefer to be addressed
 22   as Professor Hughes or Dr. Hughes? How do you
00008
  1   like?
  2         A.  Dr. Hughes, Mr. Hughes, Jim. I'm not
  3   very particular.
  4         Q.  Okay, thanks.
  5             Before we get into the boring
  6   background stuff, I wanted to start off with a
  7   question about how, it seems that one of the
  8   important or critical considerations in your
  9   entire expert report is the idea that if the
 10   reimbursement had been lowered to the level
 11   suggested by Dr. Duggan in his report without
 12   also raising the dispensing fees to an
 13   appropriate amount, that that would then cause
 14   people, doctors, pharmacies, to drop out of the
 15   Medicare and Medicaid programs; is that right?
 16         A.  Is that one of my opinions?
 17         Q.  Right.
 18         A.  Yes.
 19         Q.  Is that a basis for your opinion?
 20         A.  Yes.
 21         Q.  Now, if they did drop out of the
 22   program, that would mean they're not going to be
00009
  1   treating the patients that they otherwise would
  2   have treated; right?
  3         A.  It means that they will not be treating
  4   the patients that they would otherwise be
                                        Page 3
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  5   treating, but it doesn't mean that the patients
  6   would not be treated.
  7             The patients would then for their
  8   chemotherapy or other infusion treatment probably
  9   wind up in hospitals, which is what I state in my
 10   report. And that would cost the Medicaid system
 11   substantially more than the home infusion, than
 12   being treated through the home infusion
 13   pharmacies.
 14        Q.   All right. But the particular
 15   providers that were participating in Medicaid,
 16   they would not be the ones providing any service
 17   to those patients?
 18        A.   If they no longer accept Medicaid
 19   because it's no longer remunerative for them,
 20   then, yes, they would not be treating those
 21   patients. But the patients would be treated.
 22        Q.   By other providers?
00010
  1        A.   By hospitals or other providers. If
  2   one infusion center drops out, they can perhaps
  3   be treated by a different one.
  4        Q.   So the providers that were in Medicaid
  5   that now drop out, do you agree they would not
  6   be, they would no longer need to buy those drugs.
  7   They wouldn't be buying them anymore because they
  8   wouldn't then be treating the Medicaid patients?
  9        A.   They could well be treating other
 10   patients.
 11             They could be treating patients through
 12   third-party payors and the like. So I don't --
 13        Q.   But they're not treating the Medicaid
 14   or Medicare patients that they would then refuse
 15   to treat?
 16        A.   Yes. But as I understood -- why don't
 17   you restate your question.
 18        Q.   You're saying that they're going to be,
 19   these providers, if they're not paid enough, if
 20   they're paid the amount suggested in Dr. Duggan's
 21   report without also raising the dispensing fee,
 22   that they wouldn't treat those Medicare and
00011
  1   Medicaid patients; right?
  2        A.   Yes.
  3        Q.   So they wouldn't need to buy drugs to
  4   treat those Medicare and Medicaid patients;
  5   right?
  6        A.   But they'd still need to buy the drugs
  7   if they stay in business to treat the other
  8   patients that they may be getting through Blue
  9   Cross Blue Shield or other modes of payment.
 10        Q.   Sure. But they're not going to be
 11   buying the drugs that they otherwise would have
 12   needed to treat the Medicare and Medicaid
 13   patients; will they?
 14        A.   They will not, but those drugs will be
 15   bought by somebody else who will be treating the
 16   patients.
 17        Q.   But totally independent providers not
 18   related to the ones that we're talking about that
 19   you're describing that are going to be dropping
 20   out of the program?
 21        A.   If they drop out of the program, they
                                       Page 4
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 22   will not be buying drugs for Medicare or
00012
  1   Medicaid. But the patients will still be treated.
  2              So I'm not sure what the object of your
  3   question is.
  4        Q.    Right. But the patients, the providers
  5   that were Medicare and Medicaid providers and now
  6   are no longer Medicare or Medicaid providers,
  7   they're not going to be buying the drugs. You're
  8   talking about a completely different set of
  9   providers that might be buying those drugs?
 10        A.    Why don't we switch from not buying the
 11   drugs to being reimbursed by Medicaid.
 12              If they drop out of the program, they
 13   will no longer be reimbursed for treating such
 14   patients by Medicare or Medicaid.
 15              How much, what drugs they buy, is still
 16   an open question.
 17              MR. BREEN: Objection, nonresponsive.
 18
 19
 20   BY MR. LAVINE:
 21        Q.    But they're dropping out under your
 22   theory because -- let me start over.
00013
  1              They're not going to be treating the
  2   patients, under your theory, because they're not
  3   going to be paid enough. And that means they
  4   won't be submitting claims for these drugs and
  5   they're not going to be paid anything anymore;
  6   right?
  7              MR. BERLIN: Objection, form.
  8              THE WITNESS: They're not going to be
  9   billing Medicaid and they won't be receiving
 10   payment from Medicaid if they're no longer
 11   accepting Medicaid patients.
 12   BY MR. LAVINE:
 13        Q.    Because they're not treating those
 14   patients, so of course they wouldn't need any
 15   drugs to administer to those patients; right?
 16        A.    Well, they won't need drugs to
 17   administer to patients they're not treating.
 18        Q.    Right.
 19        A.    Okay.
 20        Q.    Is that --
 21        A.    That's fine.
 22              But I mean, again, you're
00014
  1   characterizing this as my theory. And my opinion
  2   is only based on the numerous state deposition
  3   testimony from the officials and the reports that
  4   were put together by various agencies that said
  5   if you make dramatic drops, if you make
  6   reductions in the ingredient costs, in fact much
  7   less dramatic than those proposed by Dr. Duggan,
  8   without an increase in dispensing fees, that
  9   people are going to drop out of the system.
 10        Q.    I understand that.
 11        A.    It's not my theory. It's that it's my
 12   conclusion that's based on the testimony of state
 13   officials and the numerous reports that I cite in
 14   my report.
 15        Q.    Well, do you agree then that if those
                                        Page 5
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 16   providers that were dropping out of
 17   Medicare/Medicaid for that reason had been
 18   customers of Abbott, that they would no longer
 19   buy those drugs from Abbott?
 20        A.    They would no longer buy those drugs
 21   from Abbott to treat Medicare and Medicaid
 22   patients.
00015
  1              But they will still buy drugs from
  2   Abbott or other manufacturers to treat other
  3   patients. And other hospitals will be buying
  4   drugs from someplace to treat these patients
  5   because the patients are not going to go
  6   untreated.
  7        Q.    But the former, the providers that are
  8   dropping out of Medicare and Medicaid, they're
  9   going to be buying fewer drugs from Abbott
 10   because now they're not going to be treating that
 11   part of their patient population?
 12        A.    You know, I don't know where people are
 13   going, I can't characterize what their sales, or
 14   I'm sorry, what their purchases would be because
 15   I don't know what else is happening.
 16              But I'm agreeing with you that they
 17   will no longer be buying drugs for the treatment
 18   of Medicare and Medicaid patients.
 19        Q.    But you don't agree that their overall
 20   purchases from Abbott might be lower than it
 21   would have been?
 22        A.    I have no idea.
00016
  1        Q.    Do you think that Abbott would have
  2   anticipated that -- let me start over.
  3              If Abbott published different prices
  4   that would have resulted in reimbursement being
  5   in amounts that were similar to the numbers that
  6   were used by Dr. Duggan in his analysis, do you
  7   think Abbott would have anticipated that the
  8   reduction in providers, the providers not
  9   treating patients in Medicare and Medicaid, would
 10   have resulted in a reduction in sales to those
 11   providers?
 12              MR. BERLIN: Objection, form.
 13              THE WITNESS: Sorry. Could you read
 14   that back to me.
 15              (The record was read back as
 16              requested.)
 17              THE WITNESS: I don't know what Abbott
 18   would have anticipated.
 19   BY MR. LAVINE:
 20        Q.    So you don't have an opinion as to how
 21   Abbott might have perceived how its sales may
 22   have changed as a result of lower reimbursement
00017
  1   on its products?
  2              MR. BERLIN: Objection, form.
  3              THE WITNESS: Well, I mean this was
  4   Hospital Products Division. So, like I say, the
  5   patients are still going to be treated, and
  6   they're going to be treated someplace else, most
  7   likely in a hospital, at substantially greater
  8   cost to the Medicaid program.
  9              So Abbott sales may have gone down to
                                        Page 6
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 10   the home infusion centers, but Abbott sales may
 11   have gone up to the hospital.
 12             That makes economic sense. But whether
 13   Abbott thought of, anticipated, cared about that,
 14   no, I don't have an opinion about what Abbott may
 15   or may not have thought.
 16   BY MR. LAVINE:
 17        Q.   The statement you just made about sales
 18   perhaps switching to hospitals, is that based on
 19   any particular methodology?
 20        A.   Based on common sense. I think if you
 21   were treating more patients in the hospital,
 22   you'd need more materials.
00018
  1        Q.   You haven't actually done a study on
  2   that particular issue in support of your opinions
  3   that are in this report?
  4        A.   No.
  5             But let me just add. I don't think a
  6   study is needed to make the conclusion that if
  7   you're treating more patients in the hospital,
  8   you're going to need more materials.
  9             If I have ten more patients, I have to
 10   buy more materials to treat them. That's, I
 11   don't even know that I want to call it simple
 12   economics, it's just common sense.
 13        Q.   You don't know, you didn't study though
 14   the particular DRGs which might be applicable to
 15   these patients?
 16        A.   What's the relevance?
 17             I mean you started this with if the
 18   people drop out of Medicaid, there's going to be
 19   less drugs bought by the home infusion centers.
 20   And you asked me whether I agreed with that or
 21   not, and I agreed with that.
 22             Well, that wasn't based on a study
00019
  1   either. But you've got patients who need these
  2   services. They're going to get these services
  3   through Medicaid one place or another.
  4             And wherever they're being treated,
  5   there's going to be the need for the materials
  6   with which to treat them.
  7             MR. BREEN: Objection, nonresponsive,
  8   move to strike.
  9   BY MR. LAVINE:
 10        Q.   We'll end up coming back to that, but
 11   let's move on to some other subjects right now.
 12             Who's your employer right now?
 13        A.   Bates College.
 14        Q.   And are you represented by counsel
 15   today?
 16        A.   Mr. Berlin is here. I don't know that
 17   that qualifies as representing, he's not retained
 18   by me.
 19        Q.   He's here as counsel for Abbott?
 20        A.   Correct.
 21        Q.   But not as your personal attorney?
 22        A.   Correct.
00020
  1        Q.   I assume you've testified in
  2   depositions before?
  3        A.   Yes, I have.
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  4        Q.   I'll just quickly go through the ground
  5   rules.
  6             One thing we've already run across is
  7   you might have the answer to my question before I
  8   finish getting it out. So we need to be sure --
  9        A.   Yes, I'm sorry.
 10        Q.   -- to try not to speak at the same
 11   time. And we just did it again.
 12             If you don't understand my question, I
 13   need you to ask me to clarify that or else I'll
 14   assume that you do understand it.
 15        A.   Uh-huh.
 16        Q.   All your responses need to be oral so
 17   that it can be taken down for the record as
 18   opposed to just nodding your head.
 19        A.   Okay.
 20        Q.   Thank you.
 21             Any time you need a break, just let me
 22   know and we can take a break.
00021
  1        A.   Okay. Thank you.
  2        Q.   Am I right that you're not on any kind
  3   of medication or suffering from any illness that
  4   would affect your ability to answer any questions
  5   today?
  6        A.   Correct. I am not.
  7        Q.   And you're appearing today as an expert
  8   on behalf of Abbott Laboratories; right?
  9        A.   I am.
 10        Q.   When was the first time you were
 11   retained to be an expert in any of the AWP cases?
 12        A.   That's hard to say.
 13        Q.   Do you understand what I mean by "AWP
 14   cases"?
 15        A.   Yes, absolutely I do.
 16             Can I look at my CV here?
 17        Q.   Sure.
 18        A.   Or not my CV, the list of testimony.
 19   That would probably be easiest to answer your
 20   question.
 21             That's not going to tell me the year.
 22   But the first time would have been when I was
00022
  1   retained by Aventis for the matter in the State
  2   of Connecticut.
  3             I want to say that's 2006, 2007. But
  4   despite being under oath, I can't swear to the
  5   accuracy of that year.
  6        Q.   Approximately '06, '07.
  7        A.   Yes.
  8        Q.   How many times have you been retained
  9   as an expert in AWP cases?
 10        A.   I have issued reports in Connecticut,
 11   another report in Montana, and Nevada, and I've
 12   been retained in this case.
 13        Q.   You've also been retained in the case
 14   by the State of Alabama against Abbott Labs?
 15        A.   Yes. I've been retained by Abbott for
 16   the case in the State of Alabama. And I was also
 17   briefly retained by Barr Laboratories, but the
 18   case settled relatively quickly after I was
 19   retained.
 20        Q.   Does that include all the different
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 21   companies that would have retained you in the AWP
 22   cases regardless of whether you were a consulting
00023
  1   or a testifying expert?
  2        A.    Yes.
  3        Q.    And for Connecticut, Montana, and
  4   Nevada, that was a single retention? For
  5   example, for Abbott you've been retained in two
  6   different cases. For Aventis only retained you
  7   in connection with the Connecticut case?
  8        A.    No. Aventis also retained me in
  9   Montana and Nevada.
 10        Q.    Okay. That was Aventis also?
 11        A.    Yes.
 12        Q.    So the only, three companies, Abbott,
 13   Aventis, and Barr?
 14        A.    Yes.
 15        Q.    Not getting too far into the alphabet.
 16        A.    No. That's true.
 17        Q.    So that's five cases. All three
 18   Aventis cases and both Abbott cases now you've
 19   been designated as a testifying expert?
 20        A.    Could you do that count again? All
 21   three --
 22        Q.    There's three Aventis cases,
00024
  1   Connecticut, Montana, and Nevada, and then
  2   Abbott, the United States and Alabama.
  3        A.    Yes. Montana/Nevada I think of as one
  4   case but I guess it is two cases, but there was
  5   just one report. That's what was confusing me.
  6        Q.    Okay.
  7        A.    So, yes, Aventis, Abbott, and Barr
  8   would be it, would be all of them.
  9        Q.    In Barr were you designated as a
 10   testifying expert?
 11        A.    I don't even think I got to the point
 12   of being disclosed before it settled.
 13        Q.    No report was prepared?
 14        A.    There was no report. There was no
 15   testimony.
 16        Q.    So have we now identified every time
 17   you've been retained in an AWP case?
 18        A.    To the best of my recollection, yes.
 19        Q.    When were you retained in this
 20   particular case?
 21        A.    Last spring I believe.
 22        Q.    Spring of 2008?
00025
  1        A.    Correct.
  2        Q.    When did you first start looking at
  3   documents in connection with this case?
  4        A.    In the summer of 2008.
  5        Q.    In the Abbott case related to the State
  6   of Alabama, is that also in connection with the
  7   Jones Day law firm?
  8        A.    Yes.
  9        Q.    Have you been deposed in any of the
 10   other AWP cases?
 11        A.    No.
 12        Q.    But you did prepare reports in, well,
 13   one report in the Montana/Nevada, one combined
 14   report for those two states; correct?
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 15        A.    Correct.
 16        Q.    And you did a report for the
 17   Connecticut case?
 18        A.    It was a designation. So it's the law
 19   firm, the lawyers saying Professor Hughes will
 20   testify that. But I certainly helped in the
 21   preparation of that but didn't have my signature
 22   on it, which I guess is --
00026
  1        Q.    The Connecticut version of a report?
  2        A.    Yes, the Connecticut version of a
  3   report.
  4        Q.    Have you submitted a report in the
  5   Alabama case at this point?
  6        A.    No.
  7        Q.    Have you testified in any manner in any
  8   of the AWP cases before today?
  9        A.    Oral testimony, no.
 10        Q.    Written testimony?
 11        A.    Reports, yes, which we've talked about,
 12   but that's it.
 13        Q.    Now, outside of the AWP arena, it looks
 14   like you've been retained many times; is that
 15   right?
 16        A.    Many times, yes, sure.
 17        Q.    I mean do you know approximately how
 18   many times you've acted as an expert outside of
 19   the AWP arena?
 20        A.    No. Probably between seven and ten,
 21   something like that.
 22        Q.    Are you referring to the retention as a
00027
  1   consulting expert seven to ten times or as
  2   testifying?
  3        A.    No. That's testifying.
  4        Q.    Have you been retained additional times
  5   as consulting expert?
  6        A.    Yes.
  7        Q.    Approximately how many times have you
  8   been retained as a consultant where it did not
  9   end up being a testifying expert?
 10        A.    Four or five.
 11        Q.    In any of those other nonAWP cases,
 12   were any of those times, on any of those
 13   occasions were you retained by a pharmaceutical
 14   company?
 15        A.    I'm never retained by the company. I'm
 16   always retained by counsel for the company.
 17              But, yes, in the other retentions I
 18   have testified as an expert on behalf of other
 19   pharmaceutical companies, yes.
 20        Q.    Who would they have been?
 21        A.    Aventis, Bayer, Pfizer. I believe
 22   that's it.
00028
  1        Q.    How about Watson Pharmaceuticals?
  2        A.    Indirectly because they were part of
  3   Aventis at one point. So they were kind of
  4   lumped in with Aventis. So I guess technically,
  5   yes.
  6        Q.    And the Rugby Group?
  7        A.    Not to my knowledge.
  8        Q.    Have you ever been retained in
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  9   connection with any Abbott litigation outside of
 10   the AWP arena?
 11        A.    No.
 12        Q.    What was the nature of the case where
 13   you were retained by Bayer?
 14        A.    Bayer, that was two cases involving
 15   Cipro, which was a patented antibiotic produced
 16   by Bayer.
 17        Q.    Something to do with the generic
 18   version of Cipro hitting the market?
 19        A.    Yes.
 20              This was one of what had come to be
 21   known as Paragraph 4 cases. So there was issues
 22   regarding the timing of the generic entry into
00029
  1   the market.
  2        Q.    Just generally, what were you retained
  3   to do in that case?
  4        A.    I was retained to comment on the
  5   plaintiff's expert report about class
  6   certification.
  7        Q.    And what was your final conclusion on
  8   that issue?
  9        A.    That it was not, that the facts of the
 10   case and the methods proposed by the plaintiff's
 11   expert, were not suitable for class treatment.
 12        Q.    Was that related to the issue of
 13   liability or damages?
 14        A.    It was related to the issue of class,
 15   well, class certification.
 16              So there was a damages methodology
 17   proposed and could that damage methodology
 18   adequately quantify common damage issues and
 19   common proof.
 20        Q.    And what was the ruling of the court in
 21   the class certification issue?
 22        A.    There were two state matters, one in
00030
  1   New York, one in California.
  2              Class certification was denied in New
  3   York. Class was certified in California.
  4              And the California case is still
  5   pending, to the best of my knowledge.
  6        Q.    And you submitted a report with respect
  7   to the California and the New York cases?
  8        A.    Yes.
  9        Q.    Essentially the same report?
 10        A.    I don't remember, but, yes, I just
 11   don't remember.
 12        Q.    What was the nature of your engagement
 13   in Pfizer?
 14        A.    Most recently I was engaged by Pfizer
 15   in a case involving a veterinary pharmaceutical
 16   product.
 17              There was a company that was, Pfizer
 18   was producing a patent-protected antibiotic for
 19   veterinary use.
 20              Generics in the veterinary world are
 21   different from generics in the human world,
 22   sufficed to say for today.
00031
  1              But a company entered the market
  2   marketing a generic version of the drug. It had
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  3   not received generic approval from the FDA for
  4   veterinary use but the pills had received generic
  5   approval from the FDA for human use.
  6             The company was marketing these pills
  7   as FDA approved, not clarifying whether it was
  8   approved for human use or veterinary use.
  9             Pfizer brought suit, asked them to, to
 10   try to get them to stop doing that, to advertise
 11   that it was FDA approved for human use only, not
 12   for veterinary use.
 13             The company countersued saying that
 14   Pfizer had defamed them, damaged them, by calling
 15   their drugs not FDA approved, claims that they
 16   had interfered with wholesalers and the like.
 17             My specific retention was they
 18   produced, their expert produced, a damages report
 19   on what he believed the damages that Pfizer had
 20   allegedly caused to this company, Putney
 21   Veterinary Products was the name of the company.
 22   And I was asked to comment on that damages report
00032
  1   was my primary assignment.
  2        Q.   And what was the nature of your opinion
  3   in that case?
  4        A.   Quite frankly, the plaintiff's expert
  5   report was rife with fairly obvious mistakes.
  6             He was attributing damages for six
  7   months when his client's product could not
  8   possibly have been on the market. Just there
  9   were some really egregious errors, and I just
 10   pointed those out.
 11        Q.   Did you do any of your own calculation
 12   of damages in that case?
 13        A.   To the extent that I took the data that
 14   their expert used and showed how the damage
 15   estimates changed when you corrected his errors,
 16   yes. But I did not collect any independent data
 17   or anything like that.
 18        Q.   Did you end up with a figure that you
 19   were of the opinion should have been the correct
 20   damages figure?
 21        A.   Again, you know, my assignment would
 22   have been to take the allegations as being true.
00033
  1             So that I don't think I couched it as
  2   this was the correct damage, but I couched it, I
  3   think if I remember correctly, I would have
  4   phrased it something like under the plaintiff's
  5   theory of the case doing the calculations
  6   correctly this is what Dr., whatever his name
  7   was, should have come up with.
  8        Q.   Did any of those calculations depend in
  9   any way upon reimbursement from insurance?
 10        A.   No. This was veterinary. So it's not
 11   an issue there.
 12        Q.   Have you been retained by Bayer and
 13   Pfizer in other cases?
 14        A.   Bayer, no. Pfizer, yes.
 15             I was retained by Pfizer on a matter
 16   involving Rezulin, and I was also retained by
 17   Pfizer in a matter involving Procardia XL.
 18        Q.   Did either of those cases involve
 19   issues related to reimbursement under insurance
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 20   programs?
 21        A.   These were both class certification. So
 22   to the best of my recollection, the answer would
00034
  1   be yes.
  2        Q.   In what way?
  3        A.   Well, in particular if you have a
  4   proposed class that involves individuals,
  5   third-party payors, Medicare/Medicaid, you have
  6   to to come up with a damage calculation, you've
  7   got to figure out what were these companies
  8   actually paying in reimbursements, what would
  9   they pay in the but-for world, whatever
 10   characterized the but-for world in those
 11   particular cases.
 12             So in many of these cases, even though
 13   they might have been filed in a particular state,
 14   these were attempts, to the best of my
 15   recollection, these were usually attempts to
 16   certify nationwide classes.
 17             So we had to get into Medicaid
 18   reimbursement, Medicaid copayments, Medicaid
 19   issues in each of the states at issue.
 20             So it was a fairly involved analysis in
 21   some cases.
 22        Q.   Was the Rezulin -- am I saying that
00035
  1   right, R-E-Z-U-L-I-N?
  2        A.   Your guess is as good as mine. I think
  3   that's about right.
  4        Q.   The issues in the Rezulin and Procardia
  5   cases were similar in that respect?
  6        A.   Not really because the classes were
  7   kind of different.
  8             The Procardia case was another issue
  9   about generic entry and the timing of generic
 10   entry and Pfizer's alleged actions in
 11   anticipation of generic entry.
 12             The Rezulin case, Rezulin was a
 13   diabetes drug that had been withdrawn from the
 14   market at the request of the FDA. There had been
 15   product liability issues with it.
 16             This was not such a case. This was,
 17   the proposed class was individuals who agreed
 18   that they had not been harmed by Rezulin, they
 19   agreed that they did not anticipate being harmed,
 20   but their claim was that Rezulin was a dangerous
 21   drug that had been put on the market without
 22   adequate consumer knowledge.
00036
  1             So they had somehow been defrauded,
  2   misled, needlessly endangered. So they sought to
  3   get their money back for what they had paid for
  4   Rezulin, even though the drug itself had not
  5   harmed them.
  6        Q.   And your final opinion in the Rezulin
  7   case was that a class certification was
  8   inappropriate?
  9        A.   Yes, because the, I mean in a nutshell
 10   their expert was saying that the but-for price of
 11   Rezulin was zero, that the product was worthless.
 12   So people deserved their entire money back.
 13             My point was these are diabetes
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 14   patients. If they're not being treated with
 15   Rezulin, they're going to be treated with
 16   something else. And that's a matter of
 17   individualized inquiry.
 18             And their damages would be the
 19   difference between what they paid for Rezulin and
 20   what they paid for their alternative treatment,
 21   some of which might actually be more expensive
 22   than Rezulin. But that there was no way to do
00037
  1   this without individualized inquiry into people's
  2   medical records.
  3         Q.  And that never got past, your
  4   participation in that never got past the class
  5   certification stage?
  6         A.  Correct. The case settled at some
  7   point.
  8         Q.  So you never had to go follow through
  9   and actually calculate a damage figure in that
 10   case?
 11         A.  Well, that wouldn't have been my job
 12   anyway. I mean if the class was certified, then
 13   they would have calculated a damage figure. And
 14   I may have been invited to critique that, but
 15   that was a discussion that never took place.
 16         Q.  And in the Procardia case, again that
 17   was a situation where your opinion was that a
 18   class certification was inappropriate?
 19         A.  Correct.
 20         Q.  And that didn't progress through to the
 21   point where you had to calculate any damages?
 22         A.  No.
00038
  1         Q.  Have we now discussed every situation
  2   in which you've been retained as an expert by any
  3   pharmaceutical company?
  4         A.  As a testifying expert?
  5         Q.  In any respect.
  6         A.  Okay. In any respect, oh, no.
  7             I was retained by Aventis in the
  8   matters involving Cardizem and I was retained a
  9   long time ago by Joint Defense Council in the,
 10   gosh, now I don't remember what it was called,
 11   Brand Name Pharmaceuticals Litigation.
 12         Q.  You said that was by the Joint Defense
 13   Council?
 14         A.  Yes.
 15         Q.  Representing the pharmaceutical
 16   companies in that case?
 17         A.  Yes.
 18         Q.  So that was more than ten years ago?
 19         A.  Yes. I believe it started in '95, '94,
 20   '95.
 21         Q.  What about the Cardizem case, when was
 22   that?
00039
  1         A.  '98.
  2         Q.  That never progressed to the point
  3   where you prepared a report or testified?
  4         A.  Well, I had two different roles there.
  5             I served as a consulting expert. And in
  6   that regard initially there was class
  7   certification matters, a class was certified,
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  8   there were opt-outs from the class. And as a
  9   consultant I was heavily involved in calculating
 10   damages for one of the opt-out cases.
 11             My other role was as a, I guess you
 12   would call it testifying expert in the same
 13   opt-out case, that plaintiffs had put forth an
 14   expert and I issued a, wrote a, report in support
 15   of a Daubert motion against that expert.
 16         Q.  But your first role in that case --
 17         A.  Was as a consultant.
 18         Q.  As a consultant.
 19             So there was no report prepared?
 20         A.  Not by me, no.
 21         Q.  You did the background work?
 22         A.  Yes.
00040
  1         Q.  Do you still have in your possession
  2   any of the reports from the Bayer, Pfizer, or
  3   Aventis cases beyond what's been produced in this
  4   case?
  5         A.  No.
  6             MR. BERLIN: Just let him finish his
  7   questions. Sometimes he trails off.
  8             THE WITNESS: Oh, okay.
  9             MR. LAVINE: A lot of it's my fault. I
 10   have a habit of getting my questions out slowly.
 11   So be patient.
 12             THE WITNESS: Okay.
 13   BY MR. LAVINE:
 14         Q.  Did any of the other pharmacy related
 15   cases, I'm sorry, pharmaceutical company related
 16   cases, involve the Jones Day law firm?
 17         A.  Pharmaceutical, no.
 18         Q.  How about the nonpharmaceutical cases?
 19         A.  Yes.
 20             The reason I'm hesitating is that some,
 21   when I was a consultant for the Brand Name
 22   Pharmaceutical Litigation I highly expect that
00041
  1   somebody from Jones Day was involved in that.
  2   But it was not anybody that, I don't have
  3   specific knowledge that Jones Day was involved in
  4   that and I never interacted with anybody from
  5   Jones Day, to my knowledge. But I guess I don't
  6   want you to come back and say well, see, Jones
  7   Day was part of this joint defense group because
  8   it just wasn't to my knowledge.
  9             In the nonpharmaceutical cases, I
 10   believe I dealt with, one of the attorneys that I
 11   dealt with was from Jones Day Washington office,
 12   and that was in the NBR litigation. That's on my
 13   list of testimony.
 14         Q.  And in that case did you consider
 15   yourself to have been retained by Jones Day?
 16         A.  No. I believe I was retained by Arnold
 17   & Porter.
 18             It was a joint defense. There were
 19   three or four companies involved. But the
 20   lawyers I dealt with on a regular basis were the
 21   Arnold & Porter lawyers.
 22         Q.  Were any of your fees paid for by Jones
00042
  1   Day or its client?
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  2        A.   Yes. By its client, yes.
  3        Q.   How was that handled? Was that they
  4   paid a share of the total fees?
  5        A.   These all run together, but I believe
  6   they gave me a formula for dividing my fees
  7   amongst the two or three or four firms,
  8   companies, that were involved, yes, and it was
  9   according to that formula.
 10        Q.   Had you ever been retained as an expert
 11   by any government entity?
 12        A.   No.
 13        Q.   Am I right that you have been retained
 14   as an expert in the synthetic rubber industry?
 15        A.   Yes. That's the NBR case.
 16        Q.   What about in the nutritional
 17   supplement industry?
 18        A.   I was a consulting expert, vitamins
 19   litigation.
 20        Q.   The auto insurance industry?
 21        A.   Yes.
 22        Q.   What was the nature of that?
00043
  1        A.   That was a class certification matter.
  2   The issue was what was known as, oh, gosh, what
  3   was that called, inherent diminished value cases.
  4             The idea, the plaintiff's idea being
  5   that the insurance company paid for repairs to
  6   their automobile. And the repairs, even though
  7   the repairs to the automobile were done to the
  8   best of the body shop's ability, that the car
  9   owner still, sorry, the automobile still had a
 10   lower value by virtue of having been in an
 11   accident. And it was the plaintiff's contention
 12   that that loss in value was also covered by their
 13   auto insurance policy.
 14             So this was a matter based in
 15   Louisiana, if memory serves, that was attempting
 16   a nationwide class. And I was asked to discuss
 17   whether this was appropriate for class treatment.
 18   And I believe I issued a report and was deposed
 19   in the matter.
 20        Q.   The sum and substance of your opinion
 21   there, was it a class certification was not
 22   appropriate?
00044
  1        A.   The methods that were proposed by the
  2   plaintiff's expert were completely unrealistic.
  3             He somehow felt that he was going to
  4   get market values for cars that had specific
  5   sorts of damage over thousands of different
  6   models and thousands of different types of
  7   damage, that he was somehow going to get what
  8   that sales price might have been fifteen years
  9   before by virtue of a survey of auto dealers.
 10             And I found this to be wholly
 11   unrealistic as a data gathering technique. So I
 12   found, I believe my conclusion was that his
 13   method was not going to prove common damages
 14   using common proof and wasn't going to prove much
 15   of anything.
 16             I mean I simply thought that his data
 17   collection proposal was completely infeasible and
 18   unrealistic.
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 19        Q.   But the end result of the opinion was
 20   then that a class certification would be
 21   inappropriate for the reasons?
 22        A.   With that methodology, yes.
00045
  1        Q.   And you've also been hired as an expert
  2   in cases involving the sardines market; is that
  3   right?
  4        A.   Yes, I have.
  5        Q.   And in a case involving retail
  6   automobile sales?
  7        A.   Oh, yes.
  8        Q.   The retail gasoline market?
  9        A.   Yes.
 10        Q.   School photography?
 11        A.   Yes.
 12        Q.   Musical instruments?
 13        A.   Yes.
 14        Q.   Airline transportation?
 15        A.   Yes.
 16        Q.   Sex discrimination?
 17        A.   Yes.
 18        Q.   Plastic, the sale of plastic resin?
 19        A.   Yes.
 20        Q.   In Canada.
 21        A.   Uh-huh.
 22        Q.   The prescription benefit manager
00046
  1   industry?
  2        A.   Yes.
  3        Q.   The environmental control industry?
  4        A.   Oh, yes.
  5        Q.   The hospital industry?
  6        A.   Yes.
  7        Q.   And of course the pharmaceutical
  8   industry?
  9        A.   Yes.
 10        Q.   Anything else?
 11        A.   No. I believe that covers it.
 12        Q.   The prescription benefit manager case
 13   that you were retained in, is that the case of
 14   Brady Enterprises vs. Medco?
 15        A.   Correct.
 16        Q.   Do you have a copy of the report that
 17   you filed in that case?
 18        A.   I do, but it was filed under seal.
 19        Q.   Do you have a copy of the document or
 20   seal order that governs the seal in that case?
 21        A.   I doubt it. It's just that every page
 22   of my report is stamped "Filed Under Sealed
00047
  1   Confidential."
  2        Q.   And it's your understanding that that
  3   keeps it under seal permanently?
  4        A.   That's my recollection of the
  5   Protective Order.
  6        Q.   Do you know if that was designed to
  7   protect any particular party in the case?
  8        A.   I have no idea.
  9        Q.   Did you make any inquiries as to
 10   whether you could provide that report to the
 11   United States in connection in this case?
 12        A.   No. I did not.
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 13        Q.   Who retained you in that case?
 14        A.   Counsel for Medco, which I believe was
 15   Sherman & Sterling in New York. I think that's
 16   the name of the law firm.
 17        Q.   Is that another case where your opinion
 18   was that class certification was inappropriate?
 19        A.   That's correct.
 20        Q.   And that involved an allegation by
 21   retail pharmacies that Medco was reimbursing them
 22   at artificially low prices?
00048
  1        A.   Yes.
  2        Q.   And part of that was that they were
  3   being reimbursed too little for their dispensing
  4   fees; right?
  5        A.   Dispensing fees and ingredient cost, it
  6   was all, one of the specific things were MAC
  7   prices that Medco was putting in place and how
  8   they were determined.
  9             But it was, you know, it was an
 10   interaction between the networks that Medco was
 11   forming and the reimbursements that resulted, the
 12   different reimbursements that were allowed under
 13   the different networks that Medco was marketing
 14   to third-party payors.
 15        Q.   Are you relying upon any of your
 16   experience from that case to inform your opinions
 17   in this case?
 18        A.   Yes, probably.
 19        Q.   Did your opinion in that case address
 20   the dispensing fee issues?
 21        A.   You know, I'm thinking more about how
 22   what I learned about how MAC prices are
00049
  1   determined with respect to pharmacy benefit
  2   managers.
  3        Q.   So tell me how it is that the report or
  4   opinions you expressed in the Brady case inform
  5   your opinions in this case.
  6        A.   Well, one of the things that I mention
  7   in my report is that I disagree with Dr. Duggan's
  8   characterization of MAC prices as being
  9   fraudulent because these are prices that are
 10   negotiated in Medicaid, either with the state
 11   agency or some Medicaid agency simply adopts
 12   third-party payor MACs.
 13             And because these are often negotiated
 14   with full knowledge of what the acquisition costs
 15   actually are, that the MAC prices rather than
 16   being fraudulent it's my opinion should be
 17   considered the result of a considered state
 18   policy that this is what the state and the
 19   providers agree is the minimum amount that they
 20   can accept and still provide that service.
 21        Q.   In the Medco case though it didn't
 22   involve any MAC implemented by a state or other
00050
  1   government entity; did it?
  2        A.   There was interaction between Medco
  3   MACs, state MACs. I think that Medco was
  4   actually the PBM for some state Medicaid
  5   agencies. I'm not positive I'm remembering that
  6   correctly. But I believe that some, it's my
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  7   recollection that some Medicaid agencies farmed
  8   out their prescription benefit to Medco or other
  9   PBMs.
 10             So there were times, as I understood
 11   it, that Medco followed the state implemented
 12   MACs for certain drugs and there were other times
 13   that I understood that the state Medicaid
 14   agencies would follow Medco's MAC for a
 15   particular drug.
 16         Q.  So to the extent that Medco was
 17   establishing MACs in its role acting on behalf of
 18   any state, that was a direct part of the case
 19   that you worked on?
 20         A.  Well, it got to the adequacy of
 21   reimbursements that Medco was providing in
 22   different situations, so yes.
00051
  1         Q.  So is that a situation again where you
  2   reached an opinion that class certification was
  3   inappropriate?
  4         A.  Yes, I did.
  5         Q.  Did you actually calculate any damages
  6   in that case?
  7         A.  No.
  8             It was the plaintiff's expert said we
  9   can do all this through a regression. And,
 10   again, he proposed a regression for which the
 11   data, the independent variables that he said had
 12   to go into the regression, they didn't exist. So
 13   it just wasn't a feasible method.
 14         Q.  Would it be fair to say that in the
 15   large majority of prior cases in which you've
 16   been retained as an expert that your opinion has
 17   generally been that the damages methodology was
 18   inappropriate and/or that class certification was
 19   inappropriate?
 20         A.  In every class certification matter
 21   that I have accepted, yes.
 22             The point is is that there's been quite
00052
  1   a few cases that I've been approached as an
  2   expert and I've refused to participate.
  3         Q.  But on those cases you wouldn't have
  4   progressed to the point of expressing any formal
  5   opinions?
  6         A.  No. But I mean I looked at the facts
  7   of the case or listened to the facts of the case
  8   as it was explained to me and said I, as an
  9   economist, I don't have anything that will be of
 10   use to you, and so I don't want to get involved
 11   in this case.
 12         Q.  So if it was a situation where you
 13   might have opined that a class certification was
 14   appropriate, you would turn down the engagement?
 15         A.  No. It's where I don't have, these
 16   were not, I'm trying to think of the ones I
 17   turned down.
 18             These were sometimes merits cases, and
 19   it was just, you know, as an economist, I don't
 20   have anything to help you, I don't have any way
 21   to help you explain that your price fixing was
 22   actually pro-competitive for example.
00053
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  1        Q.   Have you been deposed in any of the
  2   other nonAWP cases?
  3        A.   Yes.
  4        Q.   Approximately how many times?
  5        A.   NonAWP cases, ten.
  6        Q.   When was the first time you were
  7   deposed as an expert in any case?
  8        A.   I believe that would have been the
  9   school photography case that you mentioned
 10   before. It's a long time ago.
 11        Q.   Approximately when?
 12        A.   1996, 1997.
 13        Q.   Have you actually testified in any of
 14   those other cases in a court hearing?
 15        A.   No. I have been in the courtroom
 16   several times, but the judge has always said
 17   we're not hearing from economists today.
 18        Q.   Was that because of a ruling that your
 19   testimony was inadmissible?
 20        A.   No. It was that the judge had to go to
 21   lunch.
 22             I'm sorry. I'm not really being
00054
  1   facetious. That's exactly what the judge said in
  2   a couple of cases.
  3        Q.   Why was it that it never reconvened and
  4   required your testimony?
  5        A.   I have no idea.
  6             I mean these were evidentiary hearings,
  7   and the judge was deciding who he was going to
  8   listen to and who he wasn't. And in both of the
  9   cases that I'm thinking of, the judge wanted to
 10   hear only the oral arguments from the lawyers.
 11        Q.   Do you recall the names of those cases?
 12        A.   The Cipro New York and the Rezulin case
 13   are the two that spring to mind.
 14        Q.   So have we now discussed, at least
 15   generally, every time you've been retained --
 16        A.   Yes, I think so.
 17        Q.   -- retained as an expert in any other
 18   litigation matter?
 19        A.   That list that you went through was
 20   quite comprehensive, yes.
 21        Q.   In any of those cases, were you
 22   retained to represent the plaintiff in the case?
00055
  1        A.   Yes. Airline ticketing and musical
  2   instruments.
  3        Q.   Who did you represent in the airline
  4   ticketing case?
  5        A.   That was, this retention was very
  6   short. That was the, what was that called. I
  7   believe that was called the travel agency
  8   litigation. So travel agents were trying to put
  9   together a class claiming that the airlines were
 10   in some way underpaying them.
 11             I was retained, I reviewed some
 12   documents, talked to the attorneys a few times,
 13   and then the attorneys decided to use a different
 14   expert. But I mean I was paid for the time that
 15   I put in on the case.
 16        Q.   But that's a case where you did not
 17   actually issue a report?
                                       Page 20
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 18         A.  Right.
 19         Q.  Who retained you in the musical
 20   instrument case?
 21         A.  I believe it was something called
 22   Meridian Music in southwest Michigan. I'm not
00056
  1   going to remember the name of the town.
  2         Q.  Did you prepare a report in that case?
  3         A.  No.
  4             That was a case that flared up. There
  5   was some discussion, I believe I looked at some
  6   data, and then the plaintiff ended up dropping
  7   the case.
  8             To my recollection, it was gearing up
  9   to be a predatory pricing case against another
 10   music store.
 11         Q.  When was that case?
 12         A.  You know, to be perfectly honest, I
 13   just don't remember. Early to mid '90s.
 14             MR. LAVINE: Mark that as an exhibit.
 15             (Exhibit Hughes 001 was marked for
 16   identification.)
 17   BY MR. LAVINE:
 18         Q.  We just marked as Exhibit 1 a five-page
 19   document. And on the front page it reflects a
 20   signature date of March 11, 2009. (Document
 21   tendered to the witness.)
 22             Dr. Hughes, have you ever seen this
00057
  1   document before?
  2         A.  Yes, I have.
  3         Q.  Do you know what it is?
  4         A.  It's the Subpoena for me to appear here
  5   today.
  6         Q.  Well, let me just ask you to focus on
  7   the middle of the page. There's a date and time
  8   on the first page, center right. (Indicating.)
  9         A.  Yes.
 10         Q.  Do you see where it says March 23,
 11   2009?
 12         A.  I do.
 13         Q.  That's not today's date; right?
 14         A.  That is not today's date, correct.
 15         Q.  So I just wanted to see if that will
 16   help refresh your recollection as to what this
 17   document is.
 18         A.  Oh, I'm sorry. So I guess this is the
 19   Subpoena for my document production.
 20         Q.  Can you turn to the fourth page of that
 21   document, please.
 22             Before we get into that, who gave you
00058
  1   this document?
  2         A.  I received it by Federal Express from a
  3   Jones Day attorney whose name is escaping me.
  4         Q.  Well, if it comes back to you, let me
  5   know.
  6             Did you have any discussions regarding
  7   the manner in which to respond to this document?
  8         A.  Yes. I talked to the same attorney on
  9   the phone for some time, and we went through the
 10   request and what I had or what I had produced.
 11             So, yes, we did have a discussion on
                                      Page 21
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 12   responding to this.
 13         Q.  Did you have separate counsel beyond
 14   Jones Day help you with this?
 15         A.  No.
 16             My regular contact with Jones Day is
 17   Ms. Geisler, and she was on vacation that week.
 18   They know the name of the attorney, but I can't
 19   remember.
 20         Q.  So you relied on Jones Day to help you
 21   respond to this?
 22         A.  Well, the Subpoena came through them to
00059
  1   me.
  2             So they wanted to make sure I
  3   understood it, they wanted to make sure that I
  4   issued a complete production because this is
  5   probably the first time I've seen one quite like
  6   this.
  7             So the conversation was basically
  8   understanding what was being asked and making
  9   sure that I looked in all of the places I needed
 10   to look to see if I had these things.
 11         Q.  So you went through each of these Items
 12   1 through 12 one by one?
 13         A.  That is my recollection, yes.
 14         Q.  And everything that is described in 1
 15   through 12 has been produced to the United
 16   States?
 17         A.  Well, let me look.
 18             MR. BERLIN: Objection, form.
 19   BY MR. LAVINE:
 20         Q.  Maybe it's easier to go one by one.
 21             The first paragraph talks about
 22   documents with regard to be disclosed under
00060
  1   Federal Rule of Civil Procedure 26(a)(2).
  2             Did you have a discussion as to what
  3   documents are within that rule?
  4         A.  I'm assuming so. I don't have specific
  5   recollection of the conversation.
  6         Q.  Are you able to say then that those
  7   documents were produced to the United States?
  8         A.  To the best of my knowledge, yes.
  9         Q.  But relying on Jones Day to do that?
 10         A.  Yes.
 11         Q.  No. 2 asks for any written report and
 12   drafts of such report.
 13         A.  Yes. And those have been provided.
 14         Q.  There was just one draft report?
 15         A.  Correct.
 16         Q.  No. 3, all documents, information,
 17   material, or data that you have considered, had
 18   access to, or were provided regardless of whether
 19   you relied upon it, rejected it, or cited it.
 20             Have those materials been turned over
 21   to the United States, to your knowledge?
 22         A.  To the best of my knowledge, yes.
00061
  1         Q.  Item 4, all exhibits that summarize or
  2   support your opinions in this case.
  3         A.  Yes.
  4         Q.  Do we have a copy of your most current
  5   resume or CV as called for in Paragraph 5?
                                      Page 22
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  6        A.   Yes. I believe that's Exhibit 1 to my
  7   report.
  8        Q.   Is that the most current version?
  9        A.   Let me look.
 10             I believe there's a publication that
 11   was accepted for publication two weeks ago that
 12   does not appear on here.
 13             But other than that, I believe it is
 14   the most recent version.
 15             MR. LAVINE: Let's just mark the CV as
 16   a separate exhibit.
 17             (Exhibit Hughes 002 was marked for
 18   identification.)
 19   BY MR. LAVINE:
 20        Q.   We just marked as Exhibit 2 a document
 21   of several pages, and on the front top it
 22   reflects the name James W. Hughes. (Document
00062
  1   tendered to the witness.)
  2             Is this your CV?
  3        A.   This is the CV that was produced to the
  4   government, yes.
  5        Q.   And the only thing you would add to
  6   update this would be that one publication you
  7   were talking about?
  8        A.   That's correct.
  9        Q.   And what publication was that?
 10        A.   It has to do with Chinese labor force
 11   participation, and it's, I'm not going to come up
 12   with the journal title.
 13        Q.   Were you the primary author of that?
 14        A.   I was a co-equal author with Professor
 15   Morfazzio and Ms. Zhang.
 16        Q.   Next on Exhibit 1, Item 6, is a list of
 17   all other cases in which you have testified as an
 18   expert at trial or by deposition or affidavit.
 19             Has that been turned over to the United
 20   States?
 21        A.   I'm sorry. Where are we? I'm lost.
 22        Q.   Back to Exhibit 1, Item 6.
00063
  1        A.   My fault.
  2             The listing is for the past five years
  3   only as I recall was what I was required to
  4   produce.
  5        Q.   Was that what was attached as Exhibit 3
  6   to your report?
  7        A.   Yes.
  8        Q.   I'm sorry. Maybe not Exhibit 3.
  9        A.   It's Exhibit 2 to my report.
 10        Q.   Exhibit 2.
 11             Who prepared Exhibit 2 to your report?
 12        A.   I did.
 13        Q.   How was it that the State of Alabama
 14   case ended up being on there?
 15        A.   Because I misunderstood.
 16             I took, it says testifying expert. I
 17   took that to mean retained as a testifying expert
 18   as opposed to actually having testified. So that
 19   case appears on there in error because I hadn't
 20   actually been disclosed at that point. So that
 21   was my mistake.
 22        Q.   But that's the approach you took on
                                      Page 23
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00064
  1   everything that's listed here; right?
  2        A.    Yes.
  3              So, for example, the Commonwealth of
  4   Massachusetts vs. Mylan Labs, that's the Barr
  5   retention I was telling you about, there was no
  6   report or testimony in there.
  7              But I was retained with the
  8   understanding that I was going to be the
  9   testifying expert, which is why I placed it on
 10   here. But I now understand that that's not how I
 11   should have done it.
 12        Q.    The Axiom Plastics case, that was the
 13   plastic resin case?
 14        A.    Yes, plastic resin in Canada case.
 15        Q.    What was the subject of the NBR
 16   antitrust litigation?
 17        A.    That was a proposed class certification
 18   of consumers of NBR rubber, indirect purchasers
 19   of NBR rubber. I lost my train of thought, but
 20   pursuant to a price fixing allegation.
 21        Q.    And what was the Ward Construction case
 22   regarding?
00065
  1        A.    That's another one that shouldn't be on
  2   there because I haven't actually provided
  3   anything.
  4              That is the so-called plastic additives
  5   litigation.
  6        Q.    Is that a case where you're not going
  7   to be doing a report or it hasn't progressed to
  8   that point yet?
  9        A.    That case was stayed for about three
 10   years until January. They were waiting for a
 11   Third Circuit Court decision which came down in
 12   January.
 13              So I have been told that the case is
 14   now alive, but I haven't been asked to do any
 15   additional work.
 16              As far as I understand, as the case
 17   progresses I will at some point produce a report,
 18   but it just hasn't moved in a long time.
 19        Q.    What about the very first case, the
 20   Griffiths vs. Eastern Maine?
 21        A.    Oh, I'm sorry. I didn't mention that
 22   one.
00066
  1              Yes, that was, Dr. Griffiths was a
  2   doctor who's an orthopedic surgeon whose
  3   credentials were revoked by Eastern Maine Medical
  4   Center. She had brought suit against Eastern
  5   Maine Medical for wrongful termination but also
  6   for antitrust, with an antitrust complaint.
  7              I was asked to, she produced, she had
  8   an expert produce a damage report, and I
  9   commented on the damage calculation.
 10        Q.    And your opinion was that the damages
 11   methodology utilized by the plaintiff's expert
 12   was flawed?
 13        A.    Once again, it was a pretty ridiculous
 14   report in my opinion as an economist.
 15              Just to give you one indication, his
 16   calculation counted inflation three different
                                       Page 24
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 17   times. So it was pretty obvious error. And that
 18   was just one of many.
 19         Q.   But the primary thrust of your opinion
 20   in that case was that plaintiff's methodology of
 21   calculating damages was flawed?
 22         A.   Yes.
00067
  1              And that case has since been dropped by
  2   Dr. Griffiths. So it's no longer active.
  3         Q.   Next, Item 7 of Exhibit 1, do we have
  4   all the materials relating to your compensation
  5   that you've received from Jones Day or Abbott in
  6   connection with this retention?
  7         A.   I don't believe that you have the March
  8   invoice. And I believe we brought it with us
  9   today.
 10         Q.   But what was previously produced
 11   reflects everything --
 12         A.   Yes.
 13         Q.   -- up through the end of February?
 14         A.   Yes.
 15         Q.   And then this updates it.
 16         A.   Right.
 17         Q.   You haven't done any work in April or
 18   May?
 19         A.   Well, I'm doing work today in May
 20   obviously.
 21              I did do some work in April. I have
 22   been busy and so I have not produced a bill yet.
00068
  1         Q.   How many hours do you think you worked
  2   on this matter in April?
  3         A.   Fifteen to twenty perhaps.
  4         Q.   Next, Item 8 -- I'm sorry. Let me
  5   follow up on Item 7.
  6              Do we have everything, do these
  7   invoices reflect work done by others on your
  8   behalf in support of this?
  9         A.   No. That's just work done by me.
 10         Q.   So who was doing work on your behalf in
 11   this case?
 12         A.   I was supported by Huron Consulting.
 13         Q.   Anybody in particular at Huron?
 14         A.   Christopher Rohn and a young fellow by
 15   the first name of Casey. I don't know his last
 16   name.
 17         Q.   Anybody else?
 18         A.   No.
 19         Q.   What's your understanding as to how
 20   they were reimbursed for their time and effort in
 21   connection with supporting you?
 22         A.   I assume they kept their hours and
00069
  1   other expenses and submitted them to Jones Day
  2   for forwarding to Abbott like I do. But I have
  3   no specific knowledge of how it happened.
  4         Q.   And you aren't familiar with
  5   approximately how much time they spent supporting
  6   you?
  7         A.   No.
  8         Q.   Item No. 8 on Exhibit 1 relating to
  9   communications, have you turned over to the
 10   United States all the communications relating to
                                       Page 25
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 11   your retention by Abbott as an expert in this
 12   case?
 13              MR. BERLIN: Objection, form.
 14              THE WITNESS: Yes. All the written
 15   communication, yes.
 16   BY MR. LAVINE:
 17         Q.   So we have all the correspondence, any
 18   e-mails?
 19         A.   Yes.
 20         Q.   Including anything that went back and
 21   forth between you and Huron Consulting?
 22         A.   Yes.
00070
  1         Q.   And Analysis Group provided no support
  2   for you in this case?
  3         A.   No.
  4         Q.   Do we have all of the notes that you
  5   took in connection with preparing your report in
  6   this case?
  7         A.   Yes, you do.
  8         Q.   Do you have in your possession any
  9   transcripts of any prior testimony you've given?
 10         A.   No.
 11         Q.   We discussed earlier several different
 12   reports.
 13              But what about affidavits,
 14   declarations, or any other statement under oath
 15   in connection with your previous testimony as an
 16   expert? Do you have anything like that?
 17         A.   Nothing aside from what I've already
 18   provided to you.
 19         Q.   Item 11 talks about documents
 20   reflecting contracts, employment or consulting
 21   relationships between you and any other
 22   pharmaceutical company.
00071
  1              You have not turned those materials
  2   over; right?
  3         A.   I don't think I have anything.
  4              For example, I don't, it has been in
  5   the past relatively rare for me to have a
  6   retention letter. It's just yes, you're
  7   retained, this is your fee, send us the bill,
  8   here are your charges.
  9              So the ones that I have you have.
 10         Q.   Do you consider your engagement with
 11   Aventis to still be active at this point in
 12   connection with the AWP cases?
 13         A.   Yes.
 14         Q.   Are you actively working on that at the
 15   current time?
 16         A.   No.
 17         Q.   In Item 12 we asked for other materials
 18   --
 19              MR. LAVINE: I'm sorry. We have to
 20   take a break. We're running out of tape.
 21              THE WITNESS: Okay.
 22              THE VIDEOGRAPHER: Going off the record
00072
  1   at 10:30 a.m.
  2              (A recess was taken.)
  3              THE VIDEOGRAPHER: Beginning of
  4   Videotape No. 2. We're back on the record at
                                       Page 26
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  5   10:48 a.m.
  6   BY MR. LAVINE:
  7        Q.    We were still working through Exhibit
  8   1, the final Paragraph 12 --
  9        A.    Yes.
 10        Q.    -- asked for materials related to
 11   Abbott or other related entities.
 12              Have you done any work for Hospira?
 13        A.    No. I have not.
 14        Q.    How about for Tap Pharmaceuticals?
 15        A.    I have not.
 16        Q.    Have we discussed everything that
 17   you've been retained to do for Abbott?
 18        A.    Everything that I've been disclosed,
 19   yes.
 20        Q.    There might be other things on which
 21   you've been retained as a consultant?
 22        A.    Yes.
00073
  1        Q.    Have we discussed everything related to
  2   other defendants in any other AWP related case,
  3   federal or state?
  4        A.    Yes, we have.
  5              (Exhibit Hughes 003 was marked for
  6   identification.)
  7   BY MR. LAVINE:
  8        Q.    Let me hand you what we've marked as
  9   Exhibit 3. (Document tendered to the witness.)
 10              I just ask you if you recognize that
 11   document, which is a letter on the letterhead of
 12   Jones Day, dated April 29, 2008.
 13        A.    Yes, I do.
 14        Q.    What is it?
 15        A.    This is a copy of my retention letter.
 16        Q.    And you signed it on the third page?
 17        A.    Yes, I did.
 18        Q.    Was there any other kind of retention
 19   letter with either Abbott or Jones Day?
 20        A.    No.
 21        Q.    So this contains the entire statement
 22   of work for the case?
00074
  1        A.    Yes.
  2        Q.    Do you know of any separate agreement
  3   between either Abbott or Jones Day with Huron
  4   Consulting or Analysis Group?
  5        A.    No.
  6        Q.    You weren't party to anything else that
  7   there might be?
  8        A.    No. If they exist, I did not see them.
  9        Q.    What was your understanding with -- I'm
 10   sorry.
 11              Let me ask you, earlier you had said
 12   you're normally retained by the law firm. But let
 13   me ask you just to look at the third paragraph
 14   here, Abbott will be responsible for paying your
 15   invoices.
 16        A.    Yes, correct.
 17        Q.    So is that right, that you're retained
 18   by Abbott Laboratories in this case?
 19        A.    According to this letter, yes.
 20        Q.    And Abbott Laboratories is the one
 21   paying your invoices; right?
                                       Page 27
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 22        A.    Yes, they are.
00075
  1        Q.    And the terms in the first paragraph
  2   are correct, at $575 per hour?
  3        A.    That is correct, yes.
  4        Q.    Is there anything addressed in Exhibit
  5   3 regarding any understanding you have with
  6   Abbott or Jones Day regarding assistance you
  7   might get from other people?
  8        A.    I believe there's something in here
  9   that I can't hire such people without their
 10   permission is my recollection. Yes, at the top
 11   of Page 2.
 12        Q.    Did you seek any consent from Abbott or
 13   Jones Day in that regard?
 14        A.    Huron was, to the best of my
 15   understanding, Huron was already retained in this
 16   matter by the time I came on.
 17              So if I, when I needed data analysis
 18   work done, I directed that to Huron. So I didn't
 19   have any communication with Abbott about it or
 20   anything like that.
 21        Q.    But at some point somebody from Jones
 22   Day would have made it known to you that Huron
00076
  1   Consulting was doing work and they were available
  2   to you to assist you?
  3        A.    That sounds about right, yes.
  4        Q.    When did that happen? Do you know?
  5        A.    Sometime after this, sometime in the
  6   summer.
  7              (Exhibit Hughes 004 was marked for
  8   identification.)
  9   BY MR. LAVINE:
 10        Q.    We just marked as Exhibit 4 a five-page
 11   composite document, and the first page is
 12   Document No. ABT-Hughes-0157. (Document tendered
 13   to the witness.)
 14        A.    Yes.
 15        Q.    Do you recognize these documents?
 16        A.    Yes, I do.
 17        Q.    What are they?
 18        A.    These are my bills submitted through
 19   Jones Day to Abbott for my services in this
 20   matter.
 21        Q.    With the exception of the bill for
 22   March of 2009, are any missing?
00077
  1        A.    No. None are missing.
  2        Q.    So these invoices do represent all the
  3   work that you've done on this case?
  4        A.    With the exception of what was done in
  5   April and May, yes.
  6        Q.    And the March one that we got.
  7        A.    I'm sorry, yes. And the one March one
  8   that you just received.
  9        Q.    So in total do you estimate that you
 10   spent about two hundred fifty hours working on
 11   this case?
 12        A.    I have not added it up, but let's see,
 13   well, with the addition of that bill it will be
 14   more than a hundred seventy. It'll be more like
 15   two hundred, two twenty-five. Just doing the
                                       Page 28
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 16   addition in my head.
 17             MR. LAVINE: It's my only copy, but why
 18   don't we mark this as Exhibit 5.
 19             (Exhibit Hughes 005 was marked for
 20   identification.)
 21   BY MR. LAVINE:
 22        Q.   Am I correct, Exhibit 5 is your bill
00078
  1   for your services performed in March of 2009 in
  2   connection with this case? (Document tendered to
  3   the witness.)
  4        A.   That's correct.
  5        Q.   So the first set of bills, Exhibit 4,
  6   adds up to about a hundred ninety hours and then
  7   another sixty hours or so in March?
  8        A.   That sounds about right, yes.
  9        Q.   And you said approximately twenty more
 10   in April?
 11        A.   Yes, something like that.
 12        Q.   Do you know approximately how many
 13   deposition transcripts were sent to you in this
 14   case for you to review?
 15        A.   Many, many. I wouldn't even want to
 16   hazard a guess.
 17             It is contained in my Exhibit 3.
 18        Q.   Do you think it would be approximately
 19   a hundred twenty-five?
 20        A.   Honestly, I just don't know. I did not
 21   count them.
 22        Q.   In addition to the deposition
00079
  1   transcripts, you were forwarded numerous other
  2   documents as well; right?
  3        A.   Yes.
  4        Q.   And the deposition transcripts
  5   generally included all of the exhibits that were
  6   associated with those depositions?
  7        A.   Yes.
  8        Q.   And you are being paid for your time
  9   here today?
 10        A.   Yes, I am.
 11        Q.   What did you do to prepare for the
 12   deposition today?
 13        A.   I reviewed my report; I reviewed the
 14   exhibits to my report; I reviewed the supporting
 15   documents to my report; I reviewed Dr. Duggan's
 16   report; I reviewed Dr. Duggan's rebuttal report;
 17   I looked over some deposition transcripts,
 18   although that's quite a while ago; sat with my
 19   feet up and thought about some things.
 20        Q.   Did you have any meetings?
 21        A.   Yes. I met with counsel yesterday.
 22        Q.   Here in Chicago?
00080
  1        A.   Yes.
  2        Q.   Who did you meet with?
  3        A.   I met with Ms. Geisler and Mr. Berlin.
  4        Q.   When did the meeting begin?
  5        A.   10:00 a.m.
  6        Q.   And when did it end?
  7        A.   The meeting with counsel probably ended
  8   about 3:00.
  9        Q.   Was there a follow-up meeting with
                                       Page 29
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 10   others?
 11         A.   I had asked for Chris Rohn from Huron
 12   to come in because I had a couple of
 13   clarifications I wanted to ask him.
 14         Q.   How long did you meet with Mr. Rohn?
 15         A.   On business, about a half an hour.
 16   Socially probably another half an hour.
 17         Q.   Did you have any telephone
 18   conversations in preparation for your deposition
 19   today?
 20         A.   No. I did not.
 21         Q.   So you reviewed your report and the
 22   associated exhibits and underlying support
00081
  1   materials; right?
  2         A.   That's correct.
  3         Q.   And then Professor Duggan's report and
  4   rebuttal report?
  5         A.   That's correct.
  6         Q.   Did you also review his supplemental
  7   report?
  8         A.   I've read that report. But
  9   specifically in preparation for this deposition,
 10   I did not.
 11         Q.   And you mentioned that you had reviewed
 12   transcripts some time ago. What did you mean by
 13   that?
 14         A.   The month of April was very busy for me
 15   because my school is ending. So knowing that my
 16   deposition was in the beginning of May, I just
 17   wanted to refresh my memory about what some of
 18   the state witnesses and Abbott witnesses, Abbott
 19   witness, and the like, I just wanted to, because
 20   a lot of those, not so much the state witnesses,
 21   but some of the federal witnesses I maybe had
 22   read their deposition for the first time last
00082
  1   summer.
  2              So I just wanted to look at the context
  3   of the things that I was relying upon to refresh
  4   my memory about what they had said. So that was
  5   mostly done in March. That's why I say some time
  6   ago.
  7         Q.   So you reviewed some of the transcript
  8   of testimony of state and federal witnesses?
  9         A.   In March, yes.
 10         Q.   And of the Abbott employee?
 11         A.   Yes.
 12         Q.   What was the follow-up work that you
 13   asked Mr. Rohn to do?
 14         A.   I don't believe it was follow-up work.
 15              There was a printing problem with one
 16   of my exhibits, and I wanted to make sure, well,
 17   we determined it was a printing problem. The
 18   exhibit looked funny in my production, and I
 19   wanted to make sure that I understood that this
 20   was a printing problem and not something in the
 21   data that I had missed.
 22         Q.   Which exhibit?
00083
  1         A.   It's in, give me a second. It's in
  2   Exhibit 4 and --
  3         Q.   Those are the charts comparing prices
                                       Page 30
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  4   to the Consumer Price Index for medical products?
  5         A.  That's correct.
  6             So, for example, I don't know how you
  7   want to handle this, but this is for one of the
  8   sodium chloride. And I know the Court Reporter
  9   can't get this, but here's the CPI, here's the
 10   direct price, and then there's this other
 11   horizontal line. And I --
 12         Q.  Can you just identify the particular --
 13         A.  Yes.
 14         Q.  -- NDC number here?
 15         A.  It is NDC 00074613822.
 16             So it appeared to me that there was an
 17   extraneous horizontal line the way this printed,
 18   and I wanted to verify with Mr. Rohn that my
 19   understanding was that this was a printing
 20   problem and not some other bit of information in
 21   the exhibit that I was not recollecting.
 22             I had proofread all these exhibits when
00084
  1   the report was finalized, and I don't remember
  2   those lines being there, which was why I was, is
  3   it a printing error or did I miss something in
  4   the proofreading process.
  5         Q.  So, I'm sorry, which was it? What was
  6   the answer?
  7         A.  It's a printing error. There's a
  8   horizontal line that shouldn't be there.
  9             It's not in the electronic version, but
 10   every time you print it it comes out. So I don't
 11   know.
 12         Q.  So the correct line would be the one
 13   that drops down?
 14         A.  That's correct. The correct direct
 15   price line, yes.
 16         Q.  And the line that's horizontal and just
 17   sloping downward a little bit is the extraneous
 18   line?
 19         A.  That's correct.
 20         Q.  Why did you need to meet with him in
 21   person for that?
 22         A.  He was in Chicago, I was in Chicago.
00085
  1             It's kind of hard over the telephone to
  2   say look at this, what's going on. It's better to
  3   just do it in the same room.
  4             I suppose while we're at it, I should
  5   probably point out to you that there are two that
  6   have that problem. 00074613922 and --
  7             MR. BREEN: Is the other one 13822?
  8             THE WITNESS: The other one is
  9   00074613822, that's correct.
 10
 11
 12   BY MR. LAVINE:
 13         Q.  So on both of those the secondary
 14   straight slightly downward sloping line --
 15         A.  Right.
 16         Q.  -- would be extraneous?
 17         A.  The almost horizontal line is
 18   extraneous, yes.
 19         Q.  Were you ever able to figure out why
 20   that was printing?
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 21        A.    You know, that was Mr. Rohn's
 22   department. So I left it to him.
00086
  1              It's still a mystery because if you
  2   look at it on the screen in the electronic
  3   production, it doesn't appear.
  4              It's my understanding that back at
  5   Huron they tried printing it a couple different
  6   ways and the line still came out.
  7              So the answer is no, we did not figure
  8   out where it's coming from.
  9        Q.    Now, during your meeting with counsel
 10   yesterday, were you asked to focus on any
 11   particular issues?
 12        A.    No.
 13              We just, we generally talked through my
 14   opinions in my report and discussed some things
 15   about Dr. Duggan's report and rebuttal report.
 16        Q.    What was it that you discussed about
 17   the rebuttal report?
 18        A.    Just generally what issues that Dr.
 19   Duggan was covering and some of my preliminary
 20   thoughts about what I thought about some of his
 21   rebuttal points.
 22        Q.    So what were some of your preliminary
00087
  1   points that you made during the meeting
  2   yesterday?
  3        A.    Well, I don't remember exactly what I
  4   said. I assume we'll get into that in the form
  5   of questions.
  6              The big one for me is that in his
  7   rebuttal he does not contradict at all my opinion
  8   that his characterization of the but-for world is
  9   not realistic.
 10        Q.    So that was one of the reactions you
 11   shared with counsel yesterday?
 12        A.    That was one of the reactions I shared,
 13   yes.
 14        Q.    What other reactions did you share with
 15   counsel about the rebuttal report yesterday?
 16              MR. BERLIN: Objection, form, calls for
 17   a narrative answer.
 18              You're welcome to ask this, but I'll
 19   tell you we walked through the report. So you
 20   can ask him to narrate what was his, I mean you
 21   can conduct your deposition as you want, but
 22   there's an objection to that.
00088
  1              MR. BREEN: And I'll object to the --
  2              MR. LAVINE: Narrative objection?
  3              MR. BREEN: -- speaking objection.
  4              MR. BERLIN: And I'll object to your
  5   objection to my objection.
  6              MR. BREEN: It's not proper, and I'd
  7   like to hear an answer to that question.
  8              THE WITNESS: I just don't, again, it's
  9   the end of a long day, I don't remember with
 10   great specificity and exactly what was discussed.
 11              And for me to do so here I think would
 12   be speculative. I just don't want to speculate
 13   on what I may or may not have said.
 14   BY MR. LAVINE:
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 15         Q.   So to describe the other reactions that
 16   you might have expressed to counsel yesterday
 17   regarding the rebuttal report would require
 18   speculation?
 19              MR. BERLIN: As to what he, that's not
 20   what he said.
 21              MR. LAVINE: He can answer the
 22   question, and you can object to form, Eric. You
00089
  1   don't need to answer his questions for him. You
  2   know that's not appropriate.
  3              THE WITNESS: Could you read back the
  4   original question that's on the table?
  5              (The record was read back as
  6              requested.)
  7              THE WITNESS: To respond to that
  8   question, which was what did you discuss with
  9   counsel, yes, would require speculation because I
 10   don't have specific recollection of the
 11   conversation or my monologue or anything like
 12   that.
 13              So I would be speculating as to
 14   reconstruct that conversation.
 15   BY MR. LAVINE:
 16         Q.   Can you describe generally the nature
 17   of other issues that may have been raised
 18   regarding Professor Duggan's rebuttal report
 19   yesterday?
 20              THE WITNESS: Could I have that again?
 21   I'm sorry.
 22              (The record was read back as
00090
  1              requested.)
  2              THE WITNESS: Yes. I discussed what my
  3   reaction to the various points in rebuttal that
  4   Dr. Duggan was making, what I may have thought
  5   about them at the time.
  6   BY MR. LAVINE:
  7         Q.   Did counsel ask you particular
  8   questions about any of the issues raised in the
  9   rebuttal report?
 10         A.   No.
 11         Q.   Did they ask you any questions about
 12   the rebuttal report?
 13         A.   No.
 14              It was my paging through the report,
 15   talking about what he was saying, talking about
 16   my preliminary thoughts about what I thought
 17   about the points that he was making.
 18              So it was more in the form of monologue
 19   on my part than a question-and-answer session.
 20         Q.   And there was only one particular point
 21   that you can remember having mentioned to counsel
 22   yesterday?
00091
  1         A.   I just remember that as kind of being
  2   an overriding he did not engage this kind of
  3   major point of my report.
  4         Q.   Did you discuss any particular issues
  5   raised in Professor Duggan's original report with
  6   counsel during your preparation meeting
  7   yesterday?
  8              MR. BERLIN: Objection, form.
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  9             THE WITNESS: Yes. I'm sure I did.
 10   BY MR. LAVINE:
 11         Q.  Do you remember any of them?
 12             MR. BERLIN: Objection, form --
 13   actually, I withdraw that objection to the
 14   specific question.
 15             THE WITNESS: I don't remember
 16   specifically the points that we, from Dr.
 17   Duggan's original report, that we discussed.
 18   BY MR. LAVINE:
 19         Q.  Well, did you talk about how you might
 20   answer questions regarding any of the issues
 21   raised in the report?
 22             MR. BERLIN: Objection, form.
00092
  1             THE WITNESS: I talked about how I,
  2   well, I mean my report speaks for itself about
  3   how I respond to his report.
  4             So, no, it was just a matter of
  5   matching up, just I've been through his report,
  6   I've been through mine. So there was nothing new
  7   that I discussed or that I recall counsel
  8   discussing about things that were in Dr. Duggan's
  9   report that are not currently in my report.
 10   BY MR. LAVINE:
 11         Q.  Did counsel provide any example
 12   questions that you might be faced with today?
 13         A.  No, they didn't.
 14         Q.  Did they suggest any issues that they
 15   expect to be raised today?
 16         A.  Not that I recall.
 17         Q.  I'm talking about the meeting
 18   yesterday; right?
 19         A.  Yes, the meeting yesterday.
 20         Q.  About how much time do you think you
 21   spent reviewing transcripts in order to prepare
 22   for your deposition today?
00093
  1         A.  Specifically in preparing for
  2   deposition today, probably, I can just refer to
  3   one bill, specifically in preparation for
  4   deposition, twenty-two, twenty-three.
  5         Q.  And you were refreshing your
  6   recollection on that by looking at Exhibit 5,
  7   which is the invoice from March?
  8         A.  Right.
  9             Well, my report, actually I guess I've
 10   stated that wrong.
 11             My report was filed on March 6th, to my
 12   recollection. So the remaining time in March,
 13   which I do have to correct that now, it's
 14   actually more like sixteen hours.
 15             The remaining time on Exhibit 5 that's
 16   from March 12th through March 26th, that would
 17   have been reviewing transcripts, documents, just
 18   refreshing my memory about certain things that I
 19   relied upon for my report that were in
 20   preparation for deposition.
 21         Q.  When did you get a copy of the rebuttal
 22   report from Dr. Duggan -- or let me rephrase
00094
  1   that.
  2             When were you provided with a copy of
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                             Depo-Hughes-James-05-05-09
  3   Dr. Duggan's rebuttal report?
  4        A.   Recently.
  5             I mean my guess is it was forwarded to
  6   me the day that counsel received it, but I don't
  7   remember a specific date.
  8        Q.   Did you perform any additional analysis
  9   after reading the rebuttal report?
 10        A.   No. I did not.
 11        Q.   Did you get a copy of Dr.
 12   Schondelmeyer's rebuttal report?
 13        A.   I did not.
 14        Q.   I'm sorry. You said you did not?
 15        A.   I don't think so.
 16        Q.   Did you ask anyone else to perform any
 17   analysis in connection with the rebuttal report
 18   of Professor Duggan?
 19        A.   No.
 20             I mean if memory serves, Dr. Duggan's
 21   rebuttal report came in late March or early
 22   April. And April was just not a month that I had
00095
  1   much time to devote to, actually I don't remember
  2   when Dr. Duggan's report came in. But to the
  3   extent it was in the month of April, I just
  4   didn't have a lot of time to devote to it.
  5        Q.   Do you know if anybody at Huron
  6   Consulting was doing additional analysis as a
  7   result of having reviewed the rebuttal report of
  8   Professor Duggan?
  9             MR. BERLIN: Objection, form.
 10             THE WITNESS: I don't know. I don't
 11   think so. I don't think so -- well, let me try
 12   that again.
 13             They were not doing any additional work
 14   in response to Dr. Duggan's rebuttal report in
 15   support of me.
 16
 17
 18   BY MR. LAVINE:
 19        Q.   You didn't ask them.
 20        A.   I didn't ask them to do that.
 21        Q.   And the only specific point you can
 22   remember having made yesterday in your meeting
00096
  1   with counsel regarding the rebuttal report was
  2   that it didn't directly contradict your opinion
  3   that his but-for world was unrealistic?
  4        A.   That's correct. That's the specific
  5   thing that I remember.
  6             (Exhibit Hughes 006 was marked for
  7   identification.)
  8   BY MR. LAVINE:
  9        Q.   We just marked as Exhibit 6 a document
 10   titled Notice of Deposition of James Hughes,
 11   Ph.D. (Document tendered to the witness.)
 12             Have you seen that document before, Dr.
 13   Hughes?
 14        A.   Yes, I have.
 15        Q.   And you're appearing here today in
 16   response to this document?
 17        A.   That's my understanding, yes.
 18        Q.   Besides the single invoice page that
 19   has been provided by counsel, have you brought
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 20   any other documents or materials with you today
 21   to this deposition?
 22        A.   No. I have not.
00097
  1        Q.   Were you provided a copy of the
  2   Subpoena that's attached to Exhibit 6 before
  3   today?
  4        A.   Yes, yes.
  5        Q.   And other than the single bill that was
  6   provided, there's no other materials that were to
  7   be provided?
  8        A.   No.
  9        Q.   And the documents that you reviewed in
 10   preparation for the deposition today were already
 11   disclosed, nothing additional to what you had
 12   already identified?
 13        A.   That's correct.
 14        Q.   I just wanted to review with you the
 15   process of your review of the materials that you
 16   considered in connection with your report that
 17   you prepared in this case.
 18             Can you take me through the process of
 19   how that worked, please, when you first got the
 20   materials and how you went about reviewing them?
 21        A.   Yes. After I was retained, I began to
 22   receive several boxes of documents. These were,
00098
  1   to the best of my recollection, mostly
  2   depositions. There were some catalogs and
  3   pricelists that I had specifically requested.
  4   Probably some other documents. To the best of my
  5   recollection, I was invited to begin reading the
  6   deposition transcripts.
  7             Oh, I'm sorry. And I was provided with
  8   what up to that date had been all of the court
  9   filings. So there was the complaint and the
 10   reply and Interrogatories and things like that.
 11             So I would have started with that to
 12   understand what the allegations were. And then
 13   from there I would have moved to other documents
 14   and to some of the deposition testimony.
 15             I would have been doing mostly that
 16   kind of document review up until the time that
 17   Dr. Duggan submitted his report. And then I
 18   would have then started reviewing his report and
 19   going to other documents, doing other research on
 20   my own to begin to form my opinions of what I
 21   thought of the material in Dr. Duggan's report.
 22             That would pretty much proceed like
00099
  1   that. That happened through the summer. And
  2   then in September I was instructed to stop
  3   working on the case.
  4        Q.   I'm sorry. What?
  5        A.   In September I was instructed to stop
  6   working on the case.
  7        Q.   Any explanation given?
  8        A.   There was scheduling issues. So until
  9   the scheduling issues were resolved, I wasn't to
 10   do any more work.
 11        Q.   And I guess eventually that order had
 12   been countermanded?
 13        A.   Sometime in mid-January. But then work
                                       Page 36
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 14   didn't really begin completely in earnest until
 15   early February.
 16        Q.   In the course of your work, if you had
 17   a meeting with any of the attorneys at Jones Day,
 18   it would be reflected on your bills?
 19        A.   Yes, yes, it would.
 20        Q.   Then if you could look at Exhibit 4, on
 21   the second page, which is your bill for June?
 22        A.   Yes.
00100
  1        Q.   It's dated July 31st of '08.
  2        A.   Correct.
  3        Q.   On June 20th the activity is
  4   drafting/editing.
  5             Does that represent when you started
  6   drafting your expert report in this matter?
  7        A.   That would be my best estimate, yes.
  8        Q.   And all of the documents that you
  9   relied upon in connection with preparing your
 10   expert report have been produced to the United
 11   States; right?
 12        A.   Yes.
 13             (Exhibit Hughes 007 was marked for
 14   identification.)
 15   BY MR. LAVINE:
 16        Q.   We just marked as Exhibit 7 an
 17   eight-page document entitled Documents Considered
 18   by James W. Hughes, Ph.D. (Document tendered to
 19   the witness.)
 20             Did you prepare this document?
 21        A.   I did not.
 22        Q.   Did you participate in the preparation
00101
  1   of this document?
  2        A.   Yes, certainly.
  3        Q.   Did you review it and/or add/modify it?
  4        A.   Review it and/or add/modify it?
  5             There would have been documents that I
  6   found and/or relied upon that I would have
  7   provided copies to Jones Day as something that I
  8   had considered, and then they would have added it
  9   to the list.
 10             So I think that's a long roundabout way
 11   of saying "Yes."
 12        Q.   Now, the first two items listed would
 13   have been materials that you previously had in
 14   your possession; right?
 15        A.   Yes.
 16        Q.   And then the next is a retention
 17   letter?
 18        A.   Yes.
 19        Q.   And then following that though, those
 20   are all materials that were provided to you by
 21   Jones Day in connection with this case?
 22        A.   Well, no. When you get on --
00102
  1        Q.   Well, at some point you get to --
  2        A.   You get to some of the things that I
  3   would have.
  4             But everything else on Page 1, yes,
  5   would have been provided to me by Jones Day.
  6        Q.   Can you just work your way through
  7   until you see any materials that were not
                                      Page 37
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  8   provided to you by Jones Day?
  9        A.   Certainly.
 10             On Page 6, the sixth item down, program
 11   memorandum, those two program memoranda, I
 12   believe that I provided those.
 13             Farther down, Economics of Strategy,
 14   Dynamics of Pricing Rivalry, Chapter 9, I
 15   provided that.
 16             Washington Law Review article, I
 17   provided that. Electronic Orange Book, I
 18   provided that.
 19             The Besanko, Dranove, and Shanley,
 20   Economics of Strategy, that's the full book from
 21   which the previously-mentioned chapter came from,
 22   I provided that.
00103
  1             The two papers by Fiona Scott-Morton, I
  2   would have provided those. Roger Blair and
  3   William Page, I would have provided those.
  4             The next document which is
  5   reimbursement information by state, to my
  6   recollection I provided those.
  7        Q.   I'm sorry. Which one is that?
  8        A.   The one right after the Roger Blair and
  9   William Page. It's a web --
 10        Q.   The website?
 11        A.   The website citation.
 12             The next one, I have a feeling I
 13   provided that, but I can't tell from the web
 14   citation exactly what it is. So I have to say I
 15   don't know on that one.
 16             And then several of the next things
 17   from HHS, HEW, HCFA action transmittal -- well,
 18   here's the thing with those: I found those, I
 19   provided those, and then I learned that they had
 20   been provided to me. They were on a CD and I
 21   just had not, so I guess I'll call that one a
 22   tie. I think it was provided to me, and I
00104
  1   provided it back because my filing system at home
  2   is not perhaps what it should be.
  3             United States Senate, Special Committee
  4   On Aging, same thing. Some of the, the OIG
  5   reports, the Barron's article.
  6             Barron's article, again, I believe I
  7   provided a copy, but I believe what was actually
  8   in the production is a copy of an exhibit that
  9   has appeared someplace else. So what you have is
 10   actually what Jones Day had and not what I
 11   provided to Jones Day.
 12             President William Clinton Radio
 13   Address, I provided. House Committee on Ways &
 14   Means, I provided.
 15             Some of those next, the Idaho
 16   Administrative Code, Independent Living of
 17   Southern California, Arkansas, my recollection is
 18   that I had come across some of these cases in my
 19   research and I provided the citation to Jones
 20   Day, and they found and produced the actual
 21   complaint or document.
 22             Farther down, United States DHHS,
00105
  1   implementation of the Deficit Reduction Act of
                                      Page 38
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  2   2005, I provided that.
  3              The last one, U.S. HCFA, that was
  4   another one that I found and provided to Jones
  5   Day only to learn that it was in my possession,
  6   that it had been on a CD that had been provided
  7   to me in the past year.
  8         Q.   Out of the materials on the I guess the
  9   last three pages you described, were some of
 10   those also provided to you by counsel in
 11   connection with other matters on which you had
 12   been retained, such as the Aventis case?
 13         A.   Not, well, not to my recollection,
 14   although I think I saw in here, I think I saw in
 15   here a copy of the, okay, yes -- I'm sorry.
 16              I'm on Page 6. About two thirds of the
 17   way down the page there's the State of
 18   Connecticut vs. Aventis and In Re: Pharmaceutical
 19   Industry Average Wholesale Price Litigation in
 20   the matters of State of Nevada and State of
 21   Montana vs. Abbott Labs, et al.
 22              I would have had that from those
00106
  1   previous, that would have been given to me by
  2   counsel for Aventis at some point in the past.
  3         Q.   What is that referring to then?
  4         A.   Okay. Those are the two complaints
  5   that generated the reports that appear as the
  6   first two documents, the one, the Connecticut
  7   disclosure and the Montana report, those are the
  8   complaints.
  9         Q.   The complaints?
 10         A.   Yes, the complaints.
 11         Q.   It doesn't actually identify what that
 12   is. It just gives a cite to the case.
 13         A.   Yes, I'm sorry. But those are, to my
 14   understanding, the complaint.
 15              Now, I would have had those in my
 16   possession from Aventis, from counsel for Aventis
 17   previously. Whether I physically gave those to
 18   Jones Day or they got the citations and they
 19   called them up and provided them to the
 20   government, I just don't remember which way it
 21   went.
 22         Q.   But, for example, on the Barron's
00107
  1   citation, is that something you discovered in
  2   independent research, or was that pointed out to
  3   you by an attorney in connection with one of the
  4   AWP cases?
  5         A.   That citation comes up a lot.
  6              My recollection was is that I first
  7   came across that in reading one of the
  8   transmittal letters in an OIG report that said
  9   there's this article from Barron's. So then I
 10   went off to find it on my own.
 11         Q.   So after working through Exhibit 7,
 12   does that refresh your recollection as to whether
 13   there might be some other documents that were
 14   left off of this list that you relied upon in
 15   connection with your report?
 16         A.   Not that I can recall, no.
 17         Q.   So this is complete? This is the
 18   universe of all documents that you reviewed or
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 19   relied upon in connection with preparing your
 20   report in this case?
 21        A.    Certainly to the best of my
 22   recollection, yes.
00108
  1        Q.    Did you review the CD-ROMs that were
  2   provided to the United States which conveyed the
  3   materials --
  4        A.    No. I did not.
  5              MR. BERLIN: Hold on. Let him finish
  6   his questions.
  7              MR. LAVINE: Sorry. My fault. I
  8   paused.
  9              THE WITNESS: No. I did not review the
 10   CDs that were provided to the government in
 11   connection with my report.
 12   BY MR. LAVINE:
 13        Q.    I had asked this, but am I right, you
 14   took no handwritten notes whatsoever during your
 15   work in this case?
 16        A.    No, I didn't.
 17        Q.    And you only produced a single draft
 18   report?
 19        A.    That's correct.
 20        Q.    You worked on this case for a year. Can
 21   you explain to me how it is there's only one
 22   draft report?
00109
  1              MR. BERLIN: Objection, form.
  2              THE WITNESS: Well, it was less than a
  3   year because there was a three- or four-month
  4   hiatus between September and January. But I did
  5   work on the report.
  6              The actual drafting of course didn't
  7   start until the summer after quite a bit of
  8   documents had been reviewed. And, of course, I
  9   didn't start until after Dr. Duggan's report had
 10   been received.
 11              But it's my practice that when I'm
 12   beginning to put together a report that I will
 13   create on my computer a fairly detailed six-,
 14   seven-, eight-, ten-page outline that becomes the
 15   master document.
 16              So I will as I review things find
 17   citations that support a particular point I'm
 18   trying to make or a particular point I'm trying
 19   to refute, I will type the citation right into
 20   the appropriate part of the outline.
 21              Then as my work progresses, the bare
 22   bones of the outline begins to become paragraphs
00110
  1   of a report. And, as I say, the citations are
  2   sort of added live as I come across them in my
  3   research.
  4              So I never print out, and I have no
  5   need to print out any drafts. Nobody asked me to
  6   print out or provide any drafts. The one that
  7   was produced was for purposes of proofreading by
  8   myself and people here at Jones Day before it was
  9   submitted.
 10        Q.    So is it fair to characterize the one
 11   draft report that you prepared in this case as
 12   being very close to the final form?
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 13        A.   Yes. I think that's accurate.
 14        Q.   And the process you just described as
 15   to the way you created this report, is that your
 16   normal practice in all of your cases where you've
 17   been retained as an expert witness?
 18        A.   Yes, it is.
 19        Q.   That's different though than the way,
 20   is that different from the way you would do it
 21   outside of your retention as an expert?
 22        A.   Not necessarily.
00111
  1             I mean if you're speaking of my
  2   academic research, that has a much different
  3   characteristic to it just because, to the extent
  4   that I'm working with coauthors, I might create
  5   an outline but then a coauthor is in China so
  6   then it'll be transmitted electronically to that
  7   coauthor.
  8             She'll add some parts that she had
  9   worked on, maybe, you know, just to give you a
 10   particular example, my Chinese colleague was the
 11   only one with access to the 2000 Chinese Census.
 12   So she would have done some analysis with that.
 13   So she would have put in the tables the narrative
 14   that goes along with that.
 15             But it still proceeds, you know, in
 16   that case we're very, in all of my collaborations
 17   with the exception of the collaborations with my
 18   wife, which I'm happy to describe to you if you'd
 19   like, but in all my collaborations we take
 20   special care to make sure that there is but one
 21   master document and we know who is in control of
 22   it because if you have three coauthors all
00112
  1   editing at once, then it becomes unclear what the
  2   paper is.
  3             So the general idea that there is a
  4   single master document, then that's the one where
  5   the edits are done, that's pretty consistent with
  6   what I do in my consulting work as well.
  7        Q.   But in this case what started as a
  8   detailed outline of about six to eight pages
  9   slowly over the course of your engagement turned
 10   into the forty-five, forty-six page report?
 11        A.   That's correct, yes.
 12        Q.   And to the extent there are any changes
 13   or modifications or deletions, it's impossible to
 14   figure out what those might have been at this
 15   point?
 16             MR. BERLIN: Objection, form.
 17             THE WITNESS: I mean they were done on
 18   the master document. So I mean I don't know
 19   anything about forensic computing, but I
 20   certainly don't know how to do it.
 21   BY MR. LAVINE:
 22        Q.   But you don't have any --
00113
  1        A.   No.
  2        Q.   -- actual backups?
  3        A.   No, I don't.
  4        Q.   No other versions of the report as it
  5   might have existed at earlier points in time?
  6        A.   No.
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  7        Q.    Did anybody else have direct access to
  8   the draft of your report so that they could
  9   review it?
 10        A.    No.
 11              I mean like if you're referring to like
 12   did they have access to my computer so that they
 13   could review it and comment on it, no.
 14        Q.    It wasn't posted or available in some
 15   way where other people could review it as a work
 16   in progress and/or suggest changes to it?
 17        A.    Well, we did have on two occasions when
 18   I was in Maine, I posted the document to what's
 19   called Web-X. So attorneys here in Chicago could
 20   see the document that was on my computer.
 21        Q.    What is Web-X?
 22        A.    Good question. It's a computer program
00114
  1   that basically you connect into some website, and
  2   then people sign in to a meeting, and then
  3   everybody who signed into the meeting can see the
  4   document that's on my computer screen, wherever
  5   they may be, on their own computer screen or on a
  6   monitor in a meeting room or however they choose
  7   to do it.
  8        Q.    And you made your draft report
  9   available to other people using Web-X on two
 10   occasions during the course of your engagement in
 11   this case?
 12              MR. BERLIN: Objection, form.
 13              THE WITNESS: "Available" is probably
 14   not quite the right word.
 15              I was in control of the document. So if
 16   we paged, you know, if it were being paged
 17   through, it was me doing the paging through.
 18              They had no ability to edit or change
 19   the document. They could see what was on my
 20   computer screen, but they could not make any
 21   changes to it.
 22
00115
  1
  2   BY MR. LAVINE:
  3        Q.    But they could read it as you were
  4   scrolling through it?
  5        A.    Yes, they could.
  6        Q.    And the purpose behind that was to let
  7   them read it, the version of the report as it
  8   existed at that time, and give you comments;
  9   right?
 10        A.    Yes. I think that's accurate.
 11        Q.    And who was it that you gave Web-X
 12   access of your document to?
 13        A.    Ms. Geisler and I believe Ms. Tabacchi
 14   also of Jones Day.
 15        Q.    Would you be able to identify any entry
 16   on the invoices that would be associated with
 17   that process?
 18        A.    Doubt it.
 19        Q.    That wouldn't count as a meeting?
 20        A.    No. That wouldn't count as a meeting.
 21        Q.    Would it be identified as
 22   drafting/editing?
00116
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  1         A.   Highly likely.
  2         Q.   When did those two Web-X events occur?
  3         A.   I believe they were both in February,
  4   maybe two weeks apart.
  5         Q.   Did you give counsel a chance to read
  6   through the entire document?
  7         A.   I don't remember. I would assume so. I
  8   don't remember specifically.
  9         Q.   How long were you, or how long did the
 10   Web-X event occur or last, I'm sorry?
 11         A.   They were between an hour, hour and a
 12   half.
 13         Q.   Did counsel give you comments on the
 14   report during the course of the Web-X review?
 15         A.   There were comments along the lines of,
 16   you know, I'm an economist writing as an
 17   economist. So there was a lot of I'm sorry, what
 18   are you saying here, kinds of things.
 19              So then I would discuss with them this
 20   is what I'm trying to say, and then they'd say
 21   oh, okay, well that's not clear.
 22              So then I would go back and edit that
00117
  1   usually at a later time. I would not, not in
  2   their presence, if you will.
  3         Q.   Was it ever suggested that you needed
  4   to add any additional sections to your report?
  5         A.   No.
  6              I mean there was a suggestion once of
  7   reorganizing.
  8              Early on I was, in a futile attempt to
  9   be creative, I think I was trying to deal with
 10   Medicare and Medicaid at the same time, and it
 11   was like that's not working. And I was like
 12   okay, so I will reorganize it and separate it.
 13              So, again, it was pretty much a matter
 14   of clarity. So there were certainly
 15   organizational comments that were made, but
 16   nobody had suggested that I needed to add things.
 17              You also have to remember at the time
 18   that these were being looked at, there would be
 19   substantial parts of the quote unquote report
 20   that were still in outline form.
 21              So to give a complete answer to your
 22   question, we'd get to the part that was still
00118
  1   outlined and they would say, an attorney might
  2   say well, you're going to fill that in, right,
  3   yes. Because the deadline was coming up, and so
  4   they were concerned that I was going to be done
  5   on time. So it was comments like that.
  6         Q.   As far as you understand, the way Web-X
  7   works you don't actually upload a copy of that to
  8   a website?
  9         A.   As I understand it, it transmits the
 10   contents of my screen to those who are signed on
 11   to the meeting. But I certainly don't have any
 12   idea of the mechanics.
 13         Q.   Are they able to download a copy of
 14   what they're reviewing?
 15         A.   I have no idea quite honestly.
 16              I doubt it. It was the, I mean the
 17   mechanics when you sign on to it, somebody is
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 18   given control of the meeting, and in this case it
 19   would be me since I had the document to present.
 20   You push a couple of buttons which, to the best
 21   of my recollection, are labeled something like
 22   Share, Share Your Desktop, meaning the desktop of
00119
  1   the computer.
  2              You do that and it appears on the Web-X
  3   screen of my computer, and then it appears, as I
  4   understand it, on the Web-X screen of the others
  5   who are signed in to this meeting.
  6        Q.    Let's switch gears a little bit.
  7              You are here as an expert today; right?
  8        A.    That's correct.
  9        Q.    How is it that you are an expert?
 10              MR. BERLIN: Objection, form.
 11              THE WITNESS: Well, I have, as you can
 12   see from my testimony list, I have substantial
 13   experience in the pharmaceutical industry from my
 14   consulting work, both as a testifying expert and
 15   as a consultant going back about fifteen or
 16   sixteen years.
 17              I am trained as a health economist. I
 18   have taught health economics in the past. My
 19   Ph.D. dissertation was in the legal end of the
 20   healthcare field. It was on medical malpractice.
 21              I have been very involved at my
 22   employer, Bates College, in serving on their
00120
  1   committee for health insurance, choosing health
  2   insurers and the like.
  3              So I have over the years accumulated
  4   substantial knowledge and substantial familiarity
  5   with the workings of pharmaceutical
  6   reimbursement, both third-party payors as well as
  7   Medicare and Medicaid.
  8        Q.    The first thing you described was, and
  9   correct me if I get it wrong, but fifteen to
 10   sixteen years working on healthcare-related
 11   issues? Is that what you said?
 12        A.    Yes. I mean not exclusively
 13   healthcare-related issues, but I started in
 14   consulting in healthcare issues 1994, 1995, in
 15   that area.
 16        Q.    Okay. For that experience you're
 17   talking about the work you've done as a
 18   consultant?
 19        A.    Well, that sentence was the work I had
 20   done as a consultant.
 21              But as an academic, again, I'm trained
 22   in health economics, I taught health economics, I
00121
  1   had a post-doctoral fellowship at Brandies
  2   University in their healthcare section, things
  3   like that.
  4        Q.    But the first category would be
  5   expertise gained as a consultant; is that right?
  6        A.    The first category I mentioned, yes, is
  7   expertise gained as a consultant.
  8        Q.    How would you categorize the second
  9   category, how would you describe that?
 10        A.    Academic training and experience.
 11        Q.    Is the Ph.D. dissertation an example of
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 12   the academic training and experience?
 13        A.    That's one example, yes.
 14        Q.    The work that you've done at Bates
 15   College in the healthcare field, would you put
 16   that in the same category as academic experience?
 17        A.    Well, the teaching certainly was
 18   academic experience.
 19              I taught health economics at Bates and
 20   also at my previous employer, Amherst College.
 21              Then there was just, there was the
 22   institutional involvement, if you will, with the
00122
  1   health insurance system as it was applied to
  2   Bates College and employees and staff.
  3        Q.    I'm not sure what you mean by that.
  4              In connection with providing health
  5   benefits to employees of the college?
  6        A.    Yes.
  7              I served on the committee that read the
  8   proposals, met with the consultants, decided what
  9   we could afford to cover and what we couldn't
 10   afford to cover, talked about where we would get
 11   our prescription drug benefit, were we going to
 12   use Medco, were we going to use another, what was
 13   the form of reimbursement, what kind of contracts
 14   could we have, could we have a fixed price
 15   contract.
 16              And I was involved in all of those
 17   discussions and all of those decisions.
 18        Q.    Sounds like one of those volunteer
 19   duties you get assigned to?
 20              MR. BERLIN: Objection, form.
 21              THE WITNESS: Quite honestly, compared
 22   to normal college committee work it was actually
00123
  1   quite interesting.
  2              Normal college committee work is seeing
  3   if the streetlights are working.
  4              So I liked this much better. Thanks.
  5   BY MR. LAVINE:
  6        Q.    So far you've referenced health
  7   economics.
  8              Is that something you consider a
  9   subdiscipline of economics?
 10        A.    I think it's referred to as a field of
 11   economics, yes.
 12        Q.    And in your report you say that you're
 13   offering your opinion as an economist.
 14        A.    Yes, sir.
 15        Q.    But does that include any additional
 16   subdisciplines or fields of economics?
 17        A.    Well, I'm an applied micro-economist.
 18              So everything to do with the workings
 19   of product and factor markets would be covered
 20   under that.
 21        Q.    But you're not here, for example, in
 22   your capacity as an environmental economics
00124
  1   expert, for example?
  2        A.    I'm offering no environmental economics
  3   opinions, no.
  4        Q.    How about labor economics, any opinions
  5   related to any expertise in labor economics?
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  6        A.    Well, you know, in labor economics you
  7   do touch on issues like are at issue here.
  8              So, for example, how does Medicaid
  9   income limitations, how does that affect labor
 10   force supply, excuse me, how does that affect
 11   labor supply, how does that affect people's
 12   decision to participate in the labor force.
 13              So one thing that one does in labor
 14   economics is examine what we'll for lack of a
 15   better term just call welfare systems generally.
 16              So my experience as a labor economist
 17   and the materials that I come across as a
 18   practicing labor economist would certainly inform
 19   parts of what went into my opinion today, what
 20   went into the opinion in my report I mean.
 21        Q.    Do any of your opinions in this case
 22   rely upon any expertise you have in industrial
00125
  1   organization?
  2        A.    Well, industrial organization is market
  3   workings, competition policy, and the like. So,
  4   yes, I think it would.
  5              Prices, markets, how people respond to
  6   incentives, monopolization, monopsinization, how
  7   are prices determined in different market
  8   structures. I think, yes, I think it does inform
  9   my opinion as it appears in my report.
 10        Q.    And do your opinions in this matter
 11   rely or depend upon your expertise in any kind of
 12   antitrust policy?
 13        A.    Well, as I state in a footnote in my
 14   report, that antitrust authorities have been
 15   fairly diligent in trying to prevent firms from
 16   collecting pricing data which they then share
 17   amongst each other as a competition policy, I'm
 18   sorry, as a matter of competition policy, that
 19   antitrust authorities and the courts have
 20   considered that the collection and dissemination
 21   of pricing information among competitors is
 22   generally a bad thing for competition.
00126
  1        Q.    And do your opinions in this case also
  2   draw upon any expertise you have in law and
  3   economics?
  4        A.    Well, to the extent if you define law
  5   and economics as being restricted to the idea of
  6   the common law moving away from inefficient rules
  7   towards efficient rules, probably not.
  8              But to the extent that law and
  9   economics is a discipline with a certain outlook
 10   on how markets and actors within those markets
 11   work, I can't say it doesn't influence my
 12   thinking at all. But I don't think I can point
 13   to something in my report that says yes, this is
 14   a law and economics point.
 15              I mean all of these are just applied
 16   micro-fields, and my point is I'm a broadly
 17   practicing applied micro-economist.
 18        Q.    So your area of expertise or areas of
 19   expertise you're drawing upon in connection with
 20   this case include applied micro-economics, health
 21   economics, labor economics, industrial
 22   organization, antitrust, and law and economics?
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00127
  1        A.   You know, I think that's kind of overly
  2   broad. I mean they're all subfields of, they're
  3   all fields of applied micro-economics.
  4             So I only hold myself out here as being
  5   an applied micro-economist. That's the main
  6   thing one needs to understand to understand
  7   what's going on in this case in my opinion.
  8        Q.   Now, the consulting work that you've
  9   done over the years in the health arena, what
 10   experience do you have as a result of your
 11   consulting work that qualifies you as an expert
 12   to testify in this case?
 13        A.   Well, I believe, as I said before, in
 14   my role as a consulting and testifying expert,
 15   I've had to familiarize myself several times over
 16   the years with drug reimbursement policies of
 17   state Medicaid agencies, Medicare, third-party
 18   payors, pharmacy benefit managers, and the like.
 19             The assignments have called on me to
 20   familiarize, I would say to deepen my
 21   familiarization with medical markets of all
 22   kinds, but, you know, particularly in the
00128
  1   pharmaceutical areas since that was the area
  2   where I was doing most of the work.
  3        Q.   When have you worked on drug
  4   reimbursement policies as related to Medicare and
  5   Medicaid in the past?
  6        A.   I would say fairly confidently in every
  7   one of the class certification matters in
  8   pharmaceuticals.
  9        Q.   Were there any other of your consulting
 10   engagements that provided or support any of your
 11   expertise in drug reimbursement policies for
 12   Medicare and Medicaid?
 13        A.   Well, certainly my previous work in
 14   Connecticut and Montana, Nevada.
 15             It came up in, well, that was a class
 16   certification matter.
 17             Certainly in my role as a consultant in
 18   Cardizem. That was the, I spoke about serving as
 19   a consultant when there was an opt-out plaintiff,
 20   which was a third-party payor. So I had to, in
 21   order to construct the damage estimates that we
 22   made, I had to become familiar with the ins and
00129
  1   outs and the practices of that particular
  2   third-party payor, what their policies were
  3   towards reimbursement, what their policies were
  4   towards putting brand drugs versus generic drugs
  5   on the formulary, where on the formulary they
  6   would put them, under what circumstances, what
  7   would change when they would carve out their
  8   pharmacy benefit and have it run by a pharmacy
  9   benefit manager, what sorts of rebates and under
 10   what circumstances that they could get, did get
 11   or could get, from brand name pharmaceutical
 12   manufacturers, what sorts of incentives they were
 13   given by state, federal, or simply profit motives
 14   for moving from brands to generics on the
 15   formularies, things like that.
 16             Very detailed, it required getting very
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 17   detailed knowledge about how a number of
 18   different reimbursement systems were working.
 19         Q.  Did any of your prior cases involve
 20   analysis of the individual claims paid by a
 21   portion of the Medicaid programs?
 22         A.  There was time that we, in many of the
00130
  1   class certification cases I would make use of
  2   these, what's the acronym, the state utilization,
  3   state Medicaid utilization data that appears on
  4   the web, or at least used to appear on the web.
  5   So that's aggregate rather than individual claims
  6   data.
  7             But there was analysis and manipulation
  8   of those data in the course of that work. And
  9   that was two or three or four of those cases that
 10   we've talked about before.
 11         Q.  Are you talking about what is referred
 12   to as the STUD data, S-T-U-D?
 13         A.  I think so.
 14         Q.  Have you ever worked with the SMRF/MAX
 15   data before?
 16         A.  I have not, no.
 17         Q.  Your work with the STUD data -- I'm
 18   sorry. Did you base any of your work on that
 19   data?
 20         A.  I'm sorry. I need to correct something
 21   previously.
 22             There was individual Medicaid claims
00131
  1   data that we analyzed in the Connecticut matter.
  2   I'm sorry. I left that out.
  3             Was that SMRF data, was that MAX data,
  4   I don't recall, but it was individual claims data
  5   that was provided by the state.
  6             It just seems to me there was, HUGR,
  7   H-U-G-R, was the acronym that I remember that as
  8   I recall was data that was provided to us by
  9   Connecticut Medicaid.
 10         Q.  Was that claims level data?
 11         A.  Yes.
 12         Q.  So it would show on a particular date a
 13   particular person got "X" units of a particular
 14   drug?
 15         A.  Yes.
 16         Q.  Did that data cover, well, describe the
 17   scope of that data.
 18         A.  Well, it was specific to the drugs at
 19   issue which were primarily Taxotere and Anzemet,
 20   which were Aventis drugs.
 21             So it was, you know, relative to other
 22   Medicaid data I think it was relatively small
00132
  1   because these were, they're not chemo drugs but
  2   they are anti-hematics, to relieve nausea in
  3   chemo patients. So it was a relatively small
  4   market because it was restricted to the State of
  5   Connecticut. But, as I recall, there were still
  6   several thousand of those claims.
  7             So what we were doing was that the
  8   plaintiff's expert had said, and I'll always
  9   remember this number, that Medicaid reimbursed
 10   for these drugs at 90.25 percent of AWP.
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 11             So we went into the claims data to
 12   review exactly what was the reimbursement because
 13   regardless of what plaintiff's expert was saying,
 14   the state regulations for part of the period said
 15   that these drugs would be reimbursed on an
 16   as-billed basis up to $499. And then if the
 17   doctor billed more than $499, the claim would be
 18   reviewed, rejected, reduced. But up to $499 it
 19   would simply be accepted.
 20             So we got into looking at the
 21   individual claims data to see what was actually
 22   reimbursed and in effect what was the
00133
  1   relationship between these reimbursements to the
  2   reimbursement formulas that the plaintiff's
  3   expert was claiming, what was the relationship of
  4   the individual reimbursements to the amounts that
  5   the state was saying it was reimbursing.
  6         Q.  Just one quick clarification and then
  7   we're done with the tape.
  8             The Connecticut data related to several
  9   thousand claims? Is that what you said?
 10         A.  To the best of my recollection.
 11         Q.  So it was smaller than the data we're
 12   dealing with this case?
 13         A.  Well, it was one state. It was two
 14   relatively restrictive drugs. And it was over,
 15   yes, several thousand would be about right, yes.
 16             MR. LAVINE: We better take a break.
 17             THE VIDEOGRAPHER: Going off the record
 18   at 12:06 p.m.
 19             (A recess was taken.)
 20             THE VIDEOGRAPHER: Beginning of
 21   Videotape No. 3. Back on the record at 12:15
 22   a.m.
00134
  1   BY MR. LAVINE:
  2         Q.  With respect to your prior experience,
  3   in any of the other cases that you worked on as
  4   an expert or a consultant, did you get the actual
  5   underlying claims data and perform any analysis
  6   on it?
  7         A.  It's my understanding that's what we
  8   did in Connecticut, yes, to the best of my
  9   recollection.
 10         Q.  But does that mean you didn't do it but
 11   somebody else did it?
 12         A.  Yes. Somebody else did it at my
 13   direction, yes.
 14         Q.  Were there any other cases where you
 15   actually got Medicare and Medicaid data and did
 16   an analysis of the paid claims?
 17         A.  Well, the paid claims, like I said,
 18   I've used the utilization data that's online, but
 19   that's not, what I used was not individual claims
 20   data.
 21             Again, in the Cardizem case it was
 22   individual claims data from a third-party payor
00135
  1   but not from Medicaid.
  2         Q.  Just to clarify. In Connecticut who
  3   did the actual hands-on analysis of the claims
  4   data?
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  5         A.  A company called The Brattle Group was
  6   retained to keep custody of the data and to do
  7   what I asked them to do.
  8         Q.  Can you spell that?
  9         A.  Brattle Group?
 10         Q.  Yes.
 11         A.  Sure, B-R-A-T-T-L-E.
 12         Q.  Is there any other reason that the
 13   consulting work that you've done helped to
 14   qualify you as an expert for the issues you're
 15   addressing in this case?
 16         A.  Well, again, in virtually every one of
 17   the class certification cases, in fact I think in
 18   all of the class certification cases --
 19         Q.  Pharmacy-related.
 20         A.  Pharmacy-related class certification
 21   cases, there is the issue of how, I mean these
 22   are proposed damage methodologies.
00136
  1             So in order to assess the adequacy or
  2   inadequacy of any particular damage methodology,
  3   you've got to go into the nitty-gritty details of
  4   everybody who is or wants to be a member of the
  5   putative class.
  6             So that means going into the payment
  7   methods and the practices of all sorts of
  8   third-party payors, not just private insurance
  9   companies, but also to the extent, also Medicaid,
 10   to a lesser extent Medicare, because the drugs
 11   that it, for example, Cipro wasn't a drug that
 12   would be covered under Medicare Part B. And
 13   prior to Part D Cipro wouldn't be covered under
 14   Medicare, but certainly Medicaid was a big user.
 15             On the other hand, Taxotere and
 16   Anzemet, they're drugs more like the drugs in
 17   this case. So Medicare and Medicaid are both at
 18   issue there.
 19             But in order to form an opinion about
 20   any particular damage methodology, you've got to
 21   have a pretty intimate knowledge of what data are
 22   going to be available, what are the practices and
00137
  1   procedures of all of the actors who want to be
  2   members of this proposed class.
  3             So at least to, and that research,
  4   regardless of who was doing data analysis at my
  5   direction, that research was all done by me.
  6   This was not anything that lawyers gave to me.
  7   This was not anything that I told a consulting
  8   firm to go find out what you can find out about
  9   this.
 10             The standard practice was rather for me
 11   to do the research and then tell the consultants
 12   okay, here's what we know about Medicaid for the
 13   Medicaid say CHIP program, Child Healthcare Plan
 14   in the state of Illinois, all right, so go look
 15   at the data and tell me, you know, are the
 16   reimbursements that are supposed to be in this
 17   and the copayments that are supposed to be in
 18   this and this was actually showing up in the
 19   data.
 20             So, yes, I considered that through all
 21   of this I have a fairly detailed knowledge of
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 22   Medicaid and Medicare pharmacy reimbursement
00138
  1   practices as well as regular third-party payors
  2   and as well as cash payors for that matter.
  3         Q.  Does that cover everything regarding
  4   your consulting background --
  5         A.  No. That covers the answer to your
  6   question.
  7             MR. BERLIN: Wait. I don't think he
  8   finished his question.
  9             Had you finished your question?
 10             MR. LAVINE: No.
 11             THE WITNESS: Okay. I'm sorry. You
 12   start over and I'll sit here until you're done.
 13   BY MR. LAVINE:
 14         Q.  Well, have we exhausted your testimony
 15   concerning each and every reason why your
 16   consulting experience qualifies you to be an
 17   expert in this case?
 18             MR. BERLIN: Objection, form.
 19             THE WITNESS: I don't know. Each and
 20   every reason? The ones I can think, we covered
 21   the ones I can think of sitting here.
 22   BY MR. LAVINE:
00139
  1         Q.  Am I right, that in none of your
  2   consulting work have you ever taken the data onto
  3   your own computers and personally analyzed it?
  4         A.  No. That's not correct.
  5             In the Cardizem case, well, in a lot of
  6   these cases I had the data in my own computer.
  7             In Cipro, in Cardizem, in Procardia, in
  8   Rezulin, I would direct the client that we needed
  9   to get access to IMS claims data.
 10             A case that, I'm sorry, I did not
 11   mention that I was involved in for Coumadin,
 12   which was a consulting expert case a long time
 13   ago.
 14             But particularly when I was working as
 15   a consulting expert, that's what I did. The data
 16   was on my computer and I was the one doing the
 17   analysis and I was the one who was handing it off
 18   then to the testifying expert doing the analyses
 19   that he directed.
 20         Q.  Did any of those circumstances involve
 21   situations where the data you had on your
 22   computer that you worked with came from the
00140
  1   Medicare or Medicaid programs?
  2         A.  The utilization data that I talked
  3   about before, yes, that was mine.
  4         Q.  The aggregate STUD data?
  5         A.  Yes. That was definitely on my
  6   computer.
  7         Q.  But that was useful to your analysis?
  8         A.  In those cases, yes.
  9         Q.  You found it reliable enough to work
 10   with; right?
 11         A.  For the purposes that we were trying to
 12   use it for, which was, you know, we knew what
 13   total sales were in a state -- let me take that
 14   back.
 15             We knew what total sales were. We
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 16   needed to know what sales were of these drugs in
 17   particular states at particular times for the
 18   Medicaid program. And for that purpose it was
 19   fine.
 20         Q.   Did you take any steps to verify the
 21   accuracy of the STUD data?
 22         A.   In Coumadin I believe that I went back
00141
  1   to the client to, I believe I did some
  2   verification with the client.
  3              I mean they didn't have, since most of
  4   their sales were through wholesalers, they didn't
  5   know exactly but they had some information from
  6   somewhere about what Medicaid sales were.
  7              So it was to the extent of verifying
  8   with the client that they thought that the
  9   numbers were reliable.
 10              Sometimes the numbers of course were
 11   completely unreliable. There would be a month in
 12   the state of New York where they would say there
 13   was two pills of Coumadin sold. And you knew
 14   that had to be wrong because there had been
 15   35,000 sold the month before and another 35,000
 16   sold the month after. So you knew that wasn't
 17   right. But it didn't end up mattering that much
 18   for what use I was using it for in these class
 19   certification matters.
 20         Q.   Let's just talk about your academic
 21   training and experience --
 22         A.   Okay.
00142
  1         Q.   -- as that supports your expertise in
  2   this case.
  3              You said you were trained in health
  4   economics. What training in health economics are
  5   you referring to?
  6         A.   Classwork. I was planning, before I
  7   turned to medical malpractice, I was planning on
  8   doing my Ph.D. thesis on a healthcare topic.
  9              So there was a lot of background
 10   reading of journal articles and books that I did
 11   in preparation for that. And I just never, I
 12   just chose to go a different direction once I got
 13   exposed to law and economics. The topic was more
 14   interesting, the data were more readily
 15   available, so I went that route.
 16              So that's why I consider myself to be
 17   trained in health economics.
 18              Then also when you teach a course,
 19   maybe some people do it this way, but the lay
 20   person, if I may, may think you pick up a
 21   textbook and you teach from that. But that's not
 22   really the way teaching works.
00143
  1              I was certainly qualified, felt
  2   qualified, to teach health economics. So then
  3   you go through, in my experience when I'm doing a
  4   new course I spend six to eight hours preparing
  5   for every hour in the classroom.
  6              So that's going to be not just dealing,
  7   and, in fact, probably not dealing much at all
  8   with the textbook, but rather familiarizing one's
  9   self with journal articles and other materials
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 10   that you need to teach the course that you're
 11   going to teach.
 12         Q.  When you talk about classwork, you're
 13   referring to when you were a student?
 14         A.  Well, in that answer I was referring to
 15   both.
 16         Q.  Well, first as a student and then as a
 17   teacher.
 18         A.  Right.
 19             But as a student, again, the training
 20   was, I simply don't remember. I don't know that
 21   I ever had a course entitled "Health Economics,"
 22   although I took courses in health law at the
00144
  1   Michigan Law School.
  2             When I was an undergraduate, I was a
  3   research assistant for health economist when I
  4   was at Boston University. So there was a lot of
  5   training in there.
  6             But maybe as an undergrad, I can't
  7   remember if I ever took a course that was
  8   entitled "Health Economics."
  9         Q.  In terms of your experience in labor
 10   economics, industrial organization, and
 11   antitrust, and law and economics, is the basis
 12   for those similar as to what you just described
 13   for health economics?
 14         A.  No.
 15             I have certainly studied law and
 16   economics and of course taught it several times.
 17             Labor economics I did not take a course
 18   in.
 19             Industrial organization I had several
 20   courses in, three that come to mind off the top
 21   of my head.
 22             So there is much more academic training
00145
  1   there.
  2         Q.  In any of your work, have you actually
  3   calculated a damage figure in a false claims
  4   case?
  5         A.  In a false claims case, no.
  6         Q.  Have you ever done any data analysis
  7   where you would extrapolate from experiences in
  8   one Medicaid program to the reimbursement
  9   experience you would see in another Medicaid
 10   program?
 11         A.  Not to my recollection, no.
 12         Q.  Have you had any prior experience in
 13   connection with analyzing damages in connection
 14   with the Medicare program J-Code reimbursement?
 15         A.  Calculating damages, no.
 16         Q.  Any type of reimbursement experience
 17   related to Medicare J-Codes?
 18         A.  Certainly in the AWP litigation, I
 19   certainly had to know something about it for the
 20   reports that I wrote.
 21         Q.  Did you look at the way any state
 22   Medicaid programs may have reimbursed based upon
00146
  1   J-Codes?
  2         A.  It certainly came up in Connecticut.
  3             I will say it must have come up in
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  4   Montana and Nevada, but I don't have a specific
  5   recollection.
  6        Q.   You didn't offer any particular opinion
  7   related to that?
  8        A.   I don't remember.
  9        Q.   Okay. So we talked about consulting
 10   experience and academic experience with classroom
 11   and teaching. And then you had the additional
 12   duties related to Bates College where you
 13   actually served on a committee to try to identify
 14   or select the best benefit program for the
 15   college.
 16             Anything else that we haven't talked
 17   about?
 18        A.   Not that I can think of sitting here.
 19        Q.   You have a Bachelor's degree from
 20   Boston University in international comparative
 21   studies; is that right?
 22        A.   That's right.
00147
  1        Q.   That was in 1977?
  2        A.   Yes, that's correct.
  3        Q.   And then a year later you get your
  4   Master's in economics from Boston University?
  5        A.   That's correct.
  6        Q.   How was it so fast that you were able
  7   to get your Master's degree one year later?
  8        A.   That's a good question.
  9             The Master's program I believe was
 10   typically two years. Some of the coursework that
 11   I did as an undergraduate. My Bachelor's degree
 12   was in international comparative studies, but I
 13   had started taking economics in my junior and
 14   senior years.
 15             What had happened is I took a course my
 16   senior year in environmental economics with Dr.
 17   Ray Hartman, as irony would have it.
 18             In any event, I wrote a paper in the
 19   course of that environmental economics course,
 20   and he said this, you know, this is pretty much
 21   Master's work, why don't you stick around and do
 22   a Master's degree. And I hadn't really thought
00148
  1   of it. And in 1977 with a major in international
  2   comparative studies, there weren't exactly people
  3   beating the door down to give me a job. So the
  4   Master's degree sounded pretty good.
  5        Q.   When did you start pursuing your Ph.D.?
  6        A.   When did I start? Fall of 1980.
  7        Q.   And that was at the University of
  8   Michigan?
  9        A.   That's correct.
 10        Q.   And then you eventually got your Ph.D.
 11   from the University of Michigan?
 12        A.   That's right.
 13        Q.   In 1987?
 14        A.   That's when, yes, when the dissertation
 15   was signed off on, yes.
 16        Q.   I'm sorry. What was the title of that
 17   dissertation?
 18        A.   Something like the economics of medical
 19   malpractice reform, something like that.
 20        Q.   Was that a study relating to how the
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 21   laws pertaining to medical malpractice impacted
 22   the length of time the litigation of medical
00149
  1   malpractice issues lasted?
  2        A.   I later did work on that question.
  3             But the dissertation itself was looking
  4   at the effects of various medical malpractice
  5   reforms on, well, there were two parts of the
  6   dissertation.
  7             The empirical part of the dissertation
  8   was looking at how the different medical
  9   malpractice reforms affected the probability that
 10   a claim would be dropped, settled, or litigated
 11   to verdict.
 12             And the innovation there was that
 13   previous research had looked at econometrically,
 14   statistically, had looked at the question of
 15   dropped versus not dropped and settled versus
 16   litigated as separate questions without taking
 17   into account the fact that if there's a change in
 18   the percentage of claims dropped, then that
 19   changes the characteristics of the claims that
 20   proceed through to settlement versus litigation.
 21             So I used a statistical technique that
 22   treated these as a single estimation so that any
00150
  1   changes at the earlier stages would be reflected.
  2             So to use a technical term, the
  3   estimates would not be biased. When you dealt
  4   with them separately, the estimates of settled
  5   versus litigated were only what people tried to
  6   say conditionally unbiased, which meant that they
  7   were biased because the condition was always met.
  8             The theoretical part of my doctoral
  9   dissertation was on the question of do contingent
 10   fees increase the quantity of litigation because
 11   at that time I think probably as today there's a
 12   popular belief that contingent fees lead
 13   attorneys in that line of work to speculate and
 14   to bring a lot of baseless or quote unquote
 15   meritless claims.
 16             As an economist I found the question
 17   interesting because one wouldn't really expect
 18   attorneys who are only going to get paid if the
 19   claim is successful, you wouldn't expect them to
 20   go ahead and file a lot of baseless claims
 21   because they wouldn't really expect to win that
 22   often.
00151
  1             So the bottom line is the results of my
  2   dissertation, and, again, this was theoretical
  3   work, was that yes, that the presence of
  4   contingent fees did increase the quantity of
  5   litigation but for good economic reasons rather
  6   than for bad reasons rather than for, it wasn't
  7   the idea that there was a lot of baseless
  8   speculative claims going forward but rather the
  9   contingent fees cured an information problem
 10   between the attorney and the client.
 11             Thought you were going to have to come
 12   at me for that one? No. It was an interesting
 13   study.
 14        Q.   So how does your educational background
                                      Page 55
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 15   inform your opinions that you're articulating in
 16   this case?
 17         A.   Well, again, as an applied
 18   micro-economist, which deals at the highest level
 19   with how do actors in a market respond to
 20   incentives, pretty much all of my experience as
 21   an applied micro-economist comes to bear in this
 22   report in this litigation.
00152
  1         Q.   You began teaching at Bates College in
  2   1992?
  3         A.   Yes, I did.
  4         Q.   What type of college is Bates College?
  5         A.   Bates College is an American invention,
  6   it's what's called a liberal arts college.
  7              So it teaches undergraduates only and
  8   gives students grounding in, as the name implies,
  9   the liberal arts. So they study broadly in
 10   humanities, social sciences, and natural
 11   sciences.
 12         Q.   How many full-time students does it
 13   have?
 14         A.   1,710. I'm on that committee too.
 15         Q.   But it doesn't offer any kind of
 16   Master's or Doctoral programs?
 17         A.   It does not.
 18         Q.   I guess it would be considered a
 19   college as opposed to a university?
 20         A.   Yes.
 21         Q.   Is there anything additional from your
 22   experience as a professor at Bates College that
00153
  1   lends additional support for your expertise in
  2   this case?
  3         A.   Not that I can think of sitting here.
  4         Q.   Same thing as we discussed before about
  5   your teaching background?
  6         A.   Well, again, in applied micro-economics
  7   you change reimbursement, you change people's
  8   incentives, and how do they react, and what does
  9   that mean for the market outcomes. That's what's
 10   at issue here.
 11         Q.   I guess at the college there's no
 12   courses offered about reimbursement of drugs?
 13         A.   We actually have a health economics
 14   course that does have, I don't teach it now, we
 15   have a new fellow who teaches it, but yes, it has
 16   a section that deals with pharmaceutical markets
 17   and drug reimbursements, third-party payors,
 18   Medicare, Medicaid systems, how healthcare is
 19   provided to the aging and the poor.
 20         Q.   Are there any courses related to
 21   calculating damages in a false claims case?
 22         A.   No.
00154
  1         Q.   Your CV has several publications
  2   listed.
  3              Are there any of those publications or
  4   other items listed in your CV that support your
  5   expertise as an expert in this case?
  6         A.   Well, certainly to the extent that
  7   almost all of these publications use statistical
  8   and econometric analysis in some form and some
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  9   use rather advanced techniques and some use less
 10   advanced techniques, I believe that that work
 11   qualifies me to comment on the calculations that
 12   Dr. Duggan did in this case. I think that is
 13   certainly the biggest thing.
 14             But I mean specifically to the Medicaid
 15   system, part of the work that I did at Brandies
 16   University was on substance abuse benefits under
 17   Medicaid.
 18             So, again, we became extremely familiar
 19   with the Medicaid system for substance abuse in
 20   all fifty states and as a result also became
 21   familiar with a lot of other things about
 22   Medicaid in those fifty states.
00155
  1        Q.   I'm sorry. Where is that on your CV?
  2        A.   That is at the bottom of Page 3.
  3             And then under Working Papers there is
  4   our paper that we can't quite ever get done is
  5   "Napsterizing Pharmaceuticals" that I've written
  6   with Drs. Moore and Snyder, which speaks to
  7   issues of patents and innovation, but, again,
  8   reflects the expertise that I believe that I have
  9   in the pharmaceutical industry.
 10        Q.   Anything else in your CV that you'd
 11   point to?
 12        A.   Well, I have mentioned it before, and
 13   that's on the last page, the post-Doctoral
 14   fellowship that I did at Brandies University.
 15   But that's some time ago. But certainly that was
 16   perhaps where I cut my teeth on the Medicaid
 17   program, if you will.
 18             I mean there are other presentations
 19   that pertain to various things about health and
 20   health insurance, but I don't know that anything
 21   particularly jumps out as something that I
 22   thought back on as I was performing the analysis
00156
  1   for this case.
  2             MR. LAVINE: Why don't we take a break
  3   right here.
  4             MR. BERLIN: Sure.
  5             THE VIDEOGRAPHER: Going off the record
  6   at 12:43 p.m.
  7             (A lunch recess was taken, and said
  8   deposition continued as follows:)
  9
 10
 11
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 22
00157
  1             THE VIDEOGRAPHER: We are back on the
  2   record at 1:53 p.m.
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  3              JAMES W. HUGHES, having been previously
  4   duly sworn, was examined and testified further as
  5   follows:
  6                   EXAMINATION
  7                   (Continuing)
  8   BY MR. LAVINE:
  9         Q.   So what have you been hired to do in
 10   this case?
 11         A.   As it says in my report, I have been
 12   hired to review and evaluate the expert report of
 13   Dr. Duggan.
 14         Q.   So none of your opinions relate to any
 15   of the other reports prepared by any other expert
 16   of the United States?
 17         A.   No.
 18         Q.   And you haven't seen or read the
 19   reports of Dr. Marmar or Dr. Perri?
 20         A.   No.
 21         Q.   You did get a copy of the report from
 22   Dr. Schondelmeyer; right?
00158
  1         A.   One report from Dr. Schondelmeyer, yes.
  2         Q.   But you're not directly expressing any
  3   opinion with respect to his report?
  4         A.   Correct. I am not.
  5         Q.   Did you get copies of any of the
  6   reports of any of the other experts retained by
  7   Abbott in this case?
  8         A.   I have not.
  9         Q.   So nothing from Dr. Helms, Rossiter,
 10   Montinez, Young, or Reisetter?
 11         A.   No. I haven't seen any of those
 12   reports.
 13         Q.   And for Mr. Young you haven't even seen
 14   any kind of a draft of his report either?
 15         A.   No. I have not seen a draft.
 16         Q.   You've been asked to evaluate Dr.
 17   Duggan's report, both with respect to liability
 18   and damage?
 19         A.   It's my understanding that as a damages
 20   report that both Dr. Duggan and I, I'll just
 21   speak for myself, but that we're supposed to take
 22   the allegations as stated in the complaint as
00159
  1   true.
  2              So I would assume that would exclude
  3   liability.
  4         Q.   It would exclude liability?
  5         A.   Well, if I'm assuming that the fraud
  6   and misrepresentation that the government alleges
  7   in fact took place for purposes of my report,
  8   then as I understand the way you're using the
  9   term "liability," that there would be nothing for
 10   me to opine upon because I'm assuming that those
 11   allegations are true.
 12         Q.   So you're not extending any opinions
 13   into the arena of the manner in which Abbott
 14   conducted itself in connection with this case;
 15   right?
 16         A.   Correct.
 17         Q.   So what else have you been retained to
 18   do in connection with this case?
 19         A.   In connection with this case, nothing.
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 20        Q.    What opinions have you been retained to
 21   offer?
 22              MR. BERLIN: Objection, form.
00160
  1              THE WITNESS: I haven't been retained
  2   to offer opinions specifically.
  3              I've been retained to evaluate Dr.
  4   Duggan's report and offer my opinions about his
  5   report, which are contained in my report.
  6   BY MR. LAVINE:
  7        Q.    So what are the opinions that you've
  8   reached in this case then?
  9        A.    Do you want me to go through my report
 10   or what is it that, how would you like me to
 11   answer that question?
 12        Q.    Well, I'd like to just get you to
 13   describe them generally to start.
 14        A.    Well, if it's all the same to you, I'd
 15   just as soon use my report as a guide, unless you
 16   object.
 17        Q.    Well, let me get a particular copy of
 18   the report for you --
 19        A.    Okay.
 20        Q.    -- just to confirm we're working with
 21   the right one.
 22              MR. LAVINE: Unfortunately every page
00161
  1   but the last is stapled together.
  2              Can we mark this as the next exhibit?
  3              (Exhibit Hughes 008 was marked for
  4   identification.)
  5   BY MR. LAVINE:
  6        Q.    We have just marked as Exhibit 8 a
  7   document entitled "Expert Report of James
  8   Hughes." Pages 1 through 46 are numbered, and
  9   then the signature page is not numbered.
 10   (Document tendered to the witness.)
 11              My first question would just be is this
 12   a copy of your report and is it correct that the
 13   signature page was, you know, that is the
 14   appropriate signature page?
 15        A.    Yes. This does appear to be a copy of
 16   my report, and, yes, this is the appropriate
 17   signature page.
 18        Q.    So even though it's not numbered, that
 19   is the appropriate -- and this is the final
 20   version of your report, forty-six pages and
 21   ninety-nine paragraphs?
 22              MR. BERLIN: Objection, form.
00162
  1              THE WITNESS: To the best of my
  2   knowledge, sitting here without going through it,
  3   this certainly looks like -- well, let me take
  4   that back.
  5              This looks like the final version of
  6   the text of my report. The exhibits are not
  7   accompanying this, but it does look like the
  8   final version of the text of the report.
  9   BY MR. LAVINE:
 10        Q.    And the reason I ask is the first
 11   version we got was missing some pages, and I just
 12   wanted to make sure that we're working with the
 13   proper --
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 14         A.  Okay.
 15         Q.  -- version.
 16             MR. BERLIN: Objection, move to strike.
 17             MR. BREEN: What's the matter?
 18             MR. BERLIN: It was the commentary as
 19   to the draft.
 20   BY MR. LAVINE:
 21         Q.  Do you need the question repeated?
 22         A.  Oh, I'm sorry. Is there a question
00163
  1   pending?
  2         Q.  Well, you had wanted to look at the
  3   report because I had asked you what your opinions
  4   were.
  5         A.  I'm terribly sorry. I was waiting for
  6   the question to be restated. That's fine.
  7             One of the overriding opinions that I
  8   offer and that I think goes to the heart of my
  9   opinion and touches on all of my other objections
 10   to Dr. Duggan's calculations is that his exercise
 11   is in my opinion not a damage calculation.
 12             In his report he doesn't characterize
 13   what he's done as a damage calculation, but
 14   rather only as a difference in government
 15   expenditures.
 16             While one can calculate a difference,
 17   that is not the same as a damage calculation
 18   because in my opinion in order to do a valid
 19   calculation of damages, you need to state clearly
 20   a realistic and defensible version of what we
 21   call the but-for world, the world that would
 22   exist without the alleged wrongdoing, which in
00164
  1   this case is the allegedly wrongful pricing
  2   practices that Abbott undertook.
  3             Insofar as what leads this to not be a
  4   damage calculation is that there's enormous
  5   amounts of evidence in the record that speak to
  6   what would have happened in a but-for world
  7   absent the alleged wrongdoing by Abbott which he
  8   leaves out completely.
  9             I mean one of the things that we talked
 10   about early on was the relationship between
 11   ingredient costs, reductions in ingredient cost
 12   reimbursement, and the opinion of numerous state
 13   officials and federal officials that such
 14   reductions could not be undertaken without the
 15   concomitant increase in dispensing fees.
 16             Along those lines there's in my opinion
 17   alternatives. Dr. Duggan claims, well, you know,
 18   this would be speculative to say what would
 19   happen in such a but-for world, but yet I offer
 20   that for both the Medicare and the Medicaid
 21   systems we have but-for worlds.
 22             We have a situation where the Congress
00165
  1   of the United States in both cases has examined
  2   Medicaid reimbursements and has examined Medicare
  3   reimbursements and has examined these in the
  4   light of the divergence between AWP and the
  5   selling prices that pharmaceutical companies use
  6   and has examined this in light of the adequacy or
  7   inadequacy of dispensing fees and has through
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  8   legislation enacted replacement reimbursement
  9   systems for both Medicare and Medicaid that take
 10   into account all of the factors, necessary
 11   factors, of access and cost containment that had
 12   been alleged to have plagued the current system.
 13             The alternate reimbursement method
 14   that, the alternate reimbursement amounts that
 15   Dr. Duggan proposes bears absolutely no
 16   resemblance to anything that was actually
 17   undertaken by the U.S. Congress in the Medicare
 18   and Medicaid programs.
 19             So for that reason alone, I consider
 20   his characterization of the but-for world where
 21   you just lower reimbursements to a hundred
 22   twenty-five percent of the average contract
00166
  1   selling price with no adjustment in dispensing
  2   fees and no consideration as to whether providers
  3   will continue to participate in the program, I
  4   consider that to be completely at odds with the
  5   record.
  6             Not just with the new systems for
  7   Medicare and Medicaid but the state and federal,
  8   as I believe I've said already, but the state and
  9   federal deposition transcripts are replete with
 10   examples of individuals who were actually working
 11   in the state Medicaid systems who were of the
 12   opinion that ingredient costs and dispensing fees
 13   would be dealt with, needed to be dealt with
 14   together. That what mattered to the viability of
 15   the providers and what mattered to the access to
 16   the system was the total reimbursement, and what
 17   fraction was divided into ingredient cost and
 18   what was divided into dispensing fee was less
 19   important than the adequacy of the overall
 20   reimbursement.
 21             Dr. Duggan also ignores similar
 22   evidence contained in reports by the accounting
00167
  1   firm Myers and, I believe it's an accounting
  2   firm, Myers & Stauffer, that he relies upon their
  3   expertise in his own report, but he disregards
  4   the reports that they've done for Medicaid state
  5   agencies that have repeatedly emphasized the need
  6   to deal with ingredient costs and dispensing fees
  7   together rather than as two quantities that are
  8   independent of one another.
  9             His fellow government expert, Dr.
 10   Schondelmeyer, in a report on California took the
 11   same opinion that if even the modest reduction in
 12   ingredient costs that at the time were being
 13   proposed in California, if those were undertaken
 14   without an increase in dispensing fees, that
 15   providers would begin to leave the California
 16   Medicaid system.
 17             The evidence is throughout the record
 18   in my opinion and that any reasonable attempt to
 19   characterize the world that would have existed in
 20   the absence of Abbott's alleged wrongful actions
 21   would have to take these into account, and he in
 22   my opinion utterly fails to do so.
00168
  1             In Medicare, as I state in my report,
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  2   his extrapolations are based on incomplete,
  3   inaccurate data.
  4             He's making assumptions about Medicaid,
  5   excuse me, Medicare reimbursement arrays that
  6   have no basis, he has no basis for making such
  7   assumptions.
  8             When he sees a price that happens to
  9   match an AWP price of Abbott's, he assumes that
 10   that's an Abbott price, even though given the
 11   wild variation in Medicare arrays in terms of the
 12   products that are included, the errors that are
 13   there in terms of the products that are included
 14   or the dosage sizes that are included, it seems
 15   to me quite impossible to be certain that if
 16   you're looking at a price of $10.16, that that's
 17   definitely an Abbott price. But he assumes that,
 18   he assumes such to be the case in making his
 19   extrapolation.
 20             Then when he changes the Medicare
 21   arrays to coincide with his vision of the but-for
 22   world, he only changes the Abbott reported price
00169
  1   from the Abbott AWP as contained in First
  2   Databank to his calculation of an alternative
  3   AWP, which is, again, if I recall correctly, a
  4   hundred twenty-five percent of the contract price
  5   to the retail sector.
  6             He doesn't explain in his report why he
  7   assumes that only the Abbott price would change.
  8   He doesn't state what his assumption is about the
  9   validity of those other prices.
 10             If the Abbott AWPs are inflated and
 11   wrongful and need to be changed, he doesn't state
 12   what his assumption is about these other
 13   companies' AWPs. Are they wrongful? Are they
 14   inflated? Should they be changed? If not, why
 15   not? Does he accept them as being the true
 16   average selling prices for those manufacturers?
 17   He's completely silent on that.
 18             But the most egregious thing in my
 19   opinion the results that he concludes for
 20   Medicare is that then he lowers the Abbott AWP,
 21   that ends up lowering the median, which is the
 22   basis for reimbursement in Medicare.
00170
  1             Because he only moves the Abbott price,
  2   he then attributes one hundred percent of the
  3   damages that he calculates in that way, he
  4   attributes to Abbott, which is in my mind
  5   completely incorrect because he presents no
  6   evidence that in any of these, for any of these
  7   Medicare carriers, for any of these periods, did
  8   Abbott in fact sell one hundred percent of the
  9   products to the Medicare system at any particular
 10   time.
 11             So somehow Abbott is responsible for a
 12   hundred percent of the damages, but there's no
 13   evidence that they were in all of these, for all
 14   of these carriers in all of these periods, that
 15   they actually accounted for one hundred percent
 16   of the sales.
 17             He further ignores the fact that under
 18   the Medicare system the alleged manipulation of
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 19   AWP, which the government in its complaint claims
 20   Abbott manipulated its AWP in order to increase
 21   its sales, Dr. Duggan ignores the fact that under
 22   the Medicare system it would be impossible for
00171
  1   Abbott or anybody else to manipulate their AWP in
  2   such a way as to move market share to themselves
  3   because, number one, the concept of, since
  4   there's no standard for how the arrays are
  5   constructed, there's no rules that the government
  6   put forward as to what drugs have to be in the
  7   arrays, from which manufacturers, and how many
  8   have to be in the arrays. So the arrays are
  9   constructed by the Medicare carriers in an ad hoc
 10   and somewhat arbitrary fashion.
 11             So, number one, there's no way for
 12   Abbott or anybody else to know that if they were
 13   to raise their AWP, that this would have any
 14   particular effect one way or the other on any
 15   particular array for any particular carrier for
 16   the simple reason is that they have no way of
 17   knowing whether their products are even in the
 18   array, nor do they have any idea of what other
 19   products are in the array.
 20             So even if they have, and, again,
 21   assuming that the accusations of the government
 22   are true for purposes of my report, so even if
00172
  1   Abbott wanted to manipulate the arrays, it's not
  2   clear, well, not only is it not clear, it strikes
  3   me as just simply being incorrect that they could
  4   do that with such a degree of accuracy that it
  5   would actually inure to their benefit.
  6             Secondly, that even if they could
  7   manipulate the arrays and wanted to manipulate
  8   the arrays, they're not going to be able to --
  9   let me back up.
 10             Suppose that Abbott raises its AWP and
 11   suppose that Abbott raising its AWP actually does
 12   increase the median such that the government
 13   payment under Medicare is in fact increased as a
 14   result of that Abbott action, abbott can't gain
 15   market share that way because the increased
 16   reimbursement is not just paid to purchasers of
 17   the Abbott product but it's paid to purchasers of
 18   every other manufacturer's product within that
 19   J-Code as well.
 20             So that manipulation of AWP would give
 21   purchasers no reason at all to buy the Abbott
 22   product rather than anybody else's product
00173
  1   because the median, ninety-five percent of the
  2   median AWP, which is the reimbursement, would be
  3   paid, the dollar amount they would receive in
  4   reimbursement from the government would be
  5   exactly the same no matter which manufacturer's
  6   product was purchased. So there's no reason for
  7   them to switch to the Abbott product.
  8             So the idea that Abbott's manipulation,
  9   A, led to damages, B, led to a hundred percent of
 10   damages, just ignores the underlying mechanic of
 11   how the Medicare reimbursement system operates.
 12             And Dr. Duggan ignores all of that in
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 13   his characterization of the but-for world. He
 14   ignores all of that in his calculations.
 15             In the Medicaid system, he bases his
 16   damage estimates on claims data that is
 17   incomplete. He says that he calculates his
 18   extrapolations based on ten states, but that's
 19   not actually true. It's really only nine states
 20   because one of his ten, shall we say exemplar
 21   states, is Indiana and he did not calculate
 22   damages for the state of Indiana directly, but
00174
  1   rather he said Illinois is just like Indiana.
  2   And so he extrapolated damages from Illinois to
  3   Indiana, and then included Indiana, a state which
  4   had extrapolated damages itself, included that in
  5   the set of states that he then uses to
  6   extrapolate damages to the other thirty-eight
  7   states.
  8             This is needless because for many of
  9   these other thirty-eight states it's my
 10   understanding that data was available or should
 11   have been available.
 12             In his rebuttal report, he talks about
 13   using claims data from other thirty-eight states
 14   to respond to this criticism. To which I say if
 15   he's using it now to respond to the criticism,
 16   why didn't he use it in the original report?
 17   That was my criticism to begin with.
 18             The other major criticism of his
 19   Medicaid calculations are that, again, his
 20   characterization of the but-for world in my view
 21   is completely in error and ignores copious
 22   amounts of evidence that the things that he says
00175
  1   he is holding constant in fact would not stay
  2   constant, that the dramatic reductions in
  3   reimbursements that he proposes while holding
  4   dispensing fees constant would, according to the
  5   testimony and the reports that I read and that I
  6   have relied upon, suggest that carriers would in
  7   fact leave the Medicaid system.
  8             And that would violate the legal
  9   mandate in the Medicaid statutes that access for
 10   Medicaid patients be available, access to
 11   services, be available on the same, roughly the
 12   same basis, as the access that's available to
 13   nonMedicaid clients.
 14             And if substantial numbers of the
 15   pharmacies, the home infusion pharmacies, that
 16   are at issue in this case, were to withdraw from
 17   the market, that Medicaid access would be
 18   compromised.
 19             He doesn't take this factor into
 20   account. He ignores evidence in the record that
 21   says that the states and the federal government
 22   took the access mandate extremely seriously and
00176
  1   in several states proposals to reduce ingredient
  2   costs, and these are proposals that were much
  3   more modest than those proposed by Dr. Duggan,
  4   that these proposals were either modified or
  5   abandoned because of fears that had been raised
  6   by the providers that the access to services by
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  7   Medicaid providers would in fact be compromised
  8   by reductions in ingredient costs that are much
  9   less Draconian than those proposed by Dr. Duggan.
 10             I'll say I'm done there.
 11        Q.   All right. So one key opinion that I
 12   think addresses or applies to the Medicare and
 13   Medicaid program is that Dr. Duggan's report did
 14   not apply an accurate or realistic but-for world?
 15        A.   That is my opinion that his but-for
 16   world is at odds with events as they have
 17   transpired and also at odds with the evidence in
 18   the record in the case.
 19        Q.   Explain to me why it is that is a
 20   necessary prerequisite to his damages model.
 21        A.   Well, if you don't have an accurate
 22   but-for world, you're not going to have accurate
00177
  1   damages.
  2             So if, well, let's see, another
  3   possible but-for world is that if -- let me
  4   strike that and start over. That wasn't going to
  5   be a good analogy, so I'm going to try again.
  6             The idea is that in calculating
  7   damages, one has to put forth a vision of the
  8   but-for world that is as close as possible to
  9   what actually would happen had the events not
 10   taken place.
 11             So that in spite of what he says in his
 12   rebuttal report about indirect effects,
 13   unfortunately prices change. For economists,
 14   prices are incentive systems. So when prices
 15   change, incentives change. And when incentives
 16   change, people's actions change.
 17             And so these actions can lead to
 18   calculations that are higher or lower than
 19   calculations that don't take into account these
 20   changes and incentives.
 21             But just to assume rather than to test
 22   against the evidence the idea that nobody will
00178
  1   raise dispensing fees, to assume rather than to
  2   test against the available evidence in the case
  3   that no providers would exit the program, seem to
  4   me to fall short of that standard.
  5             The standard that you need to take into
  6   account the effects, not just the first order
  7   effects but you also need to take into account
  8   reasonably expected, you need to take into
  9   account reasonably expected consequential effects
 10   because those can have significant effects on the
 11   expenditures and on the damages that is the
 12   object of your study.
 13        Q.   Now, you mentioned several different
 14   issues related to the need for a realistic
 15   but-for world.
 16             One of them was the evidence from the
 17   state and federal officials. I guess you're
 18   referring both to testimony and to government
 19   reports; is that right?
 20        A.   Yes.
 21        Q.   Now, am I right though that that's a
 22   factual support for your opinion about the
00179
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  1   realistic but-for world but that that part of it
  2   is not actually an opinion in and of itself;
  3   right?
  4             MR. BERLIN: Objection, form.
  5             THE WITNESS: I have to admit I don't
  6   understand your question.
  7   BY MR. LAVINE:
  8        Q.   Is part of your expert opinion that
  9   there's lots of evidence that state and federal
 10   officials were aware of the discounts from AWP?
 11             MR. BERLIN: Objection, form.
 12             THE WITNESS: As I say in my report,
 13   the reports and the testimony are there that the
 14   government, there was lots of information
 15   available to the government officials.
 16             I cite deposition testimony in my
 17   report where certain government officials do say
 18   that yes, they were aware of differences between
 19   AWP and average, or actual selling prices,
 20   average selling price, whatever you want to call
 21   it. But I don't render any opinion about a
 22   general state of government knowledge because I
00180
  1   don't have any basis for that.
  2   BY MR. LAVINE:
  3        Q.   That's what I'm trying to clarify.
  4             The opinion is that you need a
  5   realistic but-for world and that Professor Duggan
  6   did not utilize a realistic but-for world
  7   because, one of the reasons is, if you look at
  8   the facts related to the knowledge by the state
  9   and federal officials, that would support your
 10   opinion in that regard?
 11        A.   The evidence from the state and federal
 12   officials and the evidence from the federal
 13   reports all speaks to the fact that when you go
 14   to, the reports from Myers & Stauffer, the
 15   reports from OIG, the testimony of state and
 16   federal officials, speak to the notion that if
 17   you lower ingredient cost, other things will
 18   happen. And Dr. Duggan lowers ingredient cost but
 19   he does not, he expressly assumes away the
 20   possibility that anything else will happen.
 21             And in my opinion that flies in the
 22   face of the evidence in this case from state and
00181
  1   federal officials who know what's likely to
  2   happen in the Medicaid system better than I do
  3   and better than Dr. Duggan does.
  4        Q.   Then the next item of support for the
  5   concept that Dr. Duggan's not based his report on
  6   a realistic but-for world was that we have
  7   existing but-for worlds in the sense that you're
  8   able to look at the existing statutes in both the
  9   state and federal systems, and what we see there
 10   is not like what Dr. Duggan did.
 11        A.   Well, that's correct.
 12             I mean going back to the first one, the
 13   basic idea is that state and federal officials
 14   stated the opinion or this was contained in
 15   reports that if you change ingredient cost, other
 16   things will happen.
 17             So that a, if you will, holistic
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 18   approach was going to be needed to curing
 19   whatever problems were seen in the existing
 20   reimbursement system.
 21             Congress in 2003 and 2005 undertook
 22   that balancing, the balancing of the desire for
00182
  1   cost containment, balanced against the desire for
  2   access, balanced against providers having to be
  3   able to have a remunerative reimbursement in
  4   order to stay in business.
  5             And after Congress met and after
  6   Congress deliberated and had its hearings and
  7   heard from state officials and heard from
  8   industry officials and heard from anybody I
  9   presume who wanted to come and talk to the
 10   Congress, they came to, they deliberated and came
 11   to a new system that was, as far as I understand,
 12   designed to address shortcomings and problems
 13   that had existed in the existing systems.
 14             And that that in my mind was, what
 15   Congress did, was responsive to what the state
 16   and federal officials had been fearing. That you
 17   have to take these other consequences into
 18   account when you're changing ingredient cost.
 19             So in both cases, in the Medicare
 20   reform and in Medicaid reform, I mean first of
 21   all in Medicaid the reimbursements were not
 22   lowered to anything, I'm sorry, the ingredient
00183
  1   cost reimbursements were not lowered to anything
  2   remotely resembling the levels that Dr. Duggan
  3   proposed.
  4             But even with those higher than Dr.
  5   Duggan's ingredient cost reimbursements, Congress
  6   still mandated that dispensing fees be looked at
  7   and dispensing fees be adjusted based on surveys
  8   of what the dispensing costs of pharmacies
  9   actually was and in the interim had proposed
 10   increase, until such studies were done, in the
 11   interim had proposed increases in the current
 12   dispensing fees.
 13             Similarly, for Medicare they lowered
 14   the, sorry, I guess I should say changed the
 15   ingredient cost reimbursement to a hundred six
 16   percent of average selling price I believe.
 17   That's what's defined in the statute. And then,
 18   again, raised dispensing fees or directed changes
 19   to dispensing fees to be made. And interestingly
 20   for the durable medical equipment category, one
 21   of which at least at some point in this
 22   litigation was involved, actually retained the
00184
  1   old allegedly problem-laded scaled AWP system.
  2             So I would have had a lot, I would have
  3   given Dr. Duggan's report a lot more credibility
  4   if he had said well, okay, if we change the
  5   system which has caused such problems because of
  6   the alleged wrongful behavior of the drug
  7   companies, suppose that the Medicare
  8   Modernization Act had been invoked in 1991 or
  9   1994 or suppose that the Deficit Reduction Act
 10   had been enacted earlier with those changes, so
 11   then what would have the change in government
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 12   expenditures have been, that to me would have
 13   been an adequate answer to my criticism that he
 14   does not provide a realistic assessment of the
 15   but-for world because he was using a but-for
 16   world that was constructed by duly elected
 17   government officials in light of the criticisms
 18   and alleged problems with the current system.
 19        Q.   All right. So the reasons that Dr.
 20   Duggan's but-for world was unrealistic are that
 21   he ignores the evidence relating to the knowledge
 22   of the state and federal officials and if we look
00185
  1   to the systems of reimbursement that were
  2   actually implemented at the current time, both of
  3   those would provide factual support for the
  4   initial proposition that Dr. Duggan's but-for
  5   world was unrealistic?
  6             MR. BERLIN: Objection, form.
  7             THE WITNESS: I think you
  8   mischaracterized what I said a little bit in the
  9   beginning because I think you spoke to the
 10   evidence about the knowledge of government
 11   officials. And that's not really what I was
 12   getting at.
 13             I had the testimony of what government
 14   officials believed would happen, the
 15   consequences, the other consequences that would
 16   happen if you tried to reduce ingredient cost.
 17             I spoke only to the information that
 18   was available to government officials. But I
 19   have not and am not now trying to characterize
 20   their state of knowledge.
 21   BY MR. LAVINE:
 22        Q.   I'm not sure I understand the
00186
  1   difference here.
  2        A.   I don't know that --
  3             MR. BERLIN: Wait, wait. He hasn't
  4   asked a question yet.
  5   BY MR. LAVINE:
  6        Q.   You're not trying to characterize their
  7   knowledge, but you are saying that their
  8   knowledge demonstrates that Dr. Duggan's but-for
  9   world is unrealistic?
 10        A.   Let's break it down.
 11             Ultimately why I'm saying Dr. Duggan's
 12   but-for world is unrealistic is because the
 13   government officials at the state and federal
 14   levels testified to attempts that they had made
 15   to lower ingredient cost, which later proved to
 16   be unsuccessful because the providers would not
 17   accept it and the whole political process that
 18   surrounds it. So those are, that's an
 19   unrealistic but-for world because of the direct
 20   statements of the government officials.
 21             He doesn't take into account the
 22   opinions and the information that was available
00187
  1   to government officials from reports and other,
  2   well, reports primarily, that talked about the
  3   divergence between AWP and average selling price
  4   and the like.
  5             What I am not, the difference that
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  6   you're looking for with your question is that
  7   there's a difference between characterizing, as I
  8   do, there was a lot of information available to
  9   government officials because, as I say in my
 10   report, there were government reports from
 11   government agencies and from government
 12   contractors going back forty years that spoke to
 13   differences in AWP and average selling price and
 14   spoke to the reliability or the lack of
 15   reliability of AWP as a basis for reimbursement.
 16             But what of that, any particular
 17   government official or the government in general
 18   actually knew, I cannot characterize. I don't
 19   know what they actually knew.
 20             I do know what reports were produced
 21   and what information was available to them, and
 22   that's what's underlying my opinion.
00188
  1         Q.  So am I describing it properly with
  2   respect to the information, the information
  3   available to the state and federal officials is
  4   the support you're looking to to justify the
  5   conclusion that Dr. Duggan's report has an
  6   unrealistic but-for world?
  7         A.  There is tons of evidence in these
  8   reports that talk about what happens if you try
  9   to reduce ingredient costs. There's tons of
 10   testimony about consequences resulting from
 11   attempts to try to reduce ingredient costs and
 12   make other changes to the program.
 13             And that speaks to when you try to
 14   reduce ingredient costs what's going to happen.
 15   And it's the government officials who are doing
 16   the speaking, not me. I'm just relying on their
 17   statements because they know more about this than
 18   I do.
 19             But it is my opinion that Dr. Duggan
 20   intentionally and specifically ignores all of
 21   this because he says I'm going to lower
 22   ingredient costs by ninety percent in some states
00189
  1   and yet I'm going to say that nothing else in the
  2   Medicaid system is going to change. I find that
  3   an unrealistic characterization of the but-for
  4   world.
  5         Q.  So the information you're looking to
  6   with respect to the state and federal officials
  7   is the idea that they recognize a or discuss a
  8   potential access problem, if ingredient cost is
  9   lowered without a corresponding increase in the
 10   dispensing fee?
 11         A.  In various and sundry ways, yes. Some
 12   of the state and federal officials do discuss
 13   potential problems with access if ingredient
 14   costs are lowered and dispensing fees are not
 15   changed.
 16         Q.  But is there something additional with
 17   respect to the information that you've relied
 18   upon in connection with the state and federal
 19   officials that also supports the proposition that
 20   Dr. Duggan's but-for world is unrealistic?
 21         A.  Well, the idea -- no. I'll just leave
 22   it at that.
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00190
  1        Q.    The information available or the
  2   information you've read regarding the state and
  3   federal officials supports the idea that there
  4   would be access problems if the ingredient costs
  5   went down without the dispensing fee going up,
  6   and the failure to account for that in Dr.
  7   Duggan's methodology makes for his but-for world
  8   unrealistic?
  9        A.    There's all sorts of reports and all
 10   sorts of testimony out there that says we tried
 11   to do this, we tried to lower ingredient cost, we
 12   would like to lower ingredient cost, we are aware
 13   that ingredient cost can be lowered from their
 14   current levels because we are currently
 15   reimbursing above the average acquisition cost,
 16   and for any number of reasons at the federal
 17   level and for any number of reasons at the state
 18   level the changes either didn't take place or
 19   were relatively minor because of political and
 20   other considerations.
 21              And Dr. Duggan takes none of this into
 22   account, and therefore, his proposal that you can
00191
  1   reduce reimbursements by ninety percent and have
  2   nothing change is at odds with the testimony of
  3   state and federal officials.
  4        Q.    One of the examples supporting this
  5   then are the Myers & Stauffer reports that you
  6   mentioned?
  7        A.    Yes, that's one.
  8        Q.    And the idea that the total
  9   reimbursement between the dispensing fee and the
 10   ingredient cost together needs to be considered.
 11   That's a piece of the same analysis?
 12        A.    Well, the reimbursement has to be
 13   remunerative to the provider so that the provider
 14   can afford to stay in business, the provider can
 15   afford to continue to treat Medicaid patients.
 16              How much of that reimbursement is
 17   ingredient cost and how much, the thrust of the
 18   Myers & Stauffer and other reports is how much of
 19   that is ingredient cost and how much of that is
 20   dispensing fee is irrelevant.
 21              What really matters is that the total
 22   reimbursement be such that these companies can
00192
  1   not just stay in business but remain willing to
  2   provide services to Medicaid patients.
  3        Q.    All right. So in connection with the
  4   criticism of Dr. Duggan's report regarding his
  5   unrealistic but-for world, you've talked about
  6   the information in the hands of state and federal
  7   officials, the reimbursement methodologies
  8   currently in place, the idea that the total
  9   compensation between both ingredient cost and
 10   dispensing fee is the proper consideration, not
 11   one in isolation, the M&S reports are further
 12   support for the information in the hands of state
 13   and federal officials.
 14              Is there anything else that provides
 15   further support for the unrealistic but-for world
 16   relied upon by Dr. Duggan?
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 17         A.  I don't remember at this point. I just
 18   went through it all. That sounds complete.
 19             I mean look at it this way: Without
 20   taking into account any of the testimony, without
 21   taking into account any of the reports that the
 22   government provided, without taking into account
00193
  1   anything else, you just say I'm going to
  2   calculate a hundred twenty-five percent of
  3   average contract selling price and then I'm going
  4   to take the difference between that hundred
  5   twenty-five percent of average contract selling
  6   price and the reimbursement that was actually
  7   paid, and I'm going to call that damages, all
  8   right.
  9             What you've done is not a damages
 10   report. What you've done is subtraction. And
 11   that's my big objection to Dr. Duggan's ignoring
 12   any attempt at a characterization of the but-for
 13   world.
 14             He's not got a damages report. He has
 15   a large scale addition and subtraction exercise.
 16         Q.  The process of review that you engaged
 17   in in looking at Dr. Duggan's report and then
 18   reaching this opinion, what methodology is that
 19   that you used to perform that analysis?
 20             MR. BERLIN: Objection, form.
 21             THE WITNESS: I'm not trying to be
 22   smart here, but I read his report.
00194
  1             I'm not sure what else you're looking
  2   for.
  3   BY MR. LAVINE:
  4         Q.  Just whatever the methodology was that
  5   you employed to analyze, to take and reach your
  6   opinions regarding the unrealistic nature of Dr.
  7   Duggan's but-for world.
  8         A.  When you're engaged in this kind of
  9   work, whether you are the person who is forming
 10   the damage report or whether you're the person
 11   who is commenting on the damage report, I think
 12   what one, well, I don't know what one does, but
 13   what certainly I would do is after reading Dr.
 14   Duggan's report I would say to myself okay, now,
 15   if I were doing this how would I do it.
 16             And I think that's, when you talk
 17   methodology, that's the methodology at issue
 18   here, that I've engaged in damage calculations
 19   similar to this in other matters, I have a lot of
 20   experience and a lot of knowledge about the
 21   Medicaid system, I gained a lot more information
 22   and knowledge about what Medicaid state and
00195
  1   federal officials thought about these matters
  2   from the testimony and reports that were offered
  3   here.
  4             And when I was done, the conclusion was
  5   I would not just assume that I'm going to take
  6   reimbursements down to a hundred twenty-five
  7   percent of the average contract selling price,
  8   make that the substitute AWP, then subtract ten,
  9   fifteen, seventeen percent from that, assume that
 10   the providers can still remain in business,
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 11   assume that providers are still willing to
 12   service Medicaid patients, that that certainly
 13   wouldn't be the way that I would do it.
 14              One would have to take into account,
 15   and if I were doing this I would certainly take
 16   into account, well, what is going to be, do some
 17   sensitivity analysis. What's going to happen if
 18   access is compromised?
 19              Well, one thing that might happen we
 20   know from testimony if access might be
 21   compromised is that maybe you can't lower
 22   ingredient cost that far.
00196
  1              I mean, as I say, to this date no state
  2   or federal program has adopted reimbursements
  3   anywhere near as low as Dr. Duggan's, even though
  4   again we have forty years of information
  5   available to government officials that AWP was
  6   not average selling price. But yet nobody has
  7   adopted --
  8              MR. LAVINE: Sorry. I don't mean to
  9   cut you off, but we are running low on the tape.
 10              MR. BERLIN: We need to take a break?
 11              MR. LAVINE: Yes. We only had a piece
 12   of the tape left.
 13              THE WITNESS: Oh, that's right.
 14              THE VIDEOGRAPHER: Going off the record
 15   at 2:43 p.m.
 16              (A recess was taken.)
 17              THE VIDEOGRAPHER: Beginning of
 18   Videotape No. 4. We're back on the record at
 19   2:56 p.m.
 20   BY MR. LAVINE:
 21        Q.    The first opinion you mentioned with
 22   respect to Dr. Duggan's report is that you said
00197
  1   it was not a damage calculation.
  2              Why does that matter to your opinion?
  3        A.    Because there's, no pun intended, a
  4   difference between a damage calculation and a
  5   difference calculation.
  6              A damage calculation, I believe I, one
  7   of the items that I produced that was contained
  8   in a footnote to my report was a paper by
  9   Professor Blair on speculative, in his case
 10   antitrust damages.
 11              But it speaks to the standards that I
 12   understand exist when one's doing a damage
 13   report, and that is that a but-for world has got
 14   to not just take into account a difference in the
 15   price that may have occurred because any alleged
 16   wrongful action but also the changes in the
 17   behavior of the actors and any other reasonably
 18   ascertainable consequences of changing the price
 19   from the, if you will, illegal price to the legal
 20   price.
 21              And that is what I see as, again,
 22   sorry, the difference between what Dr. Duggan has
00198
  1   done in a difference calculation and actually a
  2   damage calculation.
  3        Q.    But do you see that the name, the word
  4   he used as meaningful, as opposed to the
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  5   underlying flaws you've identified in his
  6   methodology?
  7             MR. BERLIN: Objection, form.
  8             THE WITNESS: Certainly he seemed to
  9   view it as being important because in my
 10   recollection of his deposition testimony on his
 11   report, he resisted for some time having his
 12   calculation characterized as a damage report, and
 13   as I recall in that exchange discussed his
 14   deposition in I believe it was the Texas matter
 15   where on a couple of occasions he corrected the
 16   questioner, asked the questioner, to change the
 17   characterization from "damage" to "difference"
 18   because it seemed to matter to him.
 19             But I understand that, and I guess I
 20   concur with that, to the extent that if you
 21   simply change the price and nothing else, then
 22   you've subtracted one price from the other, and
00199
  1   it is indeed an, it's a difference because the
  2   result of any subtraction is of course a
  3   difference, that that's all that you've done.
  4   That that doesn't rise to the level of a damage
  5   report unless you can provide affirmative
  6   evidence that indeed nothing else would likely
  7   happen as a result of this change in price.
  8             And that gives rise to the criticism
  9   that we went through in the previous session in
 10   some detail, that we have a voluminous record of
 11   state and federal officials in government reports
 12   and government-commissioned reports that speak to
 13   the consequences that are likely to occur for
 14   states that try to lower Medicaid ingredient cost
 15   reimbursements.
 16   BY MR. LAVINE:
 17         Q.  But if he had created a damages
 18   methodology that accounted for all of the issues
 19   and criticisms that you level at it but still
 20   called it a difference, that wouldn't invalidate
 21   it in and of itself; would it?
 22         A.  I don't know. I'd have to see exactly
00200
  1   what, you know, what he had done.
  2             For example, if his methodology had
  3   been here's what Medicaid paid historically
  4   versus here's what Medicaid would have paid had
  5   the DRA been implemented in 1992, because that
  6   would take into account, by adopting the DRA
  7   procedure, if you will, by adopting the DRA
  8   procedure then he would be taking into account
  9   the fact that Congress considered and formed a
 10   new mechanic that was better able to assure cost
 11   containment and access than the one in existence,
 12   then I probably wouldn't, if you wanted to call
 13   it a difference calculation, I don't know that I
 14   would object to it to the same extent.
 15             But it would depend on how he
 16   characterizes it too. If he says it's a damage
 17   calculation, then we can talk about that, you
 18   know.
 19             But absent such another report, I am
 20   kind of hesitant to say yeah, that would be fine
 21   or that wouldn't.
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 22         Q.  So even if he had calculated a figure
00201
  1   that would be identical to a damages figure you
  2   would come up with, because he might call it a
  3   difference you would say that invalidates his
  4   methodology?
  5             MR. BERLIN: Objection, form.
  6             THE WITNESS: I'm not taking issue
  7   really with his word "difference." He's free to
  8   call his calculations anything that he would
  9   like.
 10             But what he has done, changing the
 11   price, subtracting actual reimbursement from his
 12   but-for reimbursement, assuming nothing else
 13   changes, does not in my mind constitute a valid
 14   damages methodology.
 15             If he wants to call it -- put it this
 16   way: I would have exactly the, if he had not
 17   used the word "difference" but had he used the
 18   word "damage" in his original report that we're
 19   discussing today, I would have the same
 20   objections to his methodology that we've just
 21   been discussing over the past hour or so.
 22   BY MR. LAVINE:
00202
  1         Q.  So are we agreeing it's the flaws in
  2   the underlying methodology that you take issue
  3   with and not the use of the word "difference" to
  4   describe the result of that methodology?
  5         A.  Well, I take significance from the
  6   notion that Dr. Duggan himself seems to be very
  7   purposeful about the word "difference," that he's
  8   not, from his testimony, he does not seem to me
  9   to be indifferent between the use of the word
 10   "difference" and the word "damages." So I do
 11   take meaning from that.
 12             But at the same time, as I just said,
 13   he's free to call it a cocker spaniel if that's
 14   the word that he chooses to use.
 15             So I don't have the objection to the
 16   word as much as I do have, I don't have the
 17   objection to the word, I do have the objection to
 18   the methodology that he has in fact implemented.
 19             But I do find it remarkable that he
 20   seems to carefully in each of his reports, this
 21   report and the rebuttal report, he seems to be
 22   very careful to use the word "difference" and to
00203
  1   resist using the word "damage."
  2         Q.  Now, with respect to the Medicare
  3   program, the opinions you described earlier
  4   regarding Dr. Duggan's reports, the first one is
  5   that the extrapolations are based upon incomplete
  6   data.
  7         A.  Yes.
  8         Q.  And in that respect are you talking
  9   about incomplete array data?
 10         A.  There is incomplete array data. And,
 11   if memory serves, there's incomplete claims data
 12   as well.
 13         Q.  And the question regarding the
 14   incomplete array data relates to the premise that
 15   the arrays upon which he based his calculations
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 16   only related to certain carriers for certain time
 17   periods?
 18         A.  He takes those as being a
 19   representative sample from which one can safely
 20   extrapolate. And it's my opinion he has no basis
 21   for making that assumption, yes.
 22         Q.  And the extrapolation is the result of
00204
  1   the fact that the arrays are from limited
  2   carriers during limited time periods?
  3         A.  Correct.
  4             I mean we know from the arrays that he
  5   produces that at any particular point in time
  6   arrays used by two different carriers are going
  7   to be different.
  8             But, nevertheless, he'll take those
  9   arrays at that period of time and he'll
 10   extrapolate to other carriers in that time period
 11   where he doesn't have arrays.
 12             So we know that there's not a standard
 13   methodology, and it's clear from the arrays that
 14   he did produce, that there can be great
 15   differences in how these arrays are constructed.
 16             But he simply goes ahead and
 17   extrapolates to these other carriers in that time
 18   period for which he doesn't have arrays. And, to
 19   me, that is quite baseless because we have no
 20   idea for some of these carriers how they
 21   constructed any of their arrays.
 22             But he's assuming, in the face of the
00205
  1   evidence that's contained in the arrays that he
  2   has, he's assuming that all the other carriers
  3   construct their arrays in exactly the same way.
  4   And I don't think there's any foundation for
  5   that.
  6         Q.  And your opinion though is that if he
  7   can't show that the other carriers constructed
  8   their arrays in exactly the same way, that he
  9   doesn't have a proper basis upon which to
 10   extrapolate?
 11         A.  Well, I mean if he had all of the
 12   arrays and took a statistically justifiable
 13   random sample from that and extrapolated to it,
 14   well, I'd still have a criticism why are you
 15   sampling when you've got the dataset.
 16             But, still, if there was any reason to
 17   believe that the arrays that he has in his
 18   possession are in any way representative in a
 19   statistical sense, then I wouldn't have as much
 20   of an issue.
 21             But because we know that the carriers
 22   construct arrays different ways, then to assume
00206
  1   that the ones I don't have are just like the ones
  2   I do have, it's an assumption without a basis.
  3         Q.  But are you saying that he needs to
  4   show, what he should have shown was that the
  5   arrays for the carriers that he does not have had
  6   to have been exactly the same as the arrays that
  7   he does have?
  8         A.  Well, he doesn't even know for the
  9   arrays that he doesn't have that Abbott drugs
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 10   were even in them.
 11        Q.   But are you saying that he needs to
 12   show that the arrays he doesn't have would be
 13   exactly the same as the arrays that he does have?
 14             MR. BERLIN: Objection, form.
 15             THE WITNESS: I'm not saying anything
 16   about exactness.
 17             I'm saying he's extrapolating on a
 18   nonrandom sample. And by so doing, he's making
 19   yet another unstated assumption, because he never
 20   lays out his assumptions in his report, he's
 21   making another unstated assumption that since I'm
 22   extrapolating from Group X to Group Y, I'm
00207
  1   assuming that Group Y must be like Group X.
  2             What I'm saying is he has no basis for
  3   that assumption.
  4   BY MR. LAVINE:
  5        Q.   So he doesn't need to show that the
  6   arrays, the missing arrays, are exactly the same
  7   as the arrays that he has?
  8        A.   Well, you keep coming back to the word
  9   "exact," and that's not what my criticism is.
 10             What my criticism is is he has an
 11   assumption that has no basis in the record.
 12        Q.   So I think you're saying that you're
 13   not, you're not saying they have to be exactly
 14   the same?
 15        A.   Whether they're exactly the same, kind
 16   of the same, a little bit the same, a lot the
 17   same, he's assuming that they are exactly the
 18   same and he provides absolutely no basis at all.
 19             Let me give you an example. If CMS or
 20   its predecessor had ever promulgated regulations
 21   for the carriers that said here's how you do your
 22   arrays, everybody has to do arrays this way, you
00208
  1   need "X" number of products, this many NDCs, you
  2   have to do it this way, the median if you've got
  3   an even number, it's calculated this way, all of
  4   those different things, and that the arrays that
  5   he had in his possession demonstrate pretty
  6   clearly that at least most of the time, if not
  7   all of the time, that the people constructing
  8   those arrays had conformed with those Medicare
  9   regulations.
 10             Then if he had extrapolated to that,
 11   then the assumption would be well, these guys,
 12   I'm sorry, these carriers, conformed with the
 13   Medicare regulations and constructed their arrays
 14   in a certain way; therefore, I'm going to assume
 15   that the other carriers for whom I don't have the
 16   arrays would also have constructed arrays that
 17   conformed with the Medicare regulations, then I
 18   wouldn't have this kind of objection because then
 19   he had a basis, then he would have had a basis
 20   that there are regulations that are being
 21   followed by one group and I have no reason to
 22   believe that the other people that I don't have
00209
  1   are also following those regulations.
  2             But in the absence of any regulation,
  3   in the absence of any custom that I'm aware of,
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  4   certainly Dr. Duggan does nothing to make me
  5   aware of any, in the absence of arrays for any
  6   particular period of time across any particular
  7   number of carriers, in the absence of any arrays
  8   that are terribly similar in terms of what they
  9   include, what they exclude, what sizes of
 10   packages they include or anything, given the
 11   great variation in the arrays that he does have,
 12   I need more than well, I'm just going to assume
 13   they're all the same before I'm going to give
 14   credence to those extrapolations because it's
 15   clear he doesn't know because he's not providing
 16   any basis for the assumption that he's making.
 17        Q.    Earlier you said that Professor Duggan
 18   can't be certain that it was definitely the
 19   Abbott price that was used in any situation where
 20   he does not have an array.
 21              Is it your opinion that he has to be
 22   certain that an Abbott price definitely was used
00210
  1   in the situations where he doesn't have an array?
  2              MR. BERLIN: Objection, form.
  3              THE WITNESS: My goodness, if he's
  4   going to attribute a hundred percent of the
  5   damages to Abbott, then I would say yes, I think
  6   you do have to have some evidence that there is
  7   indeed an Abbott product in the array that you're
  8   about to done him for a hundred percent of
  9   damages for.
 10   BY MR. LAVINE:
 11        Q.    But that's the appropriate standard,
 12   certainty that the Abbott price was definitely in
 13   the array.
 14              MR. BERLIN: Objection, form.
 15              THE WITNESS: Just clarify for me,
 16   standard for what?
 17   BY MR. LAVINE:
 18        Q.    Before he could satisfy your objection
 19   to the methodology he employed.
 20        A.    Well, you know, I don't know what he
 21   did, if anything, to check, okay.
 22              So there's an Abbott price, $10.16
00211
  1   sticks in my head from an example in his report.
  2   So he goes through the other payment data, and if
  3   he sees a carrier paying $10.16, then he assumes
  4   that this was an Abbott price.
  5              In his report, to my recollection, he
  6   says well, this is just what I'm doing. And in
  7   his rebuttal report in a footnote he says well, I
  8   checked to see that there weren't others. But
  9   what did he check?
 10              So if it's a bag of point, whatever the
 11   strength is, .045 percent saline bag, one liter,
 12   twenty-four packages, twenty-four bags in a case,
 13   did he check that against just those others or
 14   taking into account the fact that these arrays
 15   contain mistakes and that there's sometimes
 16   products in them that shouldn't be in that
 17   J-Code, products in there that are the wrong
 18   dosage size, packages in there that are the wrong
 19   package size?
 20              What did he check it against? Did he
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 21   check it against all the other things that might
 22   have mistakenly gotten into the arrays so that to
00212
  1   guarantee that there's nothing else that could
  2   make it into one of these arrays that had a price
  3   of $10.16.
  4              Again, it's a matter of providing
  5   basis. And in his report he just says I looked
  6   for an Abbott price and if I found one I took it.
  7   That's what he says, and that's the extent of it.
  8              That's no basis. Now, in his rebuttal
  9   report he's saying that he's checked. Okay, fine,
 10   but what did you check? Because we know that
 11   there's variation and mistakes in these arrays.
 12   So did you check it, do you know that this is the
 13   price that Abbott gave for that product in that
 14   J-Code, or is this something that got in there
 15   extraneously?
 16              He doesn't know. And, again, it's just
 17   a matter of when you're making an assumption,
 18   give me a basis for it. But when you're just
 19   making an assumption that has significant
 20   consequences because he's attributing a hundred
 21   percent of the damages to a company that didn't
 22   sell a hundred percent of the product, then give
00213
  1   me a basis.
  2        Q.    So you are saying that before he could
  3   extrapolate to carriers where he doesn't have an
  4   array, he would need to be certain that an Abbott
  5   price was definitely in the array?
  6              MR. BERLIN: Objection, form.
  7              THE WITNESS: Well, again, you like to
  8   use certainty and exact and all of those specific
  9   words.
 10              I'm saying he has to provide, if he's
 11   making an assumption, and assumptions can
 12   sometimes hold and assumptions can not sometimes
 13   hold, but when you're making an assumption I want
 14   a basis from the record, from the evidence, from
 15   his experience, from something, that says the
 16   assumption that I'm making is reasonable.
 17              Does he have to be absolutely certain?
 18   No, not if he's providing a basis for me some
 19   other way. But he's not.
 20              So, again, I'm disagreeing with you.
 21   I'm not saying he has to be certain, but give me
 22   the basis for the assumption that you're making.
00214
  1   And if you give me no basis for the assumption
  2   that you're making, then I have no particular
  3   reason to accept it.
  4        Q.    So as long as Professor Duggan was
  5   being reasonable in the basis for his conclusion
  6   that the Abbott prices were used in the array,
  7   that would be acceptable to you?
  8        A.    Well, number one, if he provided any
  9   basis and if I agreed with him that that basis
 10   were reasonable, then I could perhaps, then in
 11   that case I could probably live with his
 12   extrapolations.
 13              But I'd have to see the basis and we'd
 14   have to have a discussion about whether it was in
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 15   fact reasonable.
 16        Q.   Do you have any competing opinion as to
 17   how the allowed price in these other carriers
 18   would end up being equal to the price of the
 19   Abbott product if an Abbott product were not
 20   actually in the array?
 21        A.   To go back to my example, somebody else
 22   has a product that made it into the array that
00215
  1   had a price of $10.16.
  2        Q.   Did you look to see if any other
  3   competing product had such a price at any time?
  4        A.   I'm sorry. It doesn't seem to me to be
  5   my, I don't believe it's my burden to correct his
  6   mistakes.
  7             You know, it's not my burden to prove
  8   that he is right or that he is, you know, it's
  9   not my burden to prove it's right.
 10             It's his burden to provide a basis for
 11   the assumptions that he's making. And, again, my
 12   objection is he provided no basis for this
 13   assumption.
 14        Q.   Your understanding is he hasn't
 15   explained anything whatsoever as to the basis for
 16   his conclusion in that regard?
 17        A.   In the original report, no.
 18        Q.   And in the rebuttal report?
 19        A.   Well, in the rebuttal report he says
 20   that he checked to see if there were other
 21   products that had an AWP, and, again, to use that
 22   example $10.16.
00216
  1             But, again, given the erroneous
  2   products that find their ways into this array, it
  3   would be necessary to -- I'm sorry. I just lost
  4   my train of thought.
  5             THE WITNESS: I'm sorry. Could you
  6   read back my answer to me.
  7             (The record was read back as
  8             requested.)
  9             THE WITNESS: When he says he checks,
 10   he still doesn't say he checked what.
 11             So was he just checking the specific
 12   AWPs or whatever price he's actually using there,
 13   was he checking the specific prices of the other
 14   manufacturers' products that are identical to the
 15   Abbott product with a $10.16 price, or was he
 16   checking other products that may have otherwise
 17   found their way erroneously into these arrays,
 18   which we know they often do, to see if any of
 19   them had prices of $10.16.
 20             And I don't know what it was that he
 21   was checking or how extensive the checking was.
 22   But he does, in his rebuttal report, does say
00217
  1   that he checked, which was more than he said in
  2   the original report, to my recollection.
  3   BY MR. LAVINE:
  4        Q.   But you never actually went to check
  5   either. So you're not really saying that
  6   Professor Duggan is wrong. You're saying that he
  7   hasn't demonstrated to your satisfaction that
  8   he's right?
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  9        A.   Which I understand to be his burden.
 10             But at the same time, I say he's made
 11   an assumption for which he's provided no economic
 12   basis, he's provided no evidentiary basis, he's
 13   provided no basis in the testimony, he's provided
 14   no basis in the reports.
 15             You know, if he gave me a report, you
 16   know, if he pointed me to an OIG report that said
 17   well, OIG has investigated this and all carriers
 18   construct their arrays in exactly the same way or
 19   these guys construct it this way, these guys
 20   construct it that way, these guys construct it
 21   that way, and he uses that to reconstruct his
 22   arrays, well, that's what I mean by a basis.
00218
  1             Rather than just saying I'm looking for
  2   an Abbott price and if I find something that
  3   happens to match an Abbott price, I'm going to
  4   take it. To me, that is an assumption without
  5   basis, and there's no reason to accept it.
  6        Q.   In preparing your report, you never
  7   actually looked at any of the actual arrays
  8   prepared by any carrier; did you?
  9        A.   Yes. I looked at the spreadsheet
 10   arrays that Dr. Duggan provided in his
 11   production.
 12        Q.   Is it your understanding that that was
 13   something prepared by the carrier or by Dr.
 14   Duggan?
 15        A.   Both.
 16             There were two panels to it. The top
 17   panel was what I understood to be the original
 18   array which had been constructed on Dr. Duggan's
 19   behalf by Myers & Stauffer, to the best of my
 20   understanding, using documentation that came from
 21   the carrier.
 22             The lower panel was what we could call
00219
  1   Dr. Duggan's but-for array, that if the prices of
  2   the Abbott product were reduced from the original
  3   AWP to his but-for AWP, which is the average
  4   contract selling price to the retail trade, that
  5   it's my understanding that that lower panel was
  6   constructed by Myers & Stauffer on his behalf.
  7             For all I know, Dr. Duggan, I mean I
  8   don't know who actually did it, but from what I
  9   understand from the report, that those
 10   spreadsheets were constructed by Myers &
 11   Stauffer.
 12        Q.   One clarification. Professor Duggan's
 13   report and analysis wasn't based upon the average
 14   contract price, it was a hundred twenty-five
 15   percent of that price; right?
 16        A.   Thank you. Yes.
 17        Q.   And I think what you were saying is
 18   you've relied upon the recreations of the
 19   original arrays that were put together by either
 20   Myers & Stauffer or Dr. Duggan but you never
 21   actually looked at any of the original arrays
 22   themselves?
00220
  1        A.   Those were, to the best of my
  2   knowledge, those were not made available to me.
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  3         Q.  And you didn't ask for them either.
  4         A.  I would assume that Myers & Stauffer is
  5   going to do an accurate job of recreating them.
  6   They were produced by Dr. Duggan.
  7             I was interested, quite honestly I'm
  8   interested more in what he used as opposed to, if
  9   Myers & Stauffer wasn't accurate, it's more Dr.
 10   Duggan's problem than it is mine.
 11         Q.  But you're not expressing any opinion
 12   about the accuracy of the underlying array
 13   information that was collected and utilized by
 14   Myers & Stauffer in Dr. Duggan's report?
 15         A.  No. I mean I have no reason to think
 16   that there was anything that was not truthfully
 17   transcribed or whatever the process was that they
 18   used.
 19         Q.  All right. So we talked about the
 20   extrapolations being based upon incomplete data,
 21   that there was no basis for his assumptions
 22   regarding the use of the Abbott prices in
00221
  1   circumstances where he doesn't have the arrays.
  2         A.  Yes.
  3         Q.  Earlier you also said one of the
  4   problems for the Medicare damages was an
  5   extrapolation of the claims data as well.
  6             What is that issue?
  7         A.  You know, I focused on the arrays. I
  8   would have to look in the report. I'm not
  9   remembering anything to do with the claims data.
 10             It's my recollection that he didn't
 11   always have the claims data, but I don't
 12   remember.
 13             But there were certainly numerous
 14   claims that he threw out from the Medicare, from
 15   his Medicare calculations, because of incomplete
 16   data. And I assume that must have been
 17   incomplete claims data.
 18         Q.  Are you saying he extrapolated --
 19         A.  No.
 20         Q.  -- the data that he threw out?
 21         A.  No, no. I'm correcting myself.
 22             That when he had, as I recall, when he
00222
  1   had incomplete claims data -- if you don't have
  2   claims data, what are you going to extrapolate
  3   to? You don't even know how many claims there
  4   are; right?
  5             So it's my recollection that there was
  6   substantial number of claims that he threw out
  7   because of incomplete data.
  8         Q.  But there was no extrapolations to any
  9   circumstances to where the data was missing?
 10         A.  Well, he did no extrapolation to where
 11   he had thrown things out. That's for sure, yes.
 12         Q.  So the only issue relates to
 13   extrapolating to circumstances where there was no
 14   array directly supporting the data?
 15         A.  That's my main objection, yes.
 16         Q.  Was there an additional objection?
 17         A.  Well, that is the main objection
 18   regarding the extrapolations I guess is what I
 19   mean.
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 20        Q.   Okay. The next thing you mentioned was
 21   that regarding changes to the Abbott price and
 22   how that would change the array.
00223
  1        A.   Yes.
  2        Q.   So you're saying there that Dr. Duggan
  3   hasn't demonstrated that Abbott's price affected
  4   the median?
  5        A.   No.
  6             Clearly, the way that he constructed
  7   his new arrays, the Abbott price in all of those
  8   cases where he had the arrays, the Abbott price,
  9   changing the Abbott price, certainly did affect
 10   the median.
 11             But the objection there is that of
 12   course the reason that the Abbott price affected
 13   the median was because, excuse me, the reason the
 14   change in the Abbott price affected the median
 15   was because the Abbott price was the only one
 16   that Dr. Duggan changed.
 17             So if the Abbott price had started out
 18   above the median and then when he reduces it to
 19   his a hundred twenty-five percent of average
 20   contract selling price, it falls below the
 21   median, then that change in the price will cause
 22   the median to move.
00224
  1             And, again, within the confines of what
  2   he did, I don't have any objection that he
  3   recalculated his but-for medians correctly.
  4             But, conceptually, Dr. Duggan never
  5   states what he's assuming about the other prices
  6   in the array. If the Abbott price is being
  7   changed from the AWP to his but-for AWP, a
  8   hundred twenty-five percent of the average
  9   selling price, because of the government
 10   allegation that the original AWP was fraudulent,
 11   well, the other manufacturers' AWPs are, well,
 12   put it this way, closer to the Abbott AWP than
 13   they are to Dr. Duggan's but-for AWP.
 14             So he doesn't change any of those
 15   prices. So what is he assuming about those
 16   prices? Is he assuming that those prices are a
 17   hundred twenty-five percent of those
 18   manufacturers average selling prices? Is he
 19   assuming that a change in the way that AWP is
 20   reported would somehow apply only to Abbott?
 21             So it didn't make any sense to me,
 22   again, as a valid representation of the but-for
00225
  1   world, that he would have this one price change
  2   and nobody else's price would change.
  3             If companies have to all report a
  4   hundred twenty-five percent of average selling
  5   price, well, then these other companies have to
  6   report a hundred twenty-five percent of average
  7   selling price.
  8             And the median would still change, to
  9   be sure. But then the issue becomes it may not
 10   be the change in the Abbott price that actually
 11   causes the median to change.
 12             For example, if Abbott was the highest
 13   price in the array before, you change all the
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 14   prices to a hundred twenty-five percent of the
 15   average contract selling price of all
 16   manufacturers, you change the price of all
 17   manufacturers, and when that's done the Abbott
 18   price is still the highest, well, the median
 19   moved but it wasn't the Abbott change in price
 20   that moved the median.
 21              So then who caused the alleged
 22   overpayment? Whose price was it? And how do you
00226
  1   then go to attribute a hundred percent of the
  2   damages to Abbott?
  3              He never states his assumption about
  4   whether these other prices are valid prices,
  5   whether a change in regulation only applies to
  6   Abbott or anything else. He just moves this one
  7   price and no others.
  8              And I, again, I cannot imagine a
  9   but-for world where that's going to happen.
 10        Q.    So your position on this issue is that
 11   Professor Duggan needed to have obtained the
 12   underlying transaction prices on all of the
 13   competitive products that went into the arrays
 14   and performed a similar average price plus a
 15   hundred twenty-five percent analysis and factored
 16   all of those into the revised arrays?
 17              MR. BERLIN: Objection to form.
 18              THE WITNESS: Well, it certainly seems
 19   that would be a more realistic way for the arrays
 20   to have changed than to just say that one company
 21   is required to change its reported price and
 22   nobody else is required to do so.
00227
  1              But you're right. I would not have
  2   this objection if he had done this, if he had
  3   gotten all of the other selling data and had
  4   calculated that.
  5              But it would raise then issues of
  6   causality that he has managed to avoid with the
  7   methodology that he's chosen because if only the
  8   Abbott price moves, only the Abbott price moves
  9   the array, ergo the artificially inflated Abbott
 10   price was the cause of the alleged government
 11   overpayment; therefore, I'm going to attribute a
 12   hundred percent of the damages to Abbott, even
 13   though Abbott doesn't make a hundred percent of
 14   the sales.
 15              But if you move all of them, then the
 16   question, it's not always, I would imagine, it's
 17   not always going to be the Abbott change in price
 18   that's actually going to be the one that causes
 19   the median to move because Abbott started out
 20   above the median or below the median and ended up
 21   above the median or below the median.
 22              So then the damages have to be
00228
  1   attributed some other way to some other company.
  2   And his ability to just sort of obligingly say
  3   that it's all attributable to Abbott would no
  4   longer be possible.
  5              But to reform the array in that way
  6   would seem to be a much more realistic
  7   representation of a true but-for world.
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  8   BY MR. LAVINE:
  9        Q.   The next point that I wrote down was
 10   that you said Professor Duggan doesn't state his
 11   assumptions about the other AWPs. And I think
 12   that's what you were just describing.
 13        A.   Yes. That's what I was just --
 14        Q.   That he's silent about that.
 15        A.   Yes.
 16        Q.   Although you can tell from reading his
 17   report that the other AWPs were not changed;
 18   right?
 19        A.   Well, you can certainly tell from his
 20   report that they were not changed, but he doesn't
 21   explain why they weren't changed.
 22             If I may add. In his rebuttal report,
00229
  1   he does allude to the, he now allows the
  2   possibility that the other companies' AWPs might
  3   also have been artificially inflated and needed
  4   to be changed. And he talks about the
  5   consequences for his difference calculation if
  6   one were to change all of those prices.
  7             Well, okay, finally he's saying that
  8   okay, these may not be valid prices either, which
  9   then brings me back to my criticism of his
 10   original report is that well, if those other
 11   prices weren't valid prices either why in your
 12   original analysis did you not change those.
 13        Q.   So is it your opinion that that's the
 14   only way to have properly gone about assessing
 15   damages caused by the arrays?
 16        A.   The only way? No. I don't think I
 17   would say that.
 18             What I would say is that would be a way
 19   of doing it that would strike me as a more
 20   realistic but-for world.
 21             For example, a but-for world where the
 22   government says AWP shall be one hundred
00230
  1   twenty-five percent of average contract selling
  2   price, for example, that that would be a more
  3   realistic but-for world than saying Abbott, you
  4   alone have to report a hundred twenty-five
  5   percent of average contract selling price, and
  6   you other companies can continue to report
  7   whatever it is that you traditionally report.
  8             That doesn't strike me as a
  9   particularly realistic but-for world.
 10        Q.   In your next point, which you described
 11   as the most egregious, was the idea that one
 12   hundred percent of the damages attributed to
 13   Abbott, even though there's been no showing that
 14   Abbott represented one hundred percent of sales.
 15        A.   Correct.
 16             And as I think I've explained over the
 17   last half hour or so, that this attribution of a
 18   hundred percent of damages to Abbott is an
 19   artifact of this other what I consider
 20   unjustified assumption that only the Abbott price
 21   would change because then it's the Abbott price
 22   that causes a hundred percent of the damages.
00231
  1             He would not be able to do that if he
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  2   had adjusted all of the prices and had to then
  3   evaluate which company or companies' change in
  4   prices had actually caused the change in the
  5   median.
  6             And whether he would attribute a
  7   hundred percent of the damages to those companies
  8   or whether he would do something else would with
  9   it, I don't know. That's certainly up to him.
 10             But this objection would I think go
 11   away if he had adjusted the arrays in a different
 12   manner, along the lines of what I've been talking
 13   about for the past half hour.
 14        Q.   So he would have needed to have
 15   performed a similar analysis regarding average
 16   prices of the competitors, added the twenty-five
 17   percent to it, and additionally factored in
 18   perhaps the timing of when those prices came into
 19   effect to account for which one caused the median
 20   to move?
 21             MR. BERLIN: Objection, form.
 22             THE WITNESS: You know, I don't know if
00232
  1   there's something in there about the timing
  2   because the timing of the companies' price change
  3   and the timing of the what is supposed to be
  4   quarterly adjustments of the arrays, those don't
  5   necessarily influence one another.
  6             So, as I understand it, they used the
  7   AWP in effect on the day they make the array. So
  8   I don't know that the timing of changes of when,
  9   if I'm taking, if I'm understanding you
 10   correctly, so I probably should have asked you to
 11   clarify the question, what you mean by the timing
 12   is that as AWPs change over time as companies
 13   raise prices, that kind of timing? Or the timing
 14   of a government regulation requiring different
 15   reporting of AWP?
 16   BY MR. LAVINE:
 17        Q.   Let me just ask it this way.
 18        A.   Okay.
 19        Q.   You introduced the concept of once all
 20   of the prices are adjusted, then you need to
 21   identify which of the price is the one that
 22   changed the median.
00233
  1             How would you go about doing that?
  2        A.   Well, I think you would have just the
  3   same sort of matrices that Dr. Duggan used but
  4   you'd have more columns to it.
  5             So there would be, you'd look at the
  6   median before and you'd look at the median after
  7   and you would see which of the companies'
  8   different reporting prices would result in a
  9   different median price.
 10             And if that's not Abbott, then the
 11   conclusion would be that whatever Abbott was
 12   allegedly doing with its AWP was not what caused
 13   the alleged overpayment by the government.
 14        Q.   But if there are three prices in the
 15   original array, let's say $10.00, $10.50, and
 16   $11.00, and the new array now has a price of
 17   $1.00, $1.10, and $1.20, previously the median
 18   would have been $10.50, now the median is going
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 19   to be $1.10, how do you decide who to attribute
 20   that to?
 21        A.   Well, that's his problem, not mine.
 22             But you have a, I mean you're
00234
  1   constructing the array in the same way in the
  2   actual world and the but-for world, but rather
  3   than saying who do you attribute to I could give
  4   you an example of who you wouldn't attribute it
  5   to.
  6             So if Company X is the highest price in
  7   the original array and they're the highest price
  8   in the revised array, then their alleged
  9   overstating of their AWP did not cause the array
 10   to move because their price was not
 11   determinative, did not determine the median,
 12   right, they were above before and they were above
 13   after.
 14             But it could get complicated obviously
 15   if somebody goes from being the highest price in
 16   the original array to the lowest price.
 17             But you've got to come up with a
 18   method, you know, you might also apportion the
 19   damages amongst the three. I mean I don't know
 20   because I haven't been asked to perform that
 21   analysis, and I haven't performed that analysis.
 22             But the fact remains that the example
00235
  1   that you just gave is a much more realistic
  2   but-for array than an array where Abbott's AWP
  3   goes from $10.50 let's say to $1.10 and everybody
  4   else's stays at $7, $8, $12, $14.
  5        Q.   But you just said, I believe, that if a
  6   company started with the highest price and then
  7   after the new array was created they still had
  8   the highest price, that in your opinion that
  9   would have no impact on the median.
 10        A.   With enough firms in the array, yes.
 11        Q.   The example we were discussing related
 12   to three different companies in the array.
 13        A.   Right.
 14             You know, I haven't done the analysis,
 15   and I'm just thinking of this on the top of my
 16   head, so I'm going to reserve the right not to be
 17   held to this. But if you have only three
 18   companies, then the middle one's going to be the
 19   median, the high one is going to be high, and the
 20   low one is going to be low.
 21             So if you were to take away the high
 22   one, well then you're left with two, and so
00236
  1   that's going to move the median if the high one
  2   disappears.
  3             But if you have let's say five or seven
  4   companies in the array, you're the highest
  5   before, you're the highest after, take that away,
  6   not take it away, but you're the highest before,
  7   you're the highest after, you're not moving that
  8   median. Your price was not determinative of the
  9   median before and it's not determinative of the
 10   median afterwards.
 11        Q.   Can you give me a concrete example of
 12   how it's possible for a price to be in an array
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 13   and not affect the median, other than a situation
 14   where there's two prices that are identical?
 15        A.    Well, I mean I think I talk about this
 16   in the report, or if I don't I'll give you a
 17   concrete example.
 18              If Abbott had an AWP of $12 and was the
 19   highest in the array and Abbott changes its AWP
 20   to $15 and everybody else kept their price the
 21   same, then Abbott's price change had no affect on
 22   the array, excuse me, had no affect on the
00237
  1   median.
  2        Q.    The price change to go from highest to
  3   remaining the highest --
  4        A.    Yes.
  5        Q.    -- would have no impact on the median?
  6        A.    Correct.
  7        Q.    What about the impact on the original
  8   array where it was the highest to begin with?
  9   Doesn't that not dictate what the median is?
 10        A.    Say that again.
 11        Q.    The starting point is an array where
 12   the Abbott product is $12.
 13        A.    Okay.
 14        Q.    So that price will be arrayed, and
 15   whatever ends up in the middle will be the median
 16   price; right?
 17        A.    Okay.
 18        Q.    If Abbott's product was eliminated from
 19   that array, the median would move to a different
 20   point; wouldn't it?
 21        A.    Yes.
 22              MR. BERLIN: Objection, form.
00238
  1              THE WITNESS: Right. But that's not
  2   the, that is an example that we were discussing,
  3   but that's not the example that is relevant here.
  4              The example that's relevant here is
  5   that if Abbott had the highest price with its
  6   original AWPs and Dr. Duggan calculates but-for
  7   AWPs for all three companies and Abbott remains
  8   the highest of the three, the point being that,
  9   okay, so let's say the new median goes from $10
 10   to $2, whether Abbott's AWP is $12 or $4 doesn't
 11   change the fact that the median went from $10 to
 12   $2.
 13              So if Abbott had kept its AWP at $12
 14   and everybody else moved, that median still would
 15   have dropped to $2, if I'm remembering my example
 16   correctly.
 17              That's what I'm getting at. It's that
 18   the alleged over, the alleged unlawful or
 19   whatever you want to call it reporting of AWP by
 20   Abbott did not affect the median because it was
 21   the highest before and it was the highest after.
 22   And if it had stayed at $12, the median still
00239
  1   would have fallen to $2 in my example, if you're
  2   still with me.
  3        Q.    So can you give me an example of a
  4   situation in which a price change would cause a
  5   change in the median?
  6        A.    I'm sorry. A price change? What kind
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  7   of price change are we talking about?
  8              Are we talking about Abbott changing
  9   the price, or are we talking about Dr. Duggan
 10   replacing one AWP with his but-for AWP? Which one
 11   are we talking about?
 12        Q.    Just in a hypothetical situation.
 13   Before you talked about the price going from $12
 14   to $15, highest to highest would still not cause
 15   a change in the median.
 16        A.    Oh, okay.
 17        Q.    What type of situation would cause a
 18   change in the median?
 19        A.    Sure.
 20              So if companies started out with an AWP
 21   that was below the existing median and then they
 22   raise their AWP to a price that was above the
00240
  1   original median, then that would cause the median
  2   to change.
  3        Q.    So in your example with the $12 as the
  4   highest price and let's say the median was $10
  5   and the lowest price was $8, if that person, the
  6   $8 product, moved to anything over $10, that
  7   would change the median?
  8        A.    Yes, I believe so, yes.
  9        Q.    Next you talked about how the
 10   manipulation of AWP in the Medicare arena can't
 11   be of benefit to a manufacturer.
 12        A.    Specifically that the manipulation of
 13   AWP cannot move market share, cannot increase the
 14   sales for a particular manufacturer, correct.
 15        Q.    Because the reimbursement would be the
 16   same for all three manufacturers?
 17        A.    However many manufacturers there are,
 18   yes.
 19        Q.    For as many manufacturers as exist,
 20   they would all get the same reimbursement;
 21   therefore, there would be no --
 22        A.    Right.
00241
  1              So even if I manipulate my AWPs so as
  2   to raise the reimbursement, that's not going to
  3   give customers any incentive to buy my product
  4   because even though the reimbursement went up,
  5   the reimbursement went up for all manufacturers'
  6   products. So there's no reason for them to
  7   switch from some other company to my product.
  8        Q.    Right.
  9              If there was a differential in the
 10   reimbursement, one company was higher, that would
 11   give an incentive. But that doesn't exist in the
 12   Medicare J-Code reimbursement system?
 13        A.    Specifically not regarding the AWP, no.
 14        Q.    Next you mentioned that there's no
 15   standards or rules regarding the creation of the
 16   arrays.
 17        A.    Right.
 18              As I understand it, there's no Medicare
 19   regulation on, an array has got to be this many
 20   NDCs, chosen this way in this reason.
 21              It's ad hoc, at least in practice, and
 22   that there's, while I understand Medicare may
00242
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  1   have like language about the intent of the
  2   arrays, but there's not in the same way, for
  3   example, the MMA, Medicare Modernization Act,
  4   actually has a formula in the legislation that
  5   says how AMP is going to be calculated.
  6             There's nothing like that, to my
  7   understanding, for how arrays are to be
  8   constructed.
  9        Q.   And that particular issue isn't a
 10   direct criticism of the methodology employed by
 11   Dr. Duggan. That's a failing of the underlying
 12   data itself?
 13        A.   Well, it's a failing of the underlying
 14   data itself, but it's a failing of the underlying
 15   data that Dr. Duggan ignores, which he just kind
 16   of blows by, and, again, assumes the entities
 17   that I don't have arrays for are just like the
 18   entities that I do have arrays for.
 19             And, again, absent such standards,
 20   absent such regulations on how these things are
 21   to be constructed, I maintain that that
 22   assumption has no basis.
00243
  1        Q.   And it only would have been appropriate
  2   to rely on the differing arrays if they were all
  3   identical; right?
  4        A.   No.
  5             It would make sense to, again, rely on
  6   the existing arrays if the arrays he had in his
  7   possession were constructed, again, pursuant to
  8   some regulation promulgated by CMS and you looked
  9   at the existing arrays and said yeah, everybody
 10   pretty much did this the way that they were
 11   supposed to.
 12             So, therefore, since the carriers I do
 13   have constructed their arrays according to these
 14   regulations more or less, I'm going to assume
 15   that the companies I don't have also constructed
 16   their arrays according to these regulations more
 17   or less. So that will allow me, by making that
 18   assumption I can extrapolate from the arrays that
 19   I do have to the arrays that I don't have.
 20             But that's not the same, as I believe
 21   you were saying, is that they all have to be
 22   exactly the same.
00244
  1             Again, it's just you need to have a
  2   basis, and that basis, for the assumption, and
  3   the basis needs to make sense. And, as I
  4   understand, he has no basis for the assumption,
  5   sensible or otherwise.
  6        Q.   So the arrays from the different
  7   carriers in order to perform this analysis don't
  8   need to be identical?
  9        A.   There needs to be a basis for the
 10   assumption that the arrays that I do have, excuse
 11   me, the arrays that I don't have are like the
 12   arrays that I do have, okay.
 13             That basis could come in many forms
 14   like evidence of how, you know, or, for example,
 15   a custom, here's the arrays I do have, for
 16   reasons completely unknown to me all of the
 17   arrays for J-Code 5240 look basically exactly the
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 18   same. They have the same number of drugs, they
 19   have the same companies, they have the same AWPs,
 20   there's no mistakes, everybody is kind of doing
 21   this the same way, I don't really know why. But
 22   if I look across these, there's very little
00245
  1   variation across the carriers in this period of
  2   time for the arrays that they create for this
  3   J-Code.
  4             So given that these were all the same,
  5   I'm going to make the assumption that these
  6   others are all the same, all right. So I'm going
  7   to extrapolate from the average of the ones I do
  8   have to the ones that I don't have. That would
  9   be a basis that we could kick around and decide
 10   whether that was reasonable or not.
 11             What I'm saying is we know they're not
 12   all the same. We don't know why they're not all
 13   the same. They're very ad hoc. They're supposed
 14   to be revised every quarter. They're not revised
 15   every quarter. There's all sorts of reasons that
 16   these things vary across time and across
 17   carriers.
 18             And Dr. Duggan makes absolutely no
 19   attempt in my opinion to say here's why this
 20   assumption is reasonable, here's the basis for
 21   this assumption, and then Dr. Hughes and I can
 22   kick around whether this basis is reasonable or
00246
  1   not.
  2             But right now he has every reason to
  3   believe exactly the opposite because the arrays I
  4   have differ across time and they differ across
  5   carriers.
  6             So I have every reason to believe the
  7   carriers that I don't have, their arrays will
  8   differ across time and differ across carriers.
  9             But speaking as Dr. Duggan, I'm going
 10   to ignore that and just extrapolate from the ones
 11   that I have to the ones that I don't have, and
 12   I'm just going to ignore the fact that the ones
 13   that I don't have may be wildly different from
 14   the ones that I do have, much like the ones that
 15   I do have being wildly different from one
 16   another.
 17             And, to me, that is an assumption
 18   without a basis. So his extrapolations are
 19   therefore baseless.
 20             He's just making an assumption and
 21   extrapolating out, and we have no idea whether
 22   these things are accurate, kind of accurate,
00247
  1   wildly inaccurate. We don't know one way or the
  2   other.
  3        Q.   But I want to understand what the
  4   standard is that you applied.
  5             You're not saying that before Professor
  6   Duggan could utilize the arrays for an
  7   extrapolation that they all need to be identical;
  8   right?
  9        A.   No.
 10             I am saying, again, that he needs to
 11   provide for me a basis in economics, in the data,
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 12   in his exhibits, in testimony, in documents from
 13   somebody or another that there is a valid reason
 14   for believing the arrays that I don't have are
 15   basically like the ones that I do have.
 16             That could, as I've explained over the
 17   past half hour a couple of different ways, that
 18   could come from, I mean I've given examples of
 19   ways that that could happen, a basis that could
 20   be provided that then we could debate whether Dr.
 21   Duggan and I agree that that basis was
 22   reasonable.
00248
  1             But my objection is the arrays he has
  2   aren't identical, they're not constructed in the
  3   same way, they're not revised in the same way,
  4   they differ across time, they differ across
  5   space.
  6             He has rather than any reason to
  7   believe that the arrays that he doesn't have are
  8   similar, in fact he has every reason to believe
  9   from the evidence that he does have that the
 10   arrays that he doesn't have are dissimilar, are
 11   not the same. And yet he just plows right ahead,
 12   says I'm going to extrapolate based on the
 13   average of the arrays that I do have, and I'm
 14   just going to assume that these things are
 15   basically the same.
 16             That leaves us in the situation that
 17   his extrapolations could be highly accurate. It
 18   leaves us with the situation that his
 19   extrapolations could be wildly inaccurate. And
 20   the reason for that is he has provided us with no
 21   reason to believe that the assumption that he is
 22   making has any validity whatsoever.
00249
  1             MR. BERLIN: Mark, will this be a good
  2   time to take a break, and then we'll work through
  3   until 5:00 after that?
  4             MR. LAVINE: No. Let's go for a little
  5   bit longer.
  6             How much time do we have left on the
  7   tape?
  8             THE VIDEOGRAPHER: Twenty minutes.
  9             MR. LAVINE: Let's get a little bit
 10   further and see if we can get through at least
 11   the Medicare issues before we turn to the
 12   Medicaid.
 13             THE WITNESS: I'm sorry. Didn't we
 14   already do Medicaid?
 15             It's your deposition. You ask me
 16   whatever you want. I'm sorry.
 17             MR. LAVINE: I think we covered some of
 18   it, but there's some additional matters.
 19             THE WITNESS: Okay. Go right ahead.
 20   It's your deposition. I should have shut up.
 21             MR. LAVINE: Can you read back the last
 22   sentence or two of his previous answer.
00250
  1             (The record was read back as
  2             requested.)
  3   BY MR. LAVINE:
  4         Q.  So am I right though that you have no
  5   opinion regarding the level of precision that
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  6   would be necessary in order to extrapolate from
  7   the existing arrays?
  8             MR. BERLIN: Objection, form.
  9             THE WITNESS: I don't think that's
 10   accurate.
 11             What I have said now several times is
 12   that when one makes an assumption, the assumption
 13   needs to be reasonable.
 14             The standard for the reasonableness of
 15   the assumption is can you point to some evidence,
 16   any kind of evidence, that says that this
 17   assumption is reasonable, has a basis in the
 18   facts of the case, has a basis in the practices
 19   in this case of the Medicare carriers, does it
 20   have any basis whatsoever.
 21             I am certainly not, I'm an economist,
 22   I'm not saying that you can do analyses all the
00251
  1   time, that you can always do analyses without
  2   making assumptions.
  3             I mean economists, and I'm included in
  4   this, we make assumptions in our analyses all the
  5   time.
  6             But one of the criticisms of Dr. Duggan
  7   is he makes assumptions, he doesn't always spell
  8   out the assumptions that he's going to be making.
  9   And when he doesn't spell out the assumptions
 10   that he's going to be making, or when he does or
 11   doesn't spell out the assumptions he's going to
 12   be making, he rarely if ever provides the basis
 13   for the assumption that he's making.
 14             So that's where I'm at on the Medicare
 15   arrays, is I might believe him if he can give me
 16   documents, if he can give me testimony, if you
 17   all can provide an affidavit that says that
 18   there's standard practice for this, these arrays
 19   followed the standard practice, everybody else
 20   follows the standard practice, I'm not going to
 21   have much of a problem with that.
 22             But that's not going to be, and that's
00252
  1   not going to be a situation where everybody is
  2   going to be exactly the same. But, more or less,
  3   there's a procedure that's followed, and, more or
  4   less, you can look at the arrays that we have and
  5   come to the conclusion that for the most part,
  6   not a hundred percent of the time, but for the
  7   most part people are following those procedures.
  8   And you give me that and say well, I'm going to
  9   then assume everybody else also follows those
 10   procedures, I don't have that much of an
 11   objection to that.
 12             Again, it's going to depend on what the
 13   evidence is that you give me that there are these
 14   procedures and everybody's following. You know,
 15   give me a basis and then let's kick around
 16   whether it's reasonable or not.
 17             But at this point Dr. Duggan hasn't
 18   given me any basis for that assumption. And the
 19   evidence that we do have suggests it's a very bad
 20   assumption. And that's what my objection is.
 21   BY MR. LAVINE:
 22         Q.  What is the standard that you're going
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00253
  1   to hold professor Duggan to beyond just saying
  2   that what he does needs to be reasonable?
  3             MR. BERLIN: Objection, form.
  4             THE WITNESS: I did not say what he
  5   does needs to be reasonable.
  6             I said that his, the assumptions that
  7   he makes need to have a reasonable basis in fact,
  8   that you're just not making some assumption
  9   because it's convenient but you have every reason
 10   to believe as I believe we have here to think
 11   that this assumption is not valid.
 12   BY MR. LAVINE:
 13        Q.   So if Professor Duggan had a reasonable
 14   basis in fact regarding his assumption that the
 15   Abbott products were used in the other arrays,
 16   then that would be an acceptable methodology, and
 17   your problem is he did not articulate that for
 18   you?
 19             MR. BERLIN: Objection, form.
 20             THE WITNESS: We're on to a different
 21   subject now. I mean what we were talking about
 22   before was the arrays he does have versus the
00254
  1   arrays that he doesn't have, right.
  2             But I am in basic agreement with you
  3   that if he says here's the assumption I'm going
  4   to make about the similarity or lack of
  5   similarity of the arrays I do have to the arrays
  6   I don't have, and he's made that assumption, he
  7   hasn't stated it but he's made the assumption
  8   that the arrays I don't have look like the arrays
  9   that I do have. He hasn't stated it but you can
 10   figure that out that he is assuming that, and he
 11   says in his report here's why I think making that
 12   assumption makes sense.
 13             To me, an unacceptable reason why this
 14   assumption makes sense would be something like I
 15   don't have anything else to do, this is all I
 16   got, and I got to use the arrays I have, and I'm
 17   just stuck with it, and so whether it's right or
 18   wrong I just got to use these arrays.
 19             That's not a reasonable basis for
 20   making the assumption. An assumption is a
 21   rebuttable presumption.
 22             So if he then were to say in his report
00255
  1   well, everybody knows that arrays are all
  2   constructed in the same way, everybody knows that
  3   Medicare has been on the phone with these folks,
  4   and everybody knows that there's some standards
  5   that are applied to these arrays, so the ones
  6   that I don't have are going to be just like the
  7   ones that I do have, okay, that's a basis.
  8             Then we get to kick around whether it's
  9   reasonable or not. And one measure whether it
 10   will be reasonable, okay, let's look at the
 11   arrays that you do have, are they constructed the
 12   same way, do they have the same number,
 13   constructed the same way, are they constructed
 14   according to the standard that you say has been
 15   communicated to the carriers by CMS or HCFA or
 16   whoever is in charge at the time.
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 17             If it does, fine. Then we may well
 18   agree that this was a reasonable assumption with
 19   a reasonable basis.
 20             An example of a more reasonable basis,
 21   as I've said before, is that if there were
 22   Medicare regulations that said here's how you do
00256
  1   arrays, and that the arrays that Dr. Duggan had
  2   in his possession, again, not a hundred percent
  3   of the time but the vast majority of the time
  4   it's clear that these carriers followed those
  5   regulations in constructing those arrays.
  6             And so then he says in his report well,
  7   everybody that I do have is following these
  8   regulations fairly closely, so I think it's a
  9   reasonable assumption to make that the people
 10   that I don't have also followed these regulations
 11   reasonably closely. So I'm going to assume that
 12   the arrays that I have are the same as the arrays
 13   that I don't have.
 14             He and I could kick that one around and
 15   I may well come to agree with him yeah, under the
 16   circumstances that's reasonable because the
 17   evidence that we have both of the regulations and
 18   how those regulations are or are not reflected in
 19   the arrays that we have matches up well enough
 20   such that yeah, okay, I can see that being
 21   reasonable.
 22             But we're in a situation now where he's
00257
  1   just simply making an assumption, and he's
  2   provided me, not provided to me, he provides the
  3   reader with no basis for why that should be
  4   reasonable.
  5             And, the evidence that he does have in
  6   his possession, the arrays that he does have,
  7   suggests that that assumption is not reasonable
  8   because these arrays vary greatly in the way that
  9   they're constructed and the way that they're put
 10   together across carriers and across time.
 11   BY MR. LAVINE:
 12        Q.   And another consequence of that issue
 13   is that there would have been no way for Abbott
 14   to have known whether it would have gotten a
 15   benefit from any alleged AWP manipulation?
 16             MR. BERLIN: Objection, form.
 17             THE WITNESS: No. That's not quite
 18   what I said.
 19   BY MR. LAVINE:
 20        Q.   I apologize. Correct me.
 21        A.   No, that's okay.
 22             What I was saying was because of the
00258
  1   variability and the kind of ad hoc nature with
  2   which the arrays are constructed, that if, as the
  3   government proposes, Abbott set out to manipulate
  4   the AWP to its own advantage, given that nobody,
  5   including the carriers, including CMS or HCFA,
  6   nobody seems to know with any regularity how
  7   these arrays are constructed, and Abbott, as far
  8   as I know, has no better information from the
  9   carriers than CMS would have or some other
 10   government agency would have, then it just
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 11   strikes me that there's no particular way that
 12   Abbott would know enough about the arrays in
 13   order to manipulate their AWP such that they
 14   could gain.
 15             But then follow that with the point
 16   that even if they could, they still couldn't gain
 17   from manipulating the AWP because even if they
 18   raised the reimbursement to their customers, the
 19   higher reimbursement is paid on Abbott products
 20   and is paid on everybody else's products.
 21             So it would be, even if they had the
 22   intent to do it and even if they could do it, it
00259
  1   would be futile to try to increase your market
  2   share by manipulating the AWP in order to
  3   increase the Medicare reimbursement in hopes of
  4   getting more sales for Abbott because the higher
  5   reimbursement would go to the customers of the
  6   manufacturers of all the products in the array.
  7         Q.  Unless the higher reimbursement favored
  8   one particular manufacturer, it wouldn't be of
  9   any benefit to the manufacturer at all?
 10         A.  Could you clarify what you mean by the
 11   higher reimbursement benefiting one manufacturer?
 12         Q.  Well, you said that since the increase
 13   of any AWP manipulation under the J-Code system
 14   in the Medicare program would be to the benefit
 15   of every manufacturer's product reimbursed under
 16   that J-Code, that there could be no way to favor
 17   one particular manufacturer; right?
 18         A.  Not quite. Let me see if I can unpack
 19   that.
 20             The AWP manipulation, if it happens,
 21   would not, the higher reimbursement would not
 22   inure to the benefit of the manufacturer because
00260
  1   the reimbursement goes to the customer, the
  2   reimbursement does not go to Abbott or Baxter or
  3   whoever the other manufacturers might be.
  4             So I think you said the higher
  5   reimbursement benefit to manufacturers, and I
  6   guess I want to take issue with that, that the
  7   higher reimbursement would be to the benefit of
  8   the customers.
  9             The hope in the hypothetical then is
 10   that if I'm manipulating my AWP and getting my
 11   customers higher reimbursement, well, then
 12   they'll buy more of my products. But the problem
 13   is if they're buying my competitors' products,
 14   they're also getting the higher reimbursement.
 15             So that higher reimbursement in and of
 16   itself from my AWP manipulation gives my
 17   competitors' customers no reason to switch from
 18   them to me. And so I can't benefit from that
 19   manipulation.
 20         Q.  So unless the higher reimbursement
 21   benefited the customers of a particular
 22   manufacturer, it wouldn't provide any incentives
00261
  1   to do any AWP manipulation?
  2         A.  Unless the AWP manipulation favored the
  3   customers of one manufacturer, which in reality
  4   they do not, then it would go to the benefit of
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  5   the manufacturer.
  6              But, again, to be clear, the change in
  7   reimbursement does not favor any one
  8   manufacturer.
  9         Q.   In the Medicare program?
 10         A.   In the Medicare program. Thank you.
 11         Q.   Now, a few minutes ago you mentioned
 12   that no one knows how the arrays are constructed.
 13   Am I quoting you right on that?
 14         A.   Maybe. Unfortunately, if so. I mean
 15   certainly the people who construct the arrays
 16   know what they did. But, again, I'm not aware of
 17   any standards.
 18              Like I say, as I understand, I believe
 19   there are, you know, things about you're supposed
 20   to update them, you have to conclude that, you
 21   know, but there's no, again, shall we say formula
 22   in the same way that AMP is reported to Medicaid
00262
  1   or AMP is calculated under the MMA or anything
  2   like that.
  3              So that's the sense in which I mean
  4   there's not a consistent method for constructing
  5   the arrays. So, therefore, looking at it, hand
  6   me an array or hand the head of CMS an array from
  7   a particular carrier at a particular point in
  8   time.
  9              It's not like there's some formula that
 10   that person could look to and say oh, here's how
 11   it was constructed.
 12         Q.   Is there some or what is the evidence
 13   that you're relying upon for that point?
 14         A.   Well, if you look at the arrays that we
 15   do have, and if I recall I believe Dr. Duggan
 16   himself says that the arrays vary greatly in his
 17   report.
 18         Q.   So by looking at the arrays, you can
 19   tell they're different between one carrier and
 20   another?
 21         A.   If there's a formula, we don't know.
 22   You can't figure out what the formula is by
00263
  1   looking at the arrays, if one does exist.
  2         Q.   Is there any other basis for that?
  3         A.   I do not have depositions memorized,
  4   but I seem to remember a deposition from a
  5   Medicare official, but I'm not going to promise
  6   that that's correct.
  7              I have vague recollections of a lot of
  8   things. There may be such testimony, but I just
  9   can't call it up at the moment.
 10         Q.   The last point I remember you saying,
 11   and I think it's fair to characterize it as a
 12   summary statement but correct me if I'm wrong --
 13         A.   Okay.
 14         Q.   -- is that you said that Dr. Duggan's
 15   approach ignores the way that the system works.
 16              MR. BERLIN: Objection.
 17   BY MR. LAVINE:
 18         Q.   Is that a summary of all the other
 19   issues wrapped up together?
 20              MR. BERLIN: Objection, form.
 21              THE WITNESS: Yes and no.
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 22              I mean I think it's a bit overstated
00264
  1   because I was I think at the end of a rather long
  2   monologue.
  3              But, again -- I'll be as quickly as
  4   possible -- certainly what I meant by that
  5   statement is that changes have consequences,
  6   people have testified to what those consequences
  7   are.
  8              The system works a certain way. Prices
  9   give incentives. Regulations give incentives.
 10              The idea that you can change one thing
 11   without having other things change or without
 12   having people's incentives and people's actions
 13   change is belied by just about every report and
 14   tons and tons of testimony.
 15              So in that sense I was saying yes, he's
 16   ignoring the consequences of what he says would
 17   happen. So, yes, he's ignoring the way the
 18   system works. That's what it was summing up.
 19              MR. LAVINE: Let's take a break.
 20              THE VIDEOGRAPHER: Going off the record
 21   at 4:12 p.m.
 22              (A recess was taken.)
00265
  1              THE VIDEOGRAPHER: Beginning of
  2   Videotape No. 5. We're back on the record at
  3   4:32 p.m.
  4   BY MR. LAVINE:
  5        Q.    Have we now discussed all of the
  6   reasons that in your opinion Professor Duggan's
  7   model regarding Medicare damages was flawed?
  8              MR. BERLIN: Objection, form.
  9              THE WITNESS: I want to say I think so,
 10   but I suppose I should be sure.
 11              MR. BERLIN: I just want to state an
 12   objection so there's no claim of waiver that our
 13   disclosure -- you can keep looking -- I mean I'm
 14   not suggesting one way or another whether there
 15   is something left or not, but the disclosure is
 16   the full disclosure, and anything disclosed in
 17   the deposition or in the report is his
 18   disclosure.
 19              So to the extent there's something in
 20   the report that he hasn't now discussed, we're
 21   not waiving his opinion as to it. And I don't
 22   think you're permitted to chop out something that
00266
  1   might be in the report because he doesn't
  2   remember to bring it up.
  3              I think it's your obligation to look at
  4   the report and see if there's something else that
  5   hasn't been discussed.
  6              MR. LAVINE: I disagree.
  7              MR. BERLIN: I mean I don't think it's
  8   open to disagreement. Quite frankly, you're
  9   wrong.
 10              MR. BREEN: I disagree too.
 11              MR. BERLIN: Well, of course you do.
 12              MR. BREEN: So it must be open to
 13   disagreement.
 14              MR. BERLIN: I'm sure you wouldn't even
 15   have listened to what he said and you would agree
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 16   with him and disagree with me.
 17             MR. BREEN: No. That's not true.
 18             THE WITNESS: Okay. Are we done?
 19             MR. BERLIN: Yes. The attorneys are
 20   done. You may answer the question with my
 21   caveat.
 22             THE WITNESS: Okay. To the best of my
00267
  1   knowledge sitting here, yes, I believe we have
  2   discussed all of my objections to Dr. Duggan's
  3   analysis of the Medicare program.
  4             MR. BERLIN: And so I don't have to
  5   disturb your deposition again, that objection
  6   will hold to any extent you ask him is there
  7   anything else.
  8             MR. LAVINE: You know, I don't think we
  9   need your objection on that.
 10             Some day if we file a motion on this
 11   basis, you can make your legal argument.
 12             MR. BERLIN: The reason --
 13             MR. LAVINE: But we don't need to have
 14   the deposition interrupted for you to state that.
 15             MR. BERLIN: That's what I just said.
 16             And the reason I said it now is so that
 17   you would not be arguing waiver because I didn't
 18   state it at some point. And I specifically said
 19   that I was only going to state it once so that I
 20   would not disturb your deposition.
 21   BY MR. LAVINE:
 22        Q.   All right. I wanted to move on to
00268
  1   Medicaid related issues.
  2        A.   Okay.
  3        Q.   The first thing that you mentioned
  4   regarding your opinions as to the Medicaid
  5   program was that Professor Duggan based his
  6   analysis on incomplete data; is that correct?
  7        A.   Correct.
  8        Q.   And your position on that is that
  9   Professor Duggan's analysis was only based on
 10   nine states, and that you don't count Indiana
 11   because that was an extrapolation based upon
 12   Illinois data.
 13        A.   Correct.
 14        Q.   And that because more data was
 15   available to Professor Duggan, the extrapolation
 16   itself was needless. And that's another reason
 17   the damage methodology is flawed.
 18        A.   Yes. I would agree with that.
 19             And that in my opinion as an economist
 20   if you, in this day and age with computing power
 21   being cheap and reasonably accessible, that it's
 22   clear as Dr. Duggan points out in his rebuttal
00269
  1   report that extrapolations are likely to end up
  2   being higher or lower than the actual difference
  3   that one would calculate because after all you're
  4   not using the actual data, you're extrapolating
  5   from one set of estimates that you've made to
  6   another population or another sample.
  7             So that's the basis for my saying that
  8   he's needlessly introducing error into his
  9   estimates because he's extrapolating where he
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 10   could have used the actual data for some or all
 11   of those thirty-eight states.
 12             I understand that the computer
 13   programming is extensive, that was undertaken,
 14   but once the basic programs are written, exposing
 15   those programs to additional data, modifying an
 16   existing program is a lot less work than writing
 17   a program from scratch.
 18             And since claims data has some degree
 19   of consistency across states, that you have
 20   roughly the same information from one state to
 21   the next.
 22             So Dr. Duggan and I may disagree, but
00270
  1   it seems to me when you have, you know, why
  2   estimate when you can calculate.
  3             THE WITNESS: I should go into
  4   advertising.
  5             MR. BREEN: Let me write that down.
  6   BY MR. LAVINE:
  7        Q.   The next point you mentioned was that
  8   in the rebuttal report he goes on to use some
  9   data to counter some of your points that in your
 10   opinion he could have just used to begin with?
 11        A.   Well, I must admit, it's not crystal
 12   clear to me exactly what he did in the rebuttal
 13   report, but it sounds like from what I read in
 14   the rebuttal report, it sounds like he's saying
 15   something along the lines of well, okay, I'm
 16   going to use some of the data that Dr. Hughes
 17   says I should have used, recalculate my
 18   difference, and guess what, I find out that the
 19   difference is actually higher than what I
 20   estimated through my extrapolation. That's my
 21   recollection of what he's saying in the rebuttal.
 22             And if it was that easy to do the
00271
  1   calculations with the available data such that he
  2   does it on relatively short notice in a rebuttal
  3   report, again, why not do it, you're his
  4   employer, if he's getting a higher difference by
  5   using the actual data, why are you putting up
  6   with an estimate that underestimates the true
  7   damages? I mean, again, if you have the data,
  8   why not use it.
  9             So I thought the argument might be
 10   well, it's way too complicated to do, but it
 11   seems that he's doing it in the rebuttal report.
 12   So that just strengthens my argument.
 13             By the way, his conclusion in the
 14   rebuttal report that well, if I do it using the
 15   actual data the difference comes out to be
 16   higher, that's consonant with my conclusion in my
 17   report that because he's using these
 18   extrapolations, that his results are inaccurate
 19   and unreliable.
 20             And he's in effect, to me, demonstrated
 21   that because when he's used the actual data, he's
 22   gotten a difference that is in fact different
00272
  1   from what he calculated using the estimates.
  2   Ergo, his initial estimates were in fact
  3   inaccurate.
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  4         Q.  So what is the methodology that
  5   requires that Professor Duggan have used
  6   additional data that was available?
  7         A.  My understanding and opinion about best
  8   practices in economics is that if you have a
  9   dataset sitting there, why sample from it, why
 10   use a subset of the data if you actually have the
 11   data.
 12             Especially when he demonstrates in his
 13   rebuttal report that to use this additional data
 14   was not an insurmountable obstacle.
 15             But, again, it's my understanding that
 16   the best practice is that you use the data that's
 17   available to you, especially if the alternative
 18   is to ignore the dataset that's sitting in your
 19   hand and make guesstimates about what is going on
 20   in those areas through extrapolation.
 21             You can calculate the actual number.
 22   So why don't you go ahead and do so.
00273
  1         Q.  But are you saying that if the data is
  2   in the possession of an economist, in every
  3   circumstance he absolutely has to use it?
  4             MR. BERLIN: Objection, form.
  5             THE WITNESS: Well, again, give me a
  6   basis why not.
  7             Speaking to another economist, I'm
  8   going to extrapolate, thereby again assuming that
  9   the states I'm extrapolating to are the same as
 10   the states that I'm extrapolating from.
 11             When you have the data, that's a
 12   testable hypothesis, right. You can actually say
 13   okay, well, how accurate are these
 14   extrapolations.
 15             And Dr. Duggan speaks to that in his
 16   rebuttal report, and, in fact, concludes that his
 17   extrapolations are somewhat inaccurate because he
 18   comes up with a higher calculation for difference
 19   when he uses the actual claims data.
 20             But if you, you know, again, if you
 21   have a basis whereby a researcher were to say
 22   every single state has a different format for the
00274
  1   data, they're collecting the same information but
  2   they have a different format for the data.
  3             So every single time I want to do
  4   analysis on one of these states, I've got to
  5   write from scratch an entire new STATA or a SAS
  6   or whatever programming language you're going to
  7   use, I have to write an entire new program.
  8             That strikes me as a basis that, again,
  9   we can discuss whether that's a reasonable basis
 10   for ignoring data in your possession and using
 11   extrapolation instead.
 12             Again, I am unaware of any basis that
 13   Dr. Duggan has provided that says these ten
 14   states, sorry, these nine states are at all
 15   representative of the, that I have reason to
 16   believe that these nine states are representative
 17   of the other thirty-nine states that he works
 18   with, and absent such basis calls the validity of
 19   the assumption into question.
 20   BY MR. LAVINE:
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 21        Q.   So it would be acceptable to not use
 22   data in the possession of an economist as long as
00275
  1   there's a reasonable basis therefore and that
  2   reasonable basis is articulated?
  3        A.   Again, once you propose a basis and
  4   state that it's reasonable, then that becomes a
  5   rebuttable presumption that reasonable economists
  6   can debate and may agree or may disagree.
  7             But at least then you're telling the
  8   reader of your report, you're telling the reader
  9   of your research, here's why I made the choices
 10   that I made, and here's why I think that they're
 11   reasonable, and then reasonable people can
 12   discuss this and decide whether it is in fact
 13   reasonable.
 14             But if as it appears in this case there
 15   was no particular barrier to using the other data
 16   that was in his possession and when he did use it
 17   in rebuttal it shows that in fact his original
 18   estimates were inaccurate, then it seems to me
 19   that it behooves him to use the data, use all of
 20   the data, that's available to him.
 21        Q.   So if you have data and you don't use
 22   it, there needs to be a reasonable basis for not
00276
  1   using it?
  2        A.   When you have data and you don't use it
  3   and you extrapolate into those areas where you
  4   have data, you are by definition introducing
  5   error into your estimates because they're
  6   estimates, they're not calculations from the
  7   actual data. So you're assuming that Illinois is
  8   like New Hampshire, all right.
  9             When you have data on New Hampshire,
 10   I'm trying to think of the word I want to use,
 11   all I can come up with at this hour of the day is
 12   a phrase I always use with my students is that's
 13   something you should be testing rather than
 14   assuming.
 15             So if it's testable whether New
 16   Hampshire is like Illinois, then a researcher
 17   should be testing that.
 18             If it's not testable, well, then you
 19   state the assumption clearly that I don't have
 20   any information on New Hampshire, I don't have
 21   any choice but to extrapolate, and here are the
 22   reasons that I think that New Hampshire looks
00277
  1   like these other nine states. And then that's
  2   something that the readers and the author can
  3   discuss as to whether that's a reasonable basis
  4   or not.
  5        Q.   So if there's a reasonable basis for
  6   not using the data, that's acceptable?
  7             MR. BERLIN: Objection, form.
  8             THE WITNESS: Well, you know, I will
  9   agree with you on that.
 10             But, again, one has to state such a
 11   basis, and it's my opinion that Dr. Duggan
 12   doesn't do much to state what the basis for
 13   making this assumption was.
 14             And I would also argue that whatever
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 15   basis he does apply, whatever basis he does put
 16   forth for omitting the data, seems to be given
 17   lie to by his then turning around and using those
 18   data in his rebuttal report.
 19             If it was too hard, if it was too
 20   complicated, then it shouldn't have shown up in
 21   his rebuttal either.
 22   BY MR. LAVINE:
00278
  1        Q.   But the concept of extrapolation
  2   though, you're not suggesting that that's not an
  3   acceptable methodology in the field of economics?
  4        A.   As a broad general term, no.
  5             But like any mathematical tool,
  6   extrapolation can be done well or extrapolation
  7   can be done poorly.
  8        Q.   And if the extrapolation gives you a
  9   result that's not materially different than some
 10   other analysis, that would be acceptable; right?
 11        A.   Well, I'm not sure exactly what you
 12   mean by "some other analysis."
 13             I guess I'm just going to ask you to
 14   take another crack at that. I'm not sure exactly
 15   what your question is.
 16        Q.   Well, do you characterize the
 17   difference between the result that Professor
 18   Duggan got by extrapolation and the result that
 19   he later got after doing a claims level analysis
 20   as part of his rebuttal as a material difference
 21   between the two numbers?
 22        A.   He certainly seemed to think so, that
00279
  1   look at this, the difference is going to rise by
  2   this much percent.
  3        Q.   Material to the issue in this case --
  4             MR. BERLIN: Objection.
  5   BY MR. LAVINE:
  6        Q.   -- of calculating damages caused by
  7   Abbott to the Medicare and Medicaid programs?
  8             MR. BERLIN: Objection, form.
  9             THE WITNESS: Again, I have to say I'm
 10   not positive exactly what you're asking.
 11             One thing that would have helped us is
 12   if Dr. Duggan had said I did it this way, I did
 13   it that way, the difference in the two difference
 14   calculations is or is not statistically
 15   significantly different. But he provides no test
 16   for that.
 17             It would be possible to do an
 18   extrapolation and then do a calculation with the
 19   data, run a statistical test to say are these two
 20   results statistically significantly different
 21   from one another.
 22             If they are, then economists would say
00280
  1   these two methodologies are not the same in a
  2   statistical sense, or I'm sorry, do not give the
  3   same result in a statistical sense.
  4             And if it's not statistically
  5   significantly different, then economists would
  6   generally conclude that either method, the
  7   methods give, statistically speaking, the same
  8   result. And so there's no reason to choose one
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  9   over the other.
 10             But just to say well, this is .2
 11   percent higher done with claims data than done
 12   through extrapolation, is that a lot or is that a
 13   little, I don't have a, I cannot articulate a
 14   standard for saying that that's a lot or that's a
 15   little.
 16         Q.  So you don't have an opinion as to
 17   whether the differential between the two methods
 18   that he employed are material to this case?
 19         A.  Well, again, he seemed to think they
 20   were material because after he did the
 21   calculation, he says to me through his rebuttal
 22   report, see, if I did it differently, this would
00281
  1   have come out, the difference calculation would
  2   have come out higher.
  3             And then he doesn't say but, by a
  4   statistically insignificant amount or by an
  5   amount that really doesn't matter. He says look,
  6   it's different.
  7             So I will follow him, and it seemed it
  8   was material enough for him to point it out.
  9         Q.  But you haven't done any such analysis;
 10   correct?
 11             MR. BERLIN: Objection, form.
 12             THE WITNESS: I don't have access to
 13   the data, no. I haven't been asked to conduct
 14   any such analysis.
 15   BY MR. LAVINE:
 16         Q.  Also with the Medicaid program, you
 17   said that your other major criticism of Professor
 18   Duggan was the manner in which his but-for world
 19   was created.
 20             Are there any differences between your
 21   criticisms of the but-for world in the Medicaid
 22   arena as compared to the Medicare arena?
00282
  1         A.  Well, generally no. But specifically
  2   yes.
  3             Again, there are numerous bits, not
  4   numerous bits, numerous pieces of evidence from
  5   testimony, from reports, from government
  6   publications, speaking to the consequences for
  7   access and speaking to the consequences for the
  8   viability of providers if ingredient costs are
  9   reduced. And, again, as I've said earlier, Dr.
 10   Duggan does nothing to take this into, does
 11   nothing to take this into account.
 12             So he is, again, ignoring specifically
 13   lots of evidence in this matter that suggests
 14   that the way he has characterized the but-for
 15   world is not an accurate representation of the
 16   world that would have existed absent the alleged
 17   wrongful behavior of Abbott in this matter.
 18         Q.  Because, again, you are of the opinion
 19   that if he lowered the ingredient cost the way he
 20   did in his method, there needed to have been some
 21   way of accounting for increased dispensing fees
 22   that would have been necessary as a result of
00283
  1   that?
  2         A.  Well, I mean that's one part of it.
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  3             But the other part is of course that to
  4   reduce, according to the testimony that I read,
  5   to reduce ingredient costs by that amount while
  6   assuming everything else, particularly dispensing
  7   fees, stays constant, remain constant, that that
  8   would threaten patient access to the Medicaid
  9   system. And that would violate the mandate in
 10   the Medicaid law that requires that Medicaid
 11   recipients have the same access to medical care
 12   as nonMedicaid recipients, a mandate that is
 13   co-equal in my understanding with the mandate to
 14   keep the costs of the program low.
 15        Q.   I'm not sure I understand how this
 16   criticism is different than the similar criticism
 17   you've leveled in connection with the Medicare
 18   program.
 19             You're saying that dispensing fees and
 20   the ingredient cost need to be considered
 21   together. If you don't consider it together,
 22   it's an unrealistic but-for world. And one of
00284
  1   the reasons for that is because of the access
  2   issues that may result from not doing that.
  3             Is there anything else in that?
  4        A.   Well, but I mean the other thing is
  5   that of course this is a state-by-state program
  6   and that these plans are approved on a
  7   state-by-state basis.
  8             So that how states are going to or how
  9   the evidence shows that states balance access
 10   versus cost issues, how states approach cost
 11   containment. I mean when state budgets get bad,
 12   they often just go after Medicaid. So it may
 13   have very little to do with the issues that may
 14   be active in this matter.
 15             So there's the added part here is that
 16   because these things are determined on a
 17   state-by-state basis, that there's going to be
 18   some variance in these consequences when
 19   ingredient costs are attempted to be lower.
 20             I mean if you look at the evidence,
 21   some states, over the period of this lawsuit,
 22   some states were able to reduce their ingredient
00285
  1   cost by a little bit. Some of them raised
  2   dispensing fees, some of them didn't.
  3             But it remains the case that nobody had
  4   the kind of wholesale Draconian cut in ingredient
  5   cost that Dr. Duggan proposes in his report.
  6        Q.   So is this criticism at least in part
  7   that Professor Duggan doesn't account for the
  8   individual differences between the state Medicaid
  9   programs?
 10        A.   Well, in some of his, in some of his
 11   data analysis he certainly, you know, he
 12   certainly does.
 13             I mean he takes into account if a state
 14   has a MAC for a drug for example. So I mean
 15   there are differences that he certainly does
 16   attempt to take into account.
 17             But on the bigger picture, on the
 18   consequential issues that what happens when you
 19   lower ingredient costs by so much, how are states
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 20   going to react, how are providers in states going
 21   to react, the evidence seems to suggest that some
 22   states worry more about access than others.
00286
  1             So how much you would actually be able
  2   to lower ingredient costs and still keep the
  3   viable network of providers would vary from state
  4   to state.
  5             But, again, my criticism is he
  6   absolutely ignores all of that because he assumes
  7   that the provider networks stay the same,
  8   dispensing fees stay the same, everything stays
  9   the same, but in some states he can cut the
 10   reimbursements by ninety percent and have nothing
 11   happen. And that just seems unrealistic to me.
 12        Q.   So are you also of the opinion that the
 13   manner in which the extrapolation was performed
 14   had some mathematical flaw?
 15        A.   Well, it was, again, unnecessary in
 16   many cases.
 17             It requires the making of assumptions
 18   that Dr. Duggan does not state for us what those
 19   assumptions are.
 20             I did not in my review of his report,
 21   and I did not review the data, but in my review
 22   of his report I did not detect that his
00287
  1   subtraction was in any way flawed, no.
  2        Q.   Is that a review you understood to be
  3   handled by Huron Consulting?
  4        A.   Not specifically, but I suppose that it
  5   was. I mean nobody ever said to me yes, that's
  6   what's Huron is doing. But I assume that's what
  7   Mr. Young did.
  8        Q.   That never came up in any conversation
  9   with counsel as to shouldn't there be somebody
 10   looking at the actual data in this case?
 11        A.   Oh, there's all sorts of experts Abbott
 12   has. I couldn't tell you what any of them are
 13   doing specifically.
 14             It wasn't anything that was discussed
 15   with me. And I never asked. I mean outside of
 16   Mr. Young, I actually couldn't name any of the
 17   other Abbott experts.
 18        Q.   And you didn't make any recommendations
 19   as to type of data analysis that might be done in
 20   connection with this case?
 21        A.   Only to the extent that things appeared
 22   in the exhibits to my report.
00288
  1        Q.   Have we covered all of the issues
  2   related to the Medicaid program?
  3        A.   I doubt that.
  4        Q.   We talked about the need for incomplete
  5   -- additional data could have been obtained and
  6   was not, that the but-for world was unrealistic
  7   for the various different reasons, failure to
  8   state assumptions in how Professor Duggan
  9   addressed the differences between the states.
 10        A.   Well, if I could add that we have not
 11   covered, in this section of the deposition, we
 12   haven't covered my opinion that he focuses
 13   wrongly on ingredient costs in isolation and he
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 14   does not pay any attention to the total
 15   reimbursement to providers.
 16             So he doesn't pay any attention to
 17   whether or not providers would be receiving a
 18   remunerative reimbursement that would allow them
 19   to remain in the program, or not allow them to
 20   remain in the program but give them the incentive
 21   to remain in the program because they were able
 22   to cover their costs by so doing. So that gets
00289
  1   at dispensing fees and other things.
  2             The other item that we have not covered
  3   is that the but-for ingredient cost that Dr.
  4   Duggan proposes, I note that in the almost
  5   fifteen years, fourteen years, since this action
  6   has been filed, if his characterization of the
  7   but-for world were accurate, one would expect
  8   that there would be a state out there that would
  9   have seen the problems with the way that
 10   companies were reporting or seen the problems
 11   with the way that the reimbursement system was
 12   constructed.
 13             And if his vision of the but-for world
 14   is correct, then we should have seen somewhere
 15   along the line a state that would have modified
 16   its reimbursement scheme in such a way as to
 17   mimic that which Dr. Duggan proposes for the
 18   but-for world.
 19             So if we were to negate the allegedly
 20   wrongful reporting of Abbott and other companies,
 21   that all that was required to keep a viable
 22   network in Medicare, excuse me, Medicaid going,
00290
  1   that we could reduce our, that states could
  2   reduce their ingredient cost reimbursements by
  3   seventy, eighty, ninety percent for these drugs
  4   and other drugs, that we should have seen a state
  5   program adopt a reimbursement system similar to
  6   that proposed by Dr. Duggan.
  7             And he provides no evidence and I'm not
  8   aware of any state that has implemented a method
  9   for calculating ingredient cost that comes
 10   anywhere near the low unremunerative ingredient
 11   cost that Dr. Duggan has in his report.
 12             The other facet to that is that, again,
 13   when the federal government took up the issue of
 14   the alleged problems with the companies reporting
 15   and the way that this reporting found its way
 16   into reimbursement systems, when the federal
 17   government and Congress took this up and weighed
 18   all of the considerations of cost and access and
 19   everything else that goes into the complex system
 20   that is Medicaid, that if Dr. Duggan were right
 21   the resulting revised system passed by the
 22   Congress should have resembled the system that is
00291
  1   proposed by Dr. Duggan in his report.
  2             But not only did the new system that
  3   was enacted through the Deficit Reduction Act not
  4   resemble Dr. Duggan's reimbursement method, but
  5   it was a reimbursement system that actually wound
  6   up with substantially higher reimbursements for
  7   the drugs at issue in this matter than were
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  8   present under the current, under the original
  9   system, the system that's at issue here.
 10              So, again, at every turn everywhere you
 11   might look for a valid vision of the but-for
 12   world, and by "valid vision" I mean one supported
 13   by the world outside these walls or one supported
 14   by the testimony and evidence in this case, you
 15   don't see anything that vaguely resembles Dr.
 16   Duggan's proposed but-for reimbursement system.
 17              And for that reason I think that his
 18   vision of the but-for world is inadequate to the
 19   task that he puts it.
 20        Q.    And the method though that you used to
 21   reach that determination was an examination of
 22   the laws in place currently?
00292
  1        A.    Well, the laws that have been passed,
  2   the laws that have been passed by Congress, yes.
  3              MR. BERLIN: Mark, I notice it's after
  4   5:00 o'clock. Should we break for the evening?
  5              MR. LAVINE: Yes. Can we do just a
  6   couple more minutes?
  7              MR. BERLIN: You have a couple more
  8   minutes?
  9              MR. LAVINE: I didn't say one question.
 10   I didn't go that far.
 11              MR. BERLIN: I didn't say that.
 12              MR. LAVINE: No. I just said when a
 13   lawyer says one question --
 14              MR. BERLIN: Go ahead.
 15              MR. LAVINE: Yes. It won't take long.
 16   BY MR. LAVINE:
 17        Q.    You did a review of the laws that had
 18   been passed, but you didn't go in and do any data
 19   analysis to show the degree to which there might
 20   be a difference between Professor Duggan's
 21   approach and the current method utilized by any
 22   other state Medicaid program; right?
00293
  1        A.    I did in my report. And it appears in
  2   two of the exhibits. I did show the differences
  3   between the reimbursements under DRA versus the
  4   reimbursements proposed by Dr. Duggan to
  5   illustrate that they were indeed substantially
  6   different.
  7        Q.    You're referring to the example
  8   regarding the Federal Upper Limit?
  9        A.    Do we have a copy of my exhibits? That
 10   would probably be the quickest way to do it.
 11              Oh, the exhibits are here. I'm sorry.
 12   I have them. They're not marked.
 13        Q.    Well, if it'll just refresh your
 14   recollection, go ahead and take a look, and we'll
 15   bring them out tomorrow to follow up.
 16        A.    Okay.
 17        Q.    We only have a couple minutes left.
 18              MR. BERLIN: We had a couple minutes
 19   left a couple minutes ago.
 20              THE WITNESS: Okay. I'm sorry. Oh,
 21   no, here it is. Exhibit 9 in my report compares
 22   --
00294
  1   BY MR. LAVINE:
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  2        Q.    That is the FUL based upon two hundred
  3   fifty percent of the AMP; right?
  4        A.    Yes, correct.
  5        Q.    Any other analysis that you did,
  6   data-based analysis?
  7        A.    It seems to me I might have asked Huron
  8   to do this for a few more NDCs, but, you know,
  9   since it's all the same four products, it wasn't,
 10   you know, I got one of each of the four products.
 11        Q.    And to the extent there was some
 12   additional work done, it would show up in the
 13   backup supporting materials that were produced?
 14        A.    I would assume so.
 15              I mean at this point I remember
 16   discussing how many of these to do, but I
 17   absolutely can't swear how many of them they
 18   actually did. I guess I'll leave it at that.
 19              But if they did it, I would expect it
 20   to be in that backup documentation, yes.
 21              MR. LAVINE: All right. I mean I don't
 22   mind going later, but I guess you're saying we're
00295
  1   near the end.
  2              MR. BERLIN: We're here tomorrow;
  3   right?
  4              MR. LAVINE: Yes, sure. Well, I w as
  5   hoping to try to close out the summary opinion
  6   stuff. We'll pick up in the morning.
  7              THE VIDEOGRAPHER: Going off the record
  8   at 5:09 p.m.
  9              (Said deposition was so adjourned at
 10   5:09 p.m.)
 11
 12
 13                             __________________________
 14                                   JAMES W. HUGHES
 15
 16   Subscribed and sworn to and before me
 17   this ________ day of ___________________, 20____.
 18
 19
 20   ___________________________________
 21            Notary Public
 22
00296
  1   STATE OF ILLINOIS )
  2                      ) SS:
  3   COUNTY OF C O O K )
  4              I, Donna M. Kazaitis, CRR, CLR, RPR, CSR
  5   No. 084-003145, do hereby certify:
  6        That the foregoing deposition of JAMES W.
  7   HUGHES was taken before me at the time and place
  8   therein set forth, at which time the witness was
  9   put under oath by me;
 10        That the testimony of the witness and all
 11   objections made at the time of the examination
 12   were recorded stenographically by me, were
 13   thereafter transcribed under my direction and
 14   supervision and that the foregoing is a true
 15   record of same.
 16        I further certify that I am neither counsel
 17   for nor related to any party to said action, nor
 18   in any way interested in the outcome thereof.
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19        IN WITNESS WHEREOF, I have subscribed my name
20   this 11th day of May, 2009.
21          _____________________________________
22          DONNA M. KAZAITIS, CSR No. 084-003145\




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